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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK ZUG hOS 2G AM Or hy

 

John Rapillo & Heidi Rapillo

  
 
  
  

 

   

“Case” No.0 09:CV=10429 (VSB)

Reply Memorandum of Law in
Further Support of Plaintiffs’ Rule
-»,., 60b Motion in Response to Max

“Ss Folkenflik’s Declaration in
Opposition

yn to Plaintiffs’ Rule 60b Motion:
Mr. Folkenflik declared the following to be true under penalty of perjury.

“| HAVE NEVER BEEN COUNSEL FOR DAVID HOLZER OR ANY OTHER
INDIVIDUAL HOLZER DEFENDANT.”

We vigorously disagree with Mr. Folkenflik’s assertion that he had never been counsel
to David Holzer and will show proof that will counter his Declaration.

Mr. Holzer was deposed on March 28, 2012 at the Greene Correctional Facility by our
former attorney Robert Conway and Attorney Max Folkenflik representing Mr. Holzer
(See attached Notice of Motion dated 6/24/19, Exhibit 6).

The single most important reason for this deposition was based on an agreement
structured by Mr. Holzer and Robert Conway.

Mr. Holzer indicated that he was ready to reveal in a deposition undisputable evidence
relating to transactions of fund transfers from Mr. Holzer to Mr. Fingerhut that were
originally transferred to Mr. Holzer by the Rapillos.

The underlying basis for this agreement was that under no circumstances would
Attorney Robert Conway bring any Civil Suit against Holzer’s wife and three children
(See attached Notice of Motion dated 6/24/19, Exhibit 6, page 125) who greatly
benefited from the theft of our funds as documented in the DA’s Affirmation.
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As outlined above, Folkenflik vigorously defended Holzer by interjecting himself in Mr.
Conway’s interrogation of Holzer and tried to shut down questions from Conway relating
to Rapillos’ fund transfers.

Is it not a Conflict of interest when the same attorney represents both sides of the same

 

 

How is it possible that an officer of the Court and a licensed attorney would deny that he
ever represented David Holzer when there is undeniable proof.

The whole scenario goes to the heart of this case and puts in question the credibility of
Holzer, Folkenflik and most importantly Fingerhut.

Regarding the Declaration of Max Folkenflik in Opposition to Plaintiffs’ Rule 60b Motion,
our response is as follows:

1. In his opening statement Max Folkenflik states that the 1.6 million dollars we
received for a personal injury case was a “WINDFALL.” In this callous and
undignified remark even for Mr. Folkenflik from an officer of the Court is
OUTRAGEOUS and DISGRACEFUL. We find that the word “windfall” is so
hurtful and shocking that it is beyond comprehension. John Rapillo had a
catastrophic accident that to this day has left him unable to hold down a full-time
job and is in constant pain. To suggest that the financial award was a “windfall”
(Dictionary = piece of unexpected good fortune) is absolutely a lie and beyond
the pale.

2. An Article was brought to our attention that we feel is germane to this case
regarding Attorney Folkenflik (See Attached) as follows:

The U.S. Court of Appeals Third Circuit ruled that: “N.Y. Lawyer Max
Folkenflik Committed Fraud on the Court.”

Mr. Folkenflik obtained a 30-million-dollar judgment on a security case in New
Jersey without notifying the Judge of a prior multimillion-dollar settlement he
obtained from co-defendants in the case in New York.

On October 18, 2017 the United States Court of Appeals for The Third Circuit
was asked to decide whether Max Folkenflik, Esq. committed fraud on the
Bankruptcy Court.

The Court addressed whether Folkenflik’s failure to disclose a Settlement
Agreement rises to the level of intentional fraud. “As officers of the Court,
Attorneys are required to conduct themselves in a manner compatible with the
role of Courts in the administration of justice. This responsibility is sometimes
albeit rarely-disregarded.”
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We are delineating for the Court portions of the deposition that with no uncertainty
shows that Mr. Folkenflik was not attending the deposition simply as an observer but
undoubtedly as Attorney for Holzer to counsel him in order to deflect any compromising
issues that could affect our case. It should be noted that on page 2 of the deposition

(See a attached Notice of Motion dated 6/24/19, Exhibit 6) clearly states: “MAX
LK ; DEFENDANT.DAVID.HOLZER.”

 

 

The deposition is replete with examples of Folkenflik functioning as Holzer’s Counsel
and interfering with Conway’s questioning of Holzer.

Two of the most flagrant instances can be found on pages 113-115 and many other
sections of the deposition. In this portion of the deposition (pages 113-115), Mr. Conway
asked Mr. Holzer how he had used some of the Rapillo’s stolen funds? Before Holzer

could respond, FOLKENFLIK INTERRUPTED and began his diatribe and dictating to
Holzer how to respond.

AS AN EXAMPLE:

ee . ce : D. Holzer - Mirch 28, 2032

 

 

 

 

 

 

 

 

/. U2. Holzer - March 28, ZUt2 page, 444
/ Page 113 page 114
. Page = 113 4 Tt don't recall the exact
‘ , , a destination of the monies.
ee woes CAE mover 3 NR. FOLEMNLIK: When you say
3 wai 4 ‘gould lave gone” these Blades, it
‘ » Ce 5 ‘wie tudated ag your personal. money?
. x ucts iy nhs 6 Wie WITWKSS: Yes. Did not ~
: : . 7 he asked me if it want to
7 Q Was any of the $600,000 that was 8 Mr, Pingexhut,
a transfarred on March 15th of 2006 given to 6 WA. WOLKE Erk: Yaa.
° Me. Fingerhut? : 16 THE WITNRES: L said, no.
10 A No.
a1 The answer is no,
11 Q Did all. of that money remain with 12 MR. FOLKENFLIK: xt was
32 you? 13 treated as your money.
* x Reseda eee? La] may wimese: that's corzect.
1a Well, it did not go to ~ : as MR. FOLKENFLIE: And you did >
15 Mx. Fingerhut, right. 16 with it what yor dia with At..
16 Q Where did it qo? i ane WITSESS; ‘That's doxxect.
17 A It. want into different, various 1s ye. VOUKRIE: Ana that's
18 aasorted and sundry items. I just don't ts true of the prior 200,000.
“8 recall. . 20 THE WITNESS! Correct.
20 2 Such sa? : o1 MR. FOLKENZLIK: Corzect?
21 A Could nave goa into VCampus. 22 i che wrimensés Thatig commect. 4
ee Could Have gone Ante Mevariy: | a3 tin, ‘Fonimiinre: “rue of ait
23 Could have-gone into gasolina. - - 28 the money ‘you got?
ee] sould have gone into the | os ue WITMBESs thatts corredt.
s | supermarket, gtocerias, .
: Page 115
Raga 115
1 MR, FOLBESFLIK: Sane answer
2 | going forward?
3 TRE WITNESS: That's correat.
4 Going forward, you got the sana
3 answer.
6 BY MR, CONWAY:
7: Q Now, did any of that £ind ita way to
8 Mr. Fingexhut?
9 | MR. FOLRENFLIN: Asked and
40 anaweared. He can answer again. i
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After hearing the case against Folkenflik, the Court “determined that the record
evidences an intentional scheme to improperly influence the Court. The facts
have demonstrated a deliberately planned and carefully executed scheme to
defraud.”

 

     
   

 

   

Furthermore rivilege-burdened-
with conditions. Among the most oft-cited | y

honor the duty of loyalty they owe to each of their clients. In so doing, attorneys
must not, and in most cases do not, disregard their inherent obligation to the
system of Justice. Because Folkenflik has conducted himself in a way that has
improperly interfered with the administration of Justice Protection of the Court’s

integrity requires us to act.”

     

 

 

Folkenflik has shown in different Courts his say anything, do anything demeanor
to the extent of even defrauding the Courts. His claims in our case should be
regarded as highly suspect at best.

We feel that it is important for the Court to have this information.

. Folkenflik states that we ignored the Court’s September 1, 2018 deadline
requesting an extension to our case. This is a resounding lie. Judge Broderick
granted an extension in order for us to be able to move forward with our Appeal.
Folkenflik as usual should get his facts straight before making statements that
are false.

. Folkenflik claims that we hold Mr. Fingerhut liable for our loss “even though we
have no factual evidence facts for this claim.”

Mr. Folkenfilk is dead wrong. As outlined in our Memorandum of Law dated
6/24/19 attached, we have listed multiple circumstances, instances and facts that
counter his allegations.

We outlined point by point Fingerhut’s knowledge and involvement in the theft of
our funds. Outlined are key points relative to that evidence.

e Holzer transferred $200,000 of our money directly to Mr. and Mrs.
Fingerhut’s “personal account.” Where did Mr. Fingerhut think those funds
came from since he knew Holzer had NO funds of his own.

e Holzer transferred a total of $140,000 of our money to the Fingerhut-
Holzer Partners account, which Fingerhut controlled.

e Holzer transferred $500,000 of V-Campus stock (which Holzer purchased
with our money) to Fingerhut that he originally purchased in his name -
that transfer was made on January 25, 2003, 3-months before his
indictment by the D.A.’s office as outlined in D.A.’s Affirmation from
Shannon Rowe and Nick Cangro’s Investigation.
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Fingerhut put tremendous pressure on Holzer to repay him and
threatening to turn him in to the D.A.’s office thus forcing him to solicit
personal acquaintances for funds (see Declaration from John Rapillo
which is included in our Notice of Motion dated 6/24/19 attached). This
absolutely induced Holzer to commit theft knowing full well Holzer had no
money-and:would:haveto-raiseitany way:he’could:
ingerhut exercised complete dominance over Holzer and pressuring
to return his money and threatening his freedom by turning him in for
prosecution.
e The D.A.’s Affirmation and investigation by Nick Cangro demonstrates (as
the Court requested) that Fingerhut was clearly aware of the theft of the
Rapillos’ money.

 

 

 

     

5. Mr. Folkenfilk states that the Rapillo’s were foolish and greedy by giving money
to Holzer and knew that Fingerhut only got involved with investments from large
corporations.

That last statement is laughable as indicated in the D.A.’s Affirmation. The only
investments that were made by Fingerhut-Holzer were either from Fingerhut or
from victims who invested with Holzer such as the Rapillos, Mel Block,
Zackmans, Pessars and possibly others. There were NO large corporate
investors.

With respect to Max Folkenflik making the statement that we were foolish and
greedy - our response is simply “people who live in glass houses should not
throw stones’ considering the fact that the U.S. Court of Appeals Third Circuit
Ruled “N.Y. lawyer Max Folkenflik Committed Fraud on the Court.”

Responding to the comment that we were “Greedy”:

Since we are not sophisticated in finances, we trusted a so called friend (David
Holzer) of 20 plus years, who was a broker, hoping that he would suggest a
secure investment where we could draw income and support our family
considering John Rapillo was no longer able to support a full-time job due to his
disability. Little did we know that when we made our investments, which would
have made us Partners in the profits of Fingerhut-Holzer Partners, in reality it
was to defraud us of our investments by both of these individuals.

6. Folkenflik claims that there is no shred of evidence that Mr. Fingerhut had any
awareness of Plaintiffs’ transfers to Holzer until Fingerhut was informed of those
frauds by the D.A.’s office.

e We know based on the investigation by D.A. Investigator Nick Cangro
and the controlling person theory “that Fingerhut invested $13 million
dollars in Fingerhut- Holzer Partners. Holzer invested just $111,000.
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That being the case where did Fingerhut believe that the other funds
came from?
e During Mr. Fingerhut’s deposition (See attached Notice of Motion
dated 6/24/19, Exhibit 3) our attorney asked Fingerhut “Do you dispute
that $800, 000 transferred by the Rapillos t to Holzer that $500 000 V-

 

  

y g g
Folkenflik chimed i in and said the following: “WE DON’T KNOW IF IT
WAS THE RAPILLOS’ MONEY IT MIGHT HAVE BEEN AND IT
MIGHT HAVE NOT BEEN.”

e Since Fingerhut did not challenge the statement: “It might have been”
would definitely indicate he did not disagree with the statement.
Folkenflik realizing that he opened up a can of worms then said “we
don’t know if there were millions of dollars in Holzer’s account.” The
response from attorney Conway was: “From Mr. Holzer, we know there
was nothing there.” Folkenflik did not challenge Conway's statement
which most positively indicates, HE DID NOT DISAGREE WITH HIS
STATEMENT. Folkenflik realizing that he opened up a can of worms
then responded,” We don’t know if there were millions of dollars in
Holzer’s account.”

The response from our Attorney Conway was:
“FROM MR. HOLZER WE KNOW THERE WAS NOTHING THERE.”

Folkenflik did not challenge Conway’s statement which positively
indicates HE DID NOT DISAGREE.

7. Folkenflik states that our Memorandum of Law is “replete with fabrications and
undeniable facts.”

e Our Memorandum of Law is totally factual. The contents are all
based on documentation that is part of Fingerhut’s and Holzer’s
depositions and Nick Cangro’s Investigation/Shannon Rowe’s
Affirmation from the D.A.’s office.

8. Confusion by Folkenflik regarding transfer of funds from Holzer to Fingerhut.

e Heclaims there is NO EVIDENCE TO INDICATE that monies
Holzer transferred to Fingerhut and Fingerhut-Holzer Partners
were the Rapillos.

e As indicated in Nick Cangro’s Investigation and Shannon Rowe’s
Affirmation over $340,000 was transferred to Mr. Fingerhut and
Fingerhut-Holzer Partners accounts and $500,000 of V-Campus
stock was purchased with our money was also transferred to
Fingerhut three months before his indictment by the D.A.’s office.
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2

These transfers or rather payments that Holzer made were due to
pressure brought to bear by Fingerhut by threatening Holzer to turn
him into the D.A. for prosecution. Mr. Fingerhut was also using
Holzer as a pawn to solicit funds from personal acquaintances in
order to repay debts owed to him. (See John Rapillo’s Declaration

 

 

 

 

 

By referring to Mr. Holzer’s deposition taken on Marc ,
where Holzer was represented by “MAX FOLKENFILK” Mr. Holzer
had structured an agreement with our Attorney Conway that he
would reveal under oath the existence of certain facts relating to
transaction of funds between Hoizer and Fingerhut as outlined in
Shannon Rowe’s Affirmation regarding the Rapillos’ funds. Holzer
agreed to this condition that no Civil Suit be brought against his
own family (page 125 of David Holzer’s deposition).

It became obvious to Attorney Conway from the start of the
deposition Holzer decided against cooperating. Folkenflik, who was
representing Holzer, directed him away from answering sensitive
questions which was obvious to Mr. Conway and meant to protect
Fingerhut’s interests in the Rapillos’ case. Why else would
Fingerhut’s personal attorney be representing Holzer, who was
penniless and had no funds. It is entirely within reason that
Fingerhut wanted an insurance policy to insure Holzer would not
divulge any pertinent facts that would help the Rapillos’ case and
could possibly have been paying Folkenfilk’s legal fees for
defending Holzer.

9. Mr. Folkenflik claims that the transfer of $500,000 worth of V-Campus stock
to Fingerhut originally purchased by Holzer with Rapillo funds was
certainly “APPROPRIATE.”

Given the fact that he owed Mr. Fingerhut, we definitely agree with
Folkenflik’s acknowledgement with respect to this issue. However,
we disagree with the notion that Fingerhut did not know that the
funds were Rapillos considering he knew very well that Holzer had
no other funds available. He also indicates that even if Holzer had
used the Rapillos’ money to pay Fingerhut “the record refutes it.”
That statement is a total fabrication when in fact Nick Cangro’s
Investigation and Shannon Rowe’s Affirmation clearly lays out in
detail those transfers. Additionally, it is documented in an S.E.C.
Filing (See our Notice of Motion dated 6/24/19, Exhibit 7).

Fingerhut claims the V-Campus stock became insolvent and the
shares became worthless. That is a foolish statement, considering
that at the time the transfer was made to Fingerhut the stock
definitely had a value and was without a doubt purchased with
Rapillos’ funds by Holzer.

 
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10. Folkenflik seems to be fixated on the fact that Judge Broderick gave us the
opportunity to make our case for a possible reversal of his prior Order by
giving us an extension.

 

 

pp pp y
failed to mention that in our Notice of Motion dated 6/24/19
attached, we laid out in great detail “new evidence.”

e Mr. Folkenfilk’s Declaration in Opposition to Plaintiffs’ Rule 60
Motion is replete with false accusations and unsupported
assertions.

11. Barry Fingerhut used his wealth and privilege to manipulate the criminal justice
system, with the knowing and assistance of the DA’s office, when he and
representatives from Thacher Associates turned David Holzer in to the DA’s
office. Prior to turning David Holzer in to the DA’s office, Barry Fingerhut took all
of the assets from Fingerhut-Holzer Partners as reimbursement for his own
losses. When reimbursement was made, at the very least, Rapillos should have
received a pro-rata share since a portion of the Rapillos’ funds were transferred
to David Holzer and David Holzer then transferred Rapillos’ funds to Fingerhut-
Holzer Partners. This is confirmed in the Investigation by Nick Cangro of the
DAs office and in Shannon Rowe's Affirmation.

The evidence we have presented to the Court is true, accurate and solid. Even if the
Court feels more is needed, please heed the findings of the Appeals Court in its ruling
against Folkenflik: “Although direct evidence of intent will rarely be available, it may be
inferred from the surrounding circumstances. Folkenflik’s intentions were clear.” In our
case, Fingerhut’s intentions were clear.

For all the reasons and circumstances listed above we respectfully ask the Court to
vacate the Summary Judgment Order.

Respectfully submitted,
Lol, Soa
Dated: 3/25/2029 Heidi Rapillo

Dated:_ 8/25/2019 qe Rapito

Address: 14 Winding Lane
Scarsdale, NY 10583

Email: hrapillo@optonline.net
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

John Rapillo

 

 

Heidd- Rapti

 

Write the full name of each plaintiff or petitioner.

CaseNo. 09 CV 10429 (VSB)

~against-

Barry Fingerhut, et al NOTICE OF MOTION

 

Write the full name of each defendant or respondent.

 

John Rapillo & John Rapillo &
PLEASE TAKE NOTICE that Heidi Rapillo Heidi Rapillo
plaintiff or defendant name of party who is making the motion

requests that the Court:

Vacate the Court's Memorandum and Order dated September 14, 2016.
Plaintiffs argue that relief from this Order is warranted
pursuant to Fed.F.Civ.P. Rule 60(b) (6).

 

Briefly describe what you want the court to do. You should also include the Federal Rule(s) of Civil Procedure or
the statute under which you are making the motion, if you know.

In support of this motion, I submit the following documents (check all that apply):

[4 a memorandum of law
[ my own declaration, affirmation, or affidavit

(4 the following additional documents: Affirmation from DA Shannon Rowe, Exh. 1; Thatcher
Report, Exh. 23 Fingerhut Deposition, Exh. 3; Letter from Max Folkenflik, Exh. 4;
Plea Agree., Exh. 53; Holzer Deposition, Exh. 6; Per Court Appearance on 7/10/17,
consideration of previously submitted documents: VCampus, Schedule 13D-SEC.gov,

let dated 2/2/17, > 5
etters dated 2/2/17, 3/30/17, 6/14/17, 7/29/17 yy koolle bads9

Dated Signature — Heidi ‘0. Ke
idi Rapi & Rapill
Heidi Rapillo & John Rapillo wih Qa pp, 6 PAA F

 

 

 

 

Name Signature (/ ] Sohn’ Rapililo

14 Winding Lane Scarsdale NY 10583
Address City State Zip Code
914-472-8191 hrapillo@optonline.net

 

 

Telephone Number (if available) E-mail Address (if available)

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

ohn Rapillo.

 

 

Fill in above the full name of each plaintiff or petitioner.

Case No, 09 CV 10429(VSB) ~

 

-against~-

Barry Fingerhut, et al

 

 

 

Fillin above the full name of each defendant or
respondent.

DECLARATION

In support of Motion to Vacate Order dated September 14, 2016 pursuant to
Fed.R.Civ.P. Rule’ 60(b)_

 

Briefly explain above the purpose of the declaration, for example, “in Opposition to Defendant’s
Motion for Summary Judgment.”

L John Rapillo , declare under penalty of perjury that the

 

following facts are true and correct:

In the space below, describe any facts that are relevant to the motion or that respond to a court
order. You may also refer to and attach any relevant documents.

During the Spring of 2007, I was at David Holzer's home in New City, NY.

David Holzer received a phone call from Barry Fingerhut. David Holzer

reiterated the content of that conversation to me stating "All he wants is

money - he wants me to refinance my house and get more money wherever I can."

This shows the pressure Fingerhut was putting on David Holzer.

Rev. 6/30/16

 
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Attach additional pages and documents if necessary.

6 Boa

Executed on (date)

John Rapillo

alle Capall

Signatufd

 

 

Name Prison Identification # (if incarcerated)
14 Winding Lane Scarsdale NY 10583
Address City State Zip Code

914-472-8191
Telephone Number (if available)

hrapillo@optonline.net
E-mail Address (if available}

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8/05

   

vestigator Shannon-Rowe.date

 

 

 

Thacher Associates Report, October 2007 Exhibit 2
Barry Fingerhut’s Deposition dated 2/7/13 Exhibit 3
Letter from Max Folkenflik dated 4/2/14 Exhibit 4
David Holzer’s Plea Agreement dated 4/30/09 Exhibit 5
David Holzer’s Deposition dated 3/28/12 Exhibit 6

V-Campus — Page 3 of Schedule 13-D-SEC.gov Exhibit 7
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

John Rapillo & Heidi Rapillo

 

 

Case No. 09-CV-10429 (VSB)

- Against —
Memorandum of Law to Vacate
Judgment Pursuant to Fed.R.Civ.P
60(b)(6)
Barry Fingerhut, et al

Defendants

Memorandum of Law

Presently before this Court is Plaintiff's Motion to Vacate the Court’s Order for Summary
Judgment dated September 14, 2016. Plaintiffs argue that relief from this Order is

warranted under Fed.R.Civ.P60(b)(6).

Analysis in Support of Motion for Relief from Judgment Based on Rule 60(b)

This matter is a claim for return of assets improperly removed from a partnership,
Fingerhut-Holzer Partners (the Partnership”). Barry Fingerhut (“Fingerhut”) and David Holzer
(‘Holzer’) (“the Partners”) were partners from 2002 through 2008. Plaintiffs were induced to
invest in the partnership by Holzer in October 2005, with various investments totaling $1.9
million, which was allegedly to make them partners in the profits of the business but in reality

was to defraud them of their investment.
 

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Fingerhut was the senior partner in the partnership and the Plaintiffs were encouraged to
invest in the partnership based upon his alleged business acumen. After the investigation by

the District Attorney’s office it was determined that Holzer had invested very little in the

 

 

 

o the Plaintiffs, th

partnership was in turmoil and Fingerhut was pressuring Holzer for money.

In the summer of 2007, after Fingerhut became concerned about Holzer’s fraud and
after several months of demanding Hoizer to return his funds, Fingerhut hired Thacher
Associates to investigate Holzer. When Thacher Associates confirmed Holzer’s fraud
Fingerhut, representatives from Thacher Associates and Fingerhut’s attorneys reported Holzer

to the NYC District Attorney’s office on fraud charges.

Ultimately, Holzer was convicted of fraud and sentenced to 5 to 15 years in jail. During
depositions for his trial, it was clear that Fingerhut knew of the investments by the Plaintiffs in
his partnership but chose to ignore it. Instead, Fingerhut took all of the Partnership’s assets as

reimbursement for his own losses.

The Grand Jury minutes and the Affirmation from District Attorney Shannon Rowe
(Exhibit 1) in pursuing the fraud charges against Holzer (“the Criminal Record”) will support the
Plaintiff's position that Fingerhut knew that the money Holzer invested/transferred in The
Waverly, V-Campus, Fingerhut-Holzer Partners and Fingerhut’s personal account was not
money belonging to Holzer. Therefore, when reimbursement was made to Fingerhut (prior to
Fingerhut reporting Holzer to the D.A.) from the partnership, at the very least, the Plaintiffs
should have received a pro-rata share of the reimbursement equal to their investment in the

partnership.

Therefore, the Plaintiffs respectfully request that the Court reopen the underlying Case

and order that the Grand Jury information be released so that the Plaintiffs may support their
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claim for Conversion damages against Fingerhut. Fingerhut helped Holzer in Conversion by

accepting stolen money.

Argument

   

0(b)(6) Addit fied Relie

 

A. Nonfeasance of Plaintiffs’ attorney, Robert Conway:

Mr. Conway failed to present and enunciate key evidence to the Court. These

items of evidence include:

1. The Affirmation dated February 18, 2009 N.Y. of District Attorney Investigator
Shannon Rowe (Exhibit 1) which indicates that Barry Fingerhut was a direct
beneficiary of funds that the Rapillos entrusted to David Holzer which was to
be invested in various legitimate entities and without their knowledge those
same funds were redirected to Mr. & Mrs. Barry Fingerhut’s personal account
as well as the Fingerhut-Holzer Partners account which was controlled by Mr.

Fingerhut.

On March 23, 2006, Plaintiffs wired to David Holzer $800,000 with the
understanding it was to be invested for us in legitimate entities. On the same
day (March 23, 2006), David Holzer purchased “in his name” $500,000 in V-
Campus stock. On January 25, 2008, three months before his indictment by
the District Attorney, Holzer transferred all of the shares to Barry Fingerhut in
lieu of a cancellation of debt that he owed to Fingerhut. Thus, using the

Rapillos’ funds to pay off Fingerhut and try to pay down the funds he stole
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from him. The Affirmation from D.A. Shannon Rowe (Exhibit 1) confirms this
along with the V-Campus Schedule 13-D-SEC.gov, Page 3 (Exhibit 7).

The Affirmation also confirms that on December 15, 2005 and January 31,

 

 

     

e Rapillos wired $800,000 to David-Holzer: As part of that sur
Holzer transferred $200,000 to Mr. & Mrs. Fingerhut’s personal account and
approximately $140,000 to the account of Fingerhut-Holzer Partners.

2. Letter dated April 2, 2014 (Exhibit 4) written by Barry Fingerhut’s attorney,
Max Folkenflik, where Attorney Folkenflik states, “Holzer used some of the

money he received from Plaintiffs to invest in V-Campus in his own name and

to pay $200,000 on an antecedent $1 million debt he owed to Fingerhut.”

3. Thacher Associates Report issued October 2007 (Exhibit 2) - commissioned
by Barry Fingerhut to investigate David Holzer when he suspected fraud.
This report confirms David Holzer’s fraud and Fingerhut reimbursing himself

from the partnership before turning Holzer into the D.A.
4. Barry Fingerhut Deposition dated February 7, 2013 (Exhibit 3)

One of the key questions Mr. Conway asked Fingerhut in his deposition
(Exhibit 3) was “Do you dispute that the $800,000 transferred by the Rapillos
to Mr. Holzer on March 23, 2006 that $500,000 V-Campus stocks were
purchased by Mr. Holzer?” It seemed that Mr. Fingerhut did not answer the
question and Mr. Folkenflik answered: “WWE DON’T KNOW IF IT WAS THE
RAPILLOS’ MONEY THAT MR. HOLZER USED — IT MIGHT HAVE BEEN/IT
MIGHT NOT HAVE BEEN.” It is very important to keep in mind that when Mr.

Folkenflik made the statement "IT MIGHT HAVE BEEN,” Mr. Fingerhut did not
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challenge the statement. That nonresponse from Fingerhut would certainly
indicate that he did not disagree with Folkenflik’s answer (See Pages 99, 100

& 101 of Fingerhut’s deposition-Exhibit 3).

 

 

-olkenflikalso made the following statement: “$800,000 went into his account:

 

from the Rapillos and we don’t know whether there were millions of dollars in
the account.” Mr. Conway answered: “From Mr. Holzer we know there was

nothing there.”
Based on the comments above:
- Mr. Folkenflik speaking for Mr. Fingerhut indicates: “The funds might have

come from the Rapillos?” Since Mr. Fingerhut did not challenge those

comments, HE DID NOT DISAGREE.
B. Evidence Not Presented:

1. Affirmation of Investigator Shannon Rowe (Exhibit 1)

Relevance:

a) The Affirmation supports the Controlling Person Theory showing that
Fingerhut invested $13 million in Fingerhut-Holzer Partners. Holzer
invested just approximately $111,000. Fingerhut was clearly able and did

exercise financial pressure and control over Holzer.

Mr. Fingerhut’s control over Mr. Holzer was exhibited through intimidation
and coercion by forcing Mr. Holzer to repay debts owed to him any way he

could and later permitting his personal attorney, Max Folkenflik, to
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represent Holzer in his legal battles and most likely paying for those
services.

interesting to note that Max Folkenflik, Esq. is currently representing Mr.

 

   

igerhut in the Rapillos’ case and was also the attorney to David Holzer’
in the same case. In essence, Mr. Folkenflik was representing both sides
in the same case and enabled Mr. Fingerhut to continue “contro!” over Mr.
Holzer’s testimony. Ethically, how could Mr. Fingerhut allow his lawyer to
represent David Holzer, the person who embezzled millions of dollars from
him if there was no collusion between Fingerhut and Holzer?

Mr. Holzer’s first deposition was taken on March 28, 2012 at the Greene
Correctional Facility (Exhibit 6) by Mr. Conway with Mr. Folkenflik
representing him. Mr. Holzer, prior to the deposition, had agreed to make
certain information available concerning transfer of funds on the condition
that no Civil Suit be brought against his family. During the deposition, Mr.
Folkenflik asked Holzer “did you at any time ask him (referring to Mr.
Conway) to withdraw the names of your family members from the law
suit?” Mr. Holzer answered “We talked about it. Yes.” (Refer to Holzer’s
Deposition, Page 125 (Exhibit 6).

In reviewing Holzer’s deposition it is clear that Holzer had decided against
cooperating and did not reveal anything with regard to Mr. Fingerhut’s
receipt of funds from Holzer. In fact, his answers to questions posed to

him by Mr. Conway were “| DON’T RECALL.” During Hoizer’s
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questioning, Attorney Folkenflik directed Holzer away from answering

sensitive questions.

b) The Affirmation further supports the Fraud Respondent Superior Law.

 

 

The Court Record states that New York State Law “precludes suits against

an employer for a theft committed by an employee so long as the

employer did not induce the employee to commit the theft.”

Fingerhut, by pressuring Holzer to give him his money and threatening to
turn him into the D.A. forced Holzer to solicit personal acquaintances for
funds (See Declaration from John Rapillo) did absolutely induce Holzer to
commit theft knowing full well Holzer had no money and would have to

raise it any way he could.

c) The Affirmation further endorses the claim of Fraud through Veil Piercing.
N.Y. State Law states, “A Court may pierce the corporate veil where (1)
the owner exercised complete domination over the corporation with
respect to the transition at issue and (2) such domination was used to

commit fraud.

Fingerhut exercised complete dominance over Holzer both financially by
investing far more in Fingerhut-Holzer Partners than Holzer and
pressuring him to return his money and by putting his freedom at risk by

threatening to turn him into the District Attorney which he eventually did.

d) Claim of Conversion “Money may be the subject to conversion if it is

specifically identifiable and there is an obligation to return it or treat it ina
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particular Manor (Vigilant Ins. Co. of Am. Vs. Hous. Auth. Of City of El

Paso, Texas 87 N.Y. 2d 36, 44 (1995).

The Affirmation clearly identifies Rapillos’ money wired to Hoizer’s account

 

 

that was immediately transferred to Fingerhut-Hoilzer Partners and

Fingerhut’s personal account as stated by D.A. Investigator Shannon

Rowe.

e) Furthermore, the Affirmation strongly refutes Holzer’s Plea Agreement
(Exhibit 5) that “Holzer used Rapillos’ money exclusively for himself.” This
is Clearly not true. Holzer unquestionably used Rapillos’ money to pay his
debts to Fingerhut since Holzer had no money as confirmed by D.A.

Investigator Shannon Rowe.

The Affirmation emphatically demonstrates, as the Court requested, that
Fingerhut was clearly aware, if not actively involved in the theft of the

Rapillos’ money.
2. Max Folkenflik’s letter of April 2, 2014 (Exhibit 4)
Relevance:

Max Folkenflik, attorney for Barry Fingerhut, admits that Holzer used Rapillos’
money to pay Fingerhut, “Holzer used some of the money he received from
Plaintiffs to invest in V-Campus in his own name and to pay $200,000 as an
antecedent $1 million debt he owed to Fingerhut.” The scope of Holzer’s
fraud and transfers of Rapillos’ funds were later shown to far exceed this

$200,000.
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3. Thacher Report (Exhibit 2)

 

Relevance:

   

 

The investigation by Thacher Associates (Exhibit 2) verified the control and

pressure put on David Holzer by Barry Fingerhut by threating to report him to
the D.A. The Report confirms David Holzer admitted to his fraudulent
practices with regard to Fingerhut-Holzer Partners. On October 3, 2007
Holzer and Fingerhut signed a Contingent Assignment of Equity Interests
Agreement, pursuant to which Holzer agrees that, if he has not paid the sum
of $6,970,300 to Fingerhut by October 15, 2007, Holzer will (a) assign to
Fingerhut all of his share of the investments made by Fingerhut-Hoizer
Partners (Totaling $7,274,500); and (b) at Fingerhut’s request, resign from
Fingerhut-Holzer Partners (See page 5 of The Thacher Associates Report

Exhibit 2).

On October 9, 3007, Holzer signs a Secured Promissory Note, pursuant to

which he agrees to pay Fingerhut the sum of $7,603,800.

On October 15, 2007, Holzer signs a Notice of Resignation from Barry/David
Partners, LLC (Barry/David Partners was a vehicle formed by Fingerhut and
Holzer that received carried interests in certain investments made by
Fingerhut-Holzer Partners (See Page 5 of The Thacher Associates Report,

Exhibit 2).
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After the fraud became known, Holzer assigned to Fingerhut his interest in
the investments made by Fingerhut-Holzer Partners; the amount of this

assignment totaled $8,997,501 (See the Thacher Report Page 7, Exhibit 2).

     

eer wrote two checks to Fingerhut, both of which bounced (See Fingerhut
deposition, page 145, Exhibit 3). This further shows the pressure Holzer was
under by Fingerhut that he would write him two checks knowing they would

bounce.

Fingerhut shortly thereafter informed the D.A. of Holzer’s fraud.
C. Additional Relevant Case Laws:

a) N.Y. Penal Law 165.40

This law states: “a person is guilty of criminal possession of stolen property in
the fifth when he knowingly possesses stolen property with the intent to
benefit himself or a person other than the owner thereof or to impede the

recovery by an owner.

There is no question that Rapillos’ money was stolen by Holzer and
transferred to Fingerhut-Holzer Partners and to Fingerhut. This is undisputed

by Shannon Rowe’s Affirmation and Fingerhut’s own attorney.

b) Solomon R. Guggenheim Found. v. Lubell, 77 N.Y. 2d 311, 317, 567 NLY.

2d 623, 569, N.E. 2d 426 (1991).

“An owner may seek recovery of unidentifiable stolen property, such as a

piece of artwork from an innocent good faith purchase for value.”
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Rapillos’ funds have clearly been identified by N.Y. District Attorney's

investigation.

Conclusion

 

The Court asked: “If there is any evidence in the record that could reasonably support a

jury’s verdict for the non-moving party, summary judgment must be denied. (Marvel

Characters, Inc. v Simon, 310 F.3d 280, 286 2d Cir 2002).”

We submit that based on the aforementioned evidence there is amble cause to Vacate

the Summary Judgment Order.

In addition, we request that the Court order the release of all Grand Jury records in this

       

matter.

spectfully mitted,
Date_6 A409 _ John Rapillo .
Date 6 A479 “Heidi Rapillo

Address: 14 Winding Lane, Scarsdale, NY 10583

Telephone: 914-472-8191

Email: hrapillo@optonline.net
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PRECEDENTIAL

UNITED STATES COURT OF APPEALS
_ FOR THE.THIRD CIRCUIT:

No. 16-3244

IN RE: ANDREW E. BRESSMAN,
Debtor

JAMES A. BAXTER; ANDREW BAXTER;
J.A. BAXTER LIFE INVESTMENT TRUST;
RICHARD KATZ; ROBERT THOMAS;
EGI 1985 RETIREMENT BENEFIT TRUST

 

Vv.

ANDREW E. BRESSMAN

JAMES A. BAXTER, individually and as successor-in-
interest to the James A. Baxter Life Investment Trust;
RICHARD KATZ; ROBERT THOMAS,

Appellants

 

On Appeal from the United States District Court
for the District of New Jersey

(D. N.J. No. 2-14-cv-05314) |

District Judge: Honorable Kevin McNulty |

 

 
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Argued on March 20, 2017

Before: AMBRO, JORDAN and ROTH, Circuit Judges

(Opinion filed: October 18, 2017)

Max Folkenflik [Argued]
Folkenflik & McGerity
1500 Broad Street
21* Floor
New York, NY 10036
Counsel for Appellants

Ryan T. Jareck

Cole Schotz

1325 Avenue of the Americas
New York, NY 10019

Michael D. Sirota [Argued]
Warren A. Usatine
Cole Schotz
25 Main Street
Court Plaza North, P.O. Box 800
Hackensack, NJ 07601

Counsel for Appellee

OPINION
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In this appeal we are asked to decide whether Max
Folkenflik, Esq., committed fraud on the court. The
Bankruptcy Court determined that Folkenflik had intentionally
deceived the court. As-a result, the court vacated the default
judgment it had previously entered in favor of Folkenflik’s
clients. The District Court affirmed. Finding no error, we will
affirm.

OD

This action was commenced as an adversary complaint
in a Chapter 11 bankruptcy proceeding brought by Andrew
Bressman. The Plaintiffs are victims of fraudulent activities
by Bressman. In the 1990’s, Bressman and others had engaged
in manipulation of stock prices. The Plaintiffs brought civil
securities fraud and Racketeer Influenced and Corrupt
Organizations Act (RICO) claims against Bressman and his co-
defendants in the United States District Court for the Southern
District of New York. The Plaintiffs were represented by
Folkenflik. These civil actions against Bressman were stayed
when Bressman filed for bankruptcy in the Bankruptcy Court
for the District of New Jersey. In response, the Plaintiffs filed
the adversary complaint against Bressman.

The civil securities fraud and RICO claims continued
against Bressman’s co-defendants before Judge John Koeltl in
the Southern District of New York. On August 13, 1998,
claims against the co-defendants in one of the suits were settled
for — On August 28, Folkenflik, as attorney for
Plaintiffs, received the full settlement amount, minus a $75,000
prompt payment discount. The parties’ Settlement Agreement,

 
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Ppro.

 

order, which incorporated the following language from the
patties’ stipulated confidentiality agreement:

It is hereby stipulated, consented and agreed to
by counsel for the parties in this action, that they
will not disseminate and/or publicize. the
existence of or disclose the financial terms of any
settlement agreement with any defendants,
except as further set forth in this Stipulation and
order; that this confidentiality provision does not
prohibit or restrict the parties from responding to
any inquiry about the documents produced or
their underlying facts and circumstances by any
state or federal regulatory agency, including the
Securities and Exchange Commission or any
self-regulatory organization ....!

The adversary proceeding continued against Bressman in the
Bankruptcy Court.

Several months after the Settlement Agreement was
reached and the funds received, the Plaintiffs sought a default
judgment in the Bankruptcy Court against Bressman. The
court ordered them to submit an affidavit detailing their
damages. In March 1999, Folkenflik, as their attomey,
submitted an affidavit that recounted the history of the
proceedings against Bressman and his co-defendants. The
affidavit indicated that the damages totaled $5,195,081 plus
interest. Although Folkenflik’s affidavit provided a
comprehensive account of the underlying proceedings, it made

 

' App. A38.
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against Bressman’s co-defendants or even of the fact of the
settlement. Explicitly noting its reliance on Folkenflik’s
affidavit, the Bankruptcy Court entered a default judgment
against Bressman for $5,195,081 on February 7, 2000. The
Bankruptcy Court ordered Folkenflik to submit a separate
application for RICO damages. In September 2002, the
Plaintiffs filed an application for RICO damages and attorneys’
fees. No mention was made in that application that the
Plaintiffs had already been paid [EEE on account of their
losses. In July 2003, still unaware of the Settlement
Agreement, the Bankruptcy Court entered a RICO judgment
for treble damages, totaling $15,585,243. The court noted that
this “amount constitute[d] treble the damages found and
awarded by this Court as Plaintiff’s out-of-pocket losses . . ..””
The court also awarded $910,855.93 in attorneys’ fees.’

Bressman was incarcerated from 2003 until 2006 in
connection with his conviction in New York state court for
enterprise corruption and grand larceny. During that time and
the seven years that followed, Folkenflik made no attempt to
recover on the default judgment because, in his view, the
likelihood of Bressman having substantial assets was remote.
In 2013, however, Folkenflik learned that Bressman was going
to receive a potential payment of $10 million, so Folkenflik set
out to have the $15,585,243 judgment satisfied. He filed ex
parte applications on behalf of the Plaintiffs in the Southern
District of New York and in the District of New Jersey to
appoint a receiver to search for and seize Bressman’s assets.

 

2 App. A267-68.
3 App. A268.

 
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emergency ex «parte relief v was warranted, given Folkenflik’s
failure to collect for ten years. The application was denied in
open court and was withdrawn the same day. In New York,
Judge Ramos granted the application on September 26, 2013.
On October 2, Folkenflik filed.a new application in the District
of New Jersey asking the court to authorize the receiver, who
had been appointed by the Southern District of New York, to
act in New Jersey. Contrary to Local Rule, Folkenflik did not
mark on the civil cover sheet that this action was related to the
unsuccessful application that he had filed in the District of New
Jersey several days earlier.* As a result, the case was assigned
to a different judge who granted the ex parte application.
Searches and seizures were executed in New York and New
Jersey on October 11.

In declarations appended to Plaintiffs’ ex parte
applications, Folkenflik indicated that, as a result of post-
judgment interest, the judgment against Bressman totaled
$30,895,913.39. Nothing in these submissions indicated that
Folkenflik had already collected $i million on behalf of the
Plaintiffs. Indeed, in his brief in support of his application in
the Southern District of New York, Folkenflik stated: “With
post judgment interest, the Judgment’s current value is
$30,895,913.39. To date — more than ten years later — Plaintiffs
have not seen a dime of this amount.”°

 

* During a sanctions hearing before the Southern District of
New York, the court found “deeply troubling the suggestion
that [Folkenflik] did not completely, fairly, and accurately
disclose to [the District of New Jersey] the application they had
previously made....” App. A43.

> App. A41.
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Then, on October 13, 2013, Bressman’s attorney, David
Wander, wrote to Folkenflik, asking if anyone had made
payments on the judgment.® Folkenflik certified that it was not
until then that he looked at the docket sheet and saw that the
settlement was listed. On October 16, Folkenflik replied to
Wander, stating “[t]he complete and accurate response to your
specific question is no, there have not been any payments from
any source regarding the Bressman Judgment.”” Folkenflik
added, in connection with this letter: “I... advised him of all
of the facts I thought I was allowed to advise him of, given the
public disclosure of the existence of the settlement, and that
was what I was able to say,”* namely, that certain defendants
were dismissed from one of the civil actions, “subject to a
settlement agreement that was submitted to Judge Koeltl with
the confidentiality ‘so ordered’ and the agreement sealed by
the order of the Court in or about October 1998.” That action
was then marked closed. Folkenflik certified that he was not
aware of the reference to the settlement in the court docket until
October 2013.!°

October 2013 was the first time that the Bankruptcy
Court, the District Courts in New York and New Jersey, and

 

6 App. A368.

7 App. A411.

8 App. A368.

> App. A509-10.
10 App. A42.

 
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Bressman!! learned that Folkenflik had successfully negotiate
a settlement agreement with Bressman’s co-defendants. The
orders granting the Plaintiffs’ ex parte applications were then
vacated in both courts and the seized materials were returned.

 

On January 7, 2014, Judge Koeltl in the Southern
District of New York held a hearing to determine whether
Folkenflik was obligated to disclose the Settlement Agreement
and to whom. Folkenflik argued that, absent the confidentiality
order, he would have informed the Bankruptcy Court of the
Settlement Agreement even though he believed it was
“immaterial” and irrelevant to the underlying default
judgement.!* By oral order, the court instructed the parties to
provide counsel and all involved judges with details of the
Settlement Agreement.

 

'! Although Bressman claims he was unaware of the Settlement
Agreement until October 16, 2013, Folkenflik argues
Bressman was aware of the Agreement as early as “sometime
in the 90’s.” Folkenflik also contends that Bressman had
constructive notice of the Settlement Agreement’s existence
because it was inadvertently disclosed on the Southern District
of New York’s public docket. The Bankruptcy Court did not
credit this assertion because “Folkenflik certifie[d] that he,
himself, was not aware of this public reference until October
2013.” App. A42. In any event, the date when Bressman
became aware of the Agreement is not germane to the merits
of our discussion. The inquiry here is primarily focused on the
representations that Folkenflik made to the Bankruptcy Court
when he appeared ex parte in 1999 and which he continued to
present to the Bankruptcy Court and the District Courts in the
following years.

2 App. A384.
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On January 9, 2014, a hearing was held by Judge Ramos
in the Southern District of New York to determine whether
Folkenflik’s decision to file the ex parte application to collect
on the default judgment with no mention of the Settlement
Agreement constituted sanctionable misconduct. The judge
noted that the validity of the default judgment against
Bressman was not at issue in that hearing.!> At the conclusion
of the hearing, the court declined to impose sanctions.

Bressman then asked the Bankruptcy Court for the
District of New Jersey to reopen the proceeding related to the
Plaintiffs’ adversary complaint, vacate the underlying default
and RICO judgments, and dismiss the Plaintiffs’ complaint
with prejudice on the grounds that the judgment was
fraudulently obtained. On March 20, 2014, the Bankruptcy
Court held a hearing. Bressman’s counsel argued that “if there
were ever a case to vacate a judgment based upon fraud on the
Court, it’s this case. There is no question that Mr. Folkenflik
intentionally concealed and affirmatively misrepresented
critical facts to this Court in an effort to obtain undeserved
double recovery for his clients and enormous fees for
himself.”4 oo

Folkenflik urged that he would have informed the
Bankruptcy Court of the Settlement Agreement if doing so had
not been prohibited by the confidentiality order. In the
alternative, Folkenflik argued that Bressman’s motion was
untimely. The Bankruptcy Court rejected Folkenflik’s
contentions. Finding that Folkenflik’s conduct was intentional

 

'3 App. A497-98.
4 App. A617.

 
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on the court, the Bankruptcy | Court vacated the default
judgment and dismissed the adversary complaint with
prejudice. The District Court affirmed the Bankruptcy Court’s
order, and this appeal followed.

I.

The District Court had jurisdiction to consider
Folkenflik’s appeal of the Bankruptcy Court’s order under 28
U.S.C. § 158(a)(1). We have jurisdiction pursuant to 28 U.S.C.
§ 158(d) and 28 U.S.C. § 1291.

The Plaintiffs raise three arguments on appeal. First,
they contend that Bressman’s motion to vacate the default
judgment was time barred. Whether the underlying motion
was barred is a question of law, and as such our review is
plenary.!° Second, the Plaintiffs contend that Folkenflik’s
conduct does not rise to the level of egregious misconduct that
constitutes intentional fraud on the court. Because the facts are
not in dispute, we exercise plenary review of whether
Folkenflik committed intentional fraud.’° Finally, the
Plaintiffs claim that that the sanction of dismissal with
prejudice was an abuse of the Bankruptcy Court’s discretion.
As with other forms of equitable relief, our review of the
Bankruptcy Court’s decision to vacate the underlying default

 

'S United States v. Hull, 456 F.3d 133, 137 (3d Cir. 2006)
(citation omitted).
16 Td, (citation omitted).

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The Plaintiffs first contend that the Bankruptcy Court’s
grant of relief was procedurally barred because Bressman’s
motion was filed more than ten years after the alleged
fraudulent conduct. In the alternative, the Plaintiffs assert that
the action was barred by the doctrine of laches. We disagree
with both contentions.

Federal Rule of Civil Procedure 60(b) authorizes relief
from a final judgment on six separate grounds.'? Rule 60(b)(3)
specifically permits a court to relieve a party from a final
judgment for “fraud[,] . . . misrepresentation, or
misconduct[,]”?° and subsection 6 permits courts to do so for
“any other reason that justifies relief.”*! As the Plaintiffs note,
Rule 60 motions alleging fraud are ordinarily subject to a one-
year limitations period.”” Although they correctly recite the
Rule’s time bar, they do so to no avail. Rule 60 has no
applicability where, as here, a party requests relief from a final

 

17 Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S.
238, 248 (1944); Groupe SEB USA, Inc. v. Euro-Pro Operating
LLC, 774 F.3d 192, 197 (3d Cir. 2014).

18 Chemetron Corp. v. Jones, 72 F.3d 341, 345 (3d Cir. 1995).
19 Fed. R. Civ. P. 60(b).

20 Fed. R. Civ. P. 60(b)(3).

21 Fed. R. Civ. P. 60(b)(6).

22 Fed. R. Civ. P. 60(c)(1).

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dgment in respon “opponen leg
court. We settled this issue in Averbach v. Rival Mfg. Co.,
where we held that “the one year time limit in the rule, by virtue
of the rule’s very text, does not apply to independent actions”
such as those for fraud on the court.”? Our decision in Herring
v. United States reaffirmed our holding in Averbach: “an
independent action alleging fraud upon the court is completely
distinct from a motion under Rule 60(b).””4

 

This concept that the inherent power of federal courts to
vacate a fraudulently obtained judgment—even years after the
judgment was entered—has long been recognized by the
Supreme Court.*° Consistent with this precedent, the
bankruptcy court here granted the requested relief because it
found that Folkenflik committed fraud on the court. We
therefore see no basis to conclude that the time limits of Rule
60 barred the court’s consideration of the appellee’s motion to
vacate the underlying default judgment.

The Plaintiffs’ contention that the doctrine of laches
counsels against vacating the underlying default judgment
similarly fails. “Laches is ‘a defense developed by courts of

 

*° 809 F.2d 1016, 1020 (3d Cir. 1987). Although Averbach
was an independent action, we noted there that “the elements
for a cause of action for such relief in an independent action
are not different from those elements in a Rule 60(b)(3) motion
wow” Id, at 1022-23.

*4 424 F.3d 384, 389 (3d Cir. 2005) (citation omitted).

°° See Hazel-Atlas Glass Co., 322 U.S. at 248-49 (recognizing
that federal courts possess inherent power to vacate a judgment
obtained by fraud on the court); see also Plaut v. Spendthrift
Farm, Inc., 514 U.S. 211, 233-34 (1995) (same).

 

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delay in commencing suit.””*® The defense “applies in those
extraordinary cases where the plaintiff ‘unreasonably delays in
filing a suit,’ and, as a result, causes ‘unjust hardship’ to the
defendant. Its purpose is to avoid ‘inequity.’”’ The Plaintiffs
bear the burden of proving that the elements of laches—
“inexcusable delay in instituting suit and prejudice resulting to
the respondent from such delay’—are met.”® Arguing that
Bressman unjustifiably slept on his rights for ten years, the
Plaintiffs challenge the District Court’s conclusion that the
elements of laches are not present. However, because “[b]y its
very nature the doctrine [of laches] addresses itself to the sound
discretion of the trial judge[,] ... absent an abuse of discretion,
we will not disturb the court’s determination.””°

The Bankruptcy Court did not credit Folkenflik’s
assertion that Bressman was aware of the payment as early as
1999. On appeal, the District Court affirmed that laches were
not applicable here, stating:

 

26 SCA Hygiene Prod. Aktiebolag v. First Quality Baby Prod.,
LLC, 137 S. Ct. 954, 960 (2017) (citing Petrella v. Metro-
Goldwyn-Mayer, Inc., 134 8. Ct. 1962, 1967, 1973 (2014)).

*7 Petrella, 134 S. Ct.at 1979 (Breyer, J., dissenting) (citations
omitted).

*8 Kane v. Union of Soviet Socialist Republics, 189 F.2d 303,
305 (3d Cir. 1951) (en banc); see also Waddell v. Small Tube
Prod., Inc., 799 F.2d 69, 74 (3d Cir. 1986) (“The party
asserting the defense . . . bears the burden of proof.” (citation
omitted)).

° Gruca v. U.S. Steel Corp., 495 F.2d 1252, 1258 (3d Cir.
1974) (citation omitted).

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“heard” at some unspecified time and place
during the decade of the 1990’s is not much to
go on. But in any event, I find that [the
Bankruptcy Court] acted here within the law

 

and the bounds of his discretion. ... This was
not an adversarial proceeding but an
application for a default judgment. ... Under

the circumstances, [the Bankruptcy Court]
could permissibly make an equitably based
ruling “that a fraud committed upon the court
could be time barred offends all notions of
integrity and equity. There can be no
protections against such intentional conduct.”*°

We agree. Accordingly, we cannot say the Bankruptcy Court
abused its discretion in concluding that Bressman’s motion
was not barred by the doctrine of laches.

B.

We next address whether Folkenflik’s failure to disclose
the Settlement Agreement rises to the level of intentional fraud.
As officers of the court, attorneys are required “to conduct
themselves in a manner compatible with the role of courts in
the administration of justice.?! This responsibility’ is
sometimes—albeit rarely—disregarded. When, however,

 

°° App. A9-10, citing the Bankruptcy Court, App. A45.

3! In re Snyder, 472 U.S. 634, 644-45 (1985); see also
Demjanjuk v. Petrovsky, 10 F.3d 338, 352 (6th Cir. 1993) (“As
an officer of the court, every attorney has a duty to be
completely honest in conducting litigation.”).

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reservation of the:
integrity of the judicial process may require courts to depart
from their usual adherence to the principle that final judgments
should be left undisturbed. We'confront one such situation
here. So

A court may set aside a judgment based upon its finding
of fraud on the court when an officer of the court has engaged
in “egregious misconduct.”*? We have said that such a finding
“‘must be supported by. clear, unequivocal and convincing
evidence’’34 of “(1) an intentional fraud; (2) by an officer of
the court; (3) which is directed at the court itself. . ..”°° In
addition, fraud on the court may be found only where the
misconduct at issue has successfully deceived the court.*®
Folkenflik contests the Bankruptcy Court’s findings on two

 

32 See Hazel-Atlas Glass Co., 322 U.S. at 244 (recognizing that
that “under certain circumstances, one of which is after-
discovered fraud,” a court may exercise its equitable powers to
vacate judgments “to fulfill a universally recognized need for
correcting injustices which, in certain instances, are deemed
sufficiently gross to demand a departure from rigid adherence”
to the finality of judgments).

33 Herring v. United States, 424 F.3d 384, 390 (3d Cir. 2005)
(quoting In re Coordinated Pretrial Proceedings in Antibiotic
Antitrust Actions, 538 F.2d 180, 195 (8th Cir. 1976) (internal
quotation marks omitted)).

34 Td. at 387 (quoting In re Coordinated Pretrial Proceedings
in Antibiotic Antitrust Actions, 538 F.2d at 195).

35 Id. at 390.

36 Td.

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rounds: First aims that‘an was not intention

and second, he argues that the alleged deceit does not constitute
the kind of egregious misconduct that the fraud on the court
doctrine aims to.address. Both contentions are belied by the

properly found facts.

   
 

 

Although: direct .evidence. of intent will. rarely be
available,:: it..may ‘be: inferred: from . the. surrounding
circumstances: Folkenflik’s intentions were clear: He set out
to recover the full amount of the default judgment without any
offset for the settlement with the co-defendants. Folkenflik’s
scheme manifested itself in early March of 1999 when he filed
an affidavit to support the default judgment he sought against
Bressman. The affidavit-was comprehensive: It recounted the
history of the related proceedings, scrupulously detailed the
damages each Plaintiff sought, provided a calculation of
interest, and carefully described Folkenflik’s involvement in
the matter. Conspicuously, the affidavit omitted any mention
of the $f million Folkenflik recovered on behalf his clients
several months earlier. As Folkenflik was aware, the
Bankruptcy Court was not presented with any information
from Plaintiffs’ adversaries or from any nonparty because
Folkenflik was appearing ex parte. .

While Folkenflik claims that he never intended to
collect on the judgment without first ensuring that the
appropriate offset would be applied, the record provides strong
support for a conclusion to the contrary. First, this contention
is discredited by Folkenflik’s own assertion that he was under
no obligation to inform the court of Bressman’s right to a set

 

37 By considering this argument, we are in no way conceding
that fraud is not an intentional tort.

 

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off2® Second, Folkenflik indicated in his brief, supporting his
ex parte application for a receiver in the Southern District of
New York that “[w]ith post-judgment interest, the Judgment’s
current value is $30,895,913.39” and that “[t]o date — more
than ten years later — Plaintiffs have not seen a dime of this
amount. This declaration, as with Folkenflik’s other
attestations throughout the underlying proceedings, is grossly
misleading and illustrates an intent to receive an unjustified
recovery.

Folkenflik made a deceptive representation to the court
in his affidavit, obtained a default judgment, had it trebled, and
was awarded interest and attorneys’ fees. We have no trouble
concluding that his failure to disclose the settlement reflects his
intent to commit fraud on the court.*°

Folkenflik also asserts—indefatigably—that he would
have informed the court of the settlement payment had he not

 

38 App. A384, A537-38.

39 App. A303-04.

40 The New York and New Jersey District Courts declined
Bressman’s invitation to impose sanctions in response to
Folkenflik’s lack of candor with respect to the 2013 ex parte
enforcement proceedings. Folkenflik argues that the courts’
refusal to impose sanctions demonstrates that he did not act
with the requisite intent. This argument is of no moment since
our determination is based on the deceptive representations
Folkenflik made in the 1999 Affidavit and not with his ex parte
enforcement applications. Further, it is not clear whether
considerations concerning sanctionable conduct are identical
or analogous to those concerning fraud on the court. We need
not make this determination today.

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been barred from doing so by the confidentiality order. This
contention is unconvincing. Folkenflik was not, as he
suggests, left only with the options of concealment or
impermissible disclosure. He was aware that relevant facts
were being omitted from his affidavit. Even ifhe believed that
the confidentiality order prohibited him from disclosing to the
Bankruptcy Court the existence of the Settlement Agreement,
he could have so stated in his affidavit and have asked either —
or both — the District Court in the Southern District of New
York and the Bankruptcy Court in New Jersey for guidance.
His failure to do so is consistent with an intent to defraud the
court in order to maximize the recovery.

 

 

Folkenflik’s alternative attempts to justify his
nondisclosure fare no better. He contends that he cannot be
held responsible for his omissions because he was not
obligated to inform the court of Bressman’s right to a setoff."!
In his view, Bressman had notice of the adversary proceedings,
failed to act, and therefore waived any defenses. Bressman
denies that he had any knowledge of the settlement until
October 2013. However, whether Bressman did or did not
have knowledge does not forgive Folkenflik for his
misrepresentations to the court. Moreover in this regard, any
right to set off is not relevant to Folkenflik’s failure to inform
the court of the fact of the settlement. In addition, Folkenflik’s
position is further compromised by the fact that Bressman was
absent. The ex parte nature of the proceedings was not a
license for Folkenflik to deceive the court by deliberately
failing to bring the material fact of the settlement to the court’s
attention.

 

 

4T App, A537-38.

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In fact, Folkenflik’s duty to deal with the court honestly
and with integrity was particularly important in light of the
non-adversarial nature of the ex parte proceedings. In such a
proceeding, the court depends on the integrity of appearing
counsel because only he can ensure that the court has received
the full scope of information pertinent to the merits of its
considerations. Folkenflik was not only obligated to submit
truthful information, but he was also required to disclose to the
court any material information of which he was aware.
Because his failure to do so has sufficiently undermined the
judicial process, we conclude that a finding of fraud on the
court will lie.

This determination brings us to Folkenflik’s next
argument: that a “fraud on the court”-based claim can succeed
only when it is based on perjurious misconduct. This
suggestion is based on an incorrect reading of our Herring
opinion, which establishes that perjury by a witness does not,
by itself, constitute fraud on the court.2 Understood in its
proper context, Herring’s pronouncement was appropriately
narrow and has no relevance here since Bressman’s motion
does not pertain to a witness who has allegedly committed
perjury. There is an important distinction between perjury that
is committed by a witness and fraudulent conduct that is
directed at the court by one of its own officers. The latter has
a much greater likelihood of undermining the working of the
normal process of adjudication because courts rely on the
integrity of their officers. Folkenflik is a licensed attorney who
exploited his privilege to practice before the courts by not
revealing the details of a relevant settlement payment. This

 

"2 424 F.3d at 390.

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deceit maximized his clients’ recovery—and, in turn, his fee.
Herring is distinguishable.

Having determined that the record evidences an
intentional scheme to improperly influence the-court, we next
address whether Folkenflik’s ploy is the kind of misconduct
that the fraud on the court doctrine seeks to address. We
conclude that it is. The Supreme Court has warned that fraud
on the court actions must be “reserved for those cases of
‘injustices which, in certain instances, are deemed sufficiently
gross to demand a departure’ from rigid adherence to the
doctrine of res judicata.”* Taking heed of this instruction, we
held in Herring that only “‘egregious misconduct . . . such as
bribery of a judge or jury or fabrication of evidence by
counsel’” can be characterized as the kind of fraud that
warrants relief from a judgment.“

The facts here demonstrate “a deliberately planned and
carefully executed scheme:to defraud’. . ..° In his affidavit
supporting his petition for a default judgment, Folkenflik
omitted that Bressman’s co-defendants had settled their claims
in one of the New York actions: conduct which is incapable of
innocent explanation. Folkenflik, in his capacity as an officer
of the court, made sworn averments to obtain a default
judgment and damages. Knowing that the averments had
omitted a material fact, Folkenflik nevertheless allowed the
Bankruptcy Court to rely upon their truthfulness. The court’s
reliance on the affidavit impugned its integrity.

 

 

‘3 United States v. Beggerly, 524 U.S. 38, 46 (1998) (citing
Hazel-Atlas Glass Co., 322 U.S. at 244).

“4 424 F.3d at 390 (citation omitted).

‘8 See Hazel-Atlas Glass, 322 U.S. at 245.

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We conclude that the misconduct at issue here is
sufficiently egregious. Because there is clear, unequivocal,
and convincing evidence showing that Folkenflik committed
fraud on the court, we will affirm the judgment of the District

Court.

C.

Finally, Plaintiffs contend that the Bankruptcy Court
could not grant relief from the default judgment without first
weighing the factors set forth in Poulis v. State Farm Fire &
Casualty Co.*° This argument requires little discussion. “In
Poulis, we held that a district court must consider six factors
before it may dismiss a case as a sanction...."? We have
since required consideration of Poulis in only a limited number
of additional contexts.** “Our application of Poulis in those
contexts comports with the underlying concern that Poulis
sought to address, namely that dismissal as a sanction before
adjudication of the merits deprives a party of her day in
court.’"*? Our precedents have reaffirmed that the Poulis
factors are required to “preserve the ability of the parties to try
their cases on the merits.”°° These concerns are not present
here. In fact, the principle underlying Poulis, that disputes
should be decided on their merits, is the very basis for our

 

46 747 F.2d 863 (3d Cir. 1984).

*” Knoll v, City of Allentown, 707 F.3d 406, 408 (3d Cir. 2013).
“8 Id. at 409 (listing cases).

49 Id.

3° Td, at 410.

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disfavor of default judgments.*' As set forth above, our review
of the decision to vacate a default judgment under the
circumstances presented here asks whether a court has abused
its discretion. Because the Bankruptcy Court has not done so,
we will affirm.”

IV.

“Membership in the bar is a privilege burdened with
conditions.” “Among the most oft-cited is the condition that
attorneys will honor the duty of loyalty they owe.to.each of
their clients. In so doing, attorneys must not—and in most
cases do not—disregard their inherent obligation to the system
of justice. Because Folkenflik: has conducted himself in a
way that has improperly interfered with the administration of
justice, protection of the court’s integrity requires us to act: In
light of this responsibility, we will affirm the judgment of the
District Court.

 

*! Harad y. Aetna Cas. & Sur. Co., 839 F.2d 979, 982 (3d Cir.
1988) (noting that we have “adopted a policy disfavoring
default judgments and encouraging decisions on the merits”
(citation omitted)).

*2 To the extent that Plaintiffs seek to use Poulis to challenge
the Bankruptcy Court’s decision to dismiss their underlying
action with prejudice, the Poulis factors are plainly satisfied.
In Poulis, we developed factors to consider when determining
if misconduct is grave enough to warrant the drastic sanction
of dismissal. Poulis, 747 F.2d at 868. A fraud on the court is
unquestionably such misconduct.

*3 In re Snyder, 472 U.S. at 644 (citation and internal quotation
marks omitted).

54 Id.

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

 

RORERTM.WM. ODOR LILA

 

Index No. 400891/08
Plaintiff-Claiming Authority,

~against- AFFIRMATION
IN SUPPORT OF
David Holzer, AMENDING SUMMONS,
COMPLAINT, AND ORDER
TO SHOW CAUSE

Defendant.

 

STATE OF NEWYORK  )
: SS.
COUNTY OF NEW YORK )

Investigator SHANNON ROWE, being duly sworn, deposes and says:

1. I am an Investigator, Shield #158, in the New York County District Attorney’s
Office, and as such I am a public servant of the kind specified in CPL 690.05(1). I have been a
member of DANY Investigations for over five years. Previous to that I was an investigator with
DOI for two years, and I have training and experience in investigating white collar crime, including
money laundering, grand larceny and identity theft cases. I am currently assigned to an
investigation involving David Holzer and Lesley Holzer, and am familiar with its facts.

2. Except as otherwise stated below, I make this affirmation upon information and
belief based upon: (i) my review of information contained in plaintiff's files, (ii) my conversations

with Barry Fingerhut, Heidi and John Rapillo, and Michael and Barbara Zackman; (iii)

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conversations with private investigators hired by one of the victims in this case, (iv) my review, and
the review by a financial analyst, of the defendant’s and the victims’ bank records.

3 I submit this aff

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instant action as a non-criminal defendant, pursuant to the provisions of-Article 13-A of the CPLR. |

] also submit this affidavit in support of Plaintiffs request to add Lesley Holzer to the TRO
previously issued in the instant action, In this case, specifically, plaintiff seeks the forfeiture from
David and Lesley Holzer of certain Property, to wit, $16,645,483.33 (Sixteen Million, Six Hundred
and F otty-Five Thousand, Four Hundred and Eighty-Three Dollars and Thirty-Three Cents), which
constitutes the “proceeds,” and/or the “substituted proceeds,” of the felony crime of Grand Larceny
in the First Degree (Penal Law § 155.42). Alternatively, plaintiff seeks forfeiture from the criminal
defendant David Holzer for the value of the aforementioned property, to wit, the sum of
$16,645,483.33 (Sixteen Million, Six Hundred and F orty-Five Thousand, Four Hundred and Eighty-
Three Dollars and Thirty-Three Cents), as the instrumentality of his crimes. Also alternatively,
plaintiff seeks a money judgment against the criminal defendant David Holzer for the value of the
aforementioned property in the sum of $16,645,483.33 (Sixteen Million, Six Hundred and Forty-

Five Thousand, F our Hundred and Eighty-Three Dollars and Thirty-Three Cents),

STATEMENT OF FACTS
The Defendant’s Activities With Regard to Barry Fingerhut
4, The summons and verified complaint in this action for forfeiture pursuant to Article 13-4
of the CPLR, which is appended hereto as Exhibit A, is grounded upon the defendant's illegal

activities during the period from on or about March, 2002 to March, 2008. I am informed by Barry

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Fingerhut that Fingerhut met David Holzer While Holzer worked as a trader for Brean Murray.

They formed a working relationship in which Holzer would trade Over-the-Counter (OTC) stocks

for Fingerhut,

 

As of early 2002, Holzer and Fingerhut had worked with one another for several
years, and had known each other for approximately 12 years. In March 2002, Holzer contacted
Fingerhut at his place of business, GeoCapital, located at 825 Third Avenue, New York City, New
York County, New York, and proposed an investment Opportunity to Fingerhut. Holzer told
Fingerhut that he had formed a’ partnership with two other individuals Daniel Katz and Jeftrey
Schwartz, called Dellwood Partners, and that the partnership was investing in real estate in upstate
New York. Holzer asked Fingerhut to take a one-half interest in Holzer’s one-third of the
partnership. Fingerhut agreed,

6. Fingerhut began wiring money in stages to Holzer to make up his half of their one-
third partnership for a piece of property that Holzer claimed Dellwood was buying in Haverstraw,
NY. As time went by, Holzer told Fingerhut that Dellwood was making additional investments in
real estate, in Haverstraw, Monticello, Beacon, Newburgh and Nyack, New York. F ingerhut wired
money to Holzer’s account to pay for those additional investments. |

7, Fingerhut wired the following amounts on the following dates to Holzer’s account at

JP Morgan Chase Bank totaling $12,062,200.00:

 

 

 

 

 

 

 

DATE DEPOSIT AMOUNT
March 27, 2002 $62,500
April 29, 2002 $862,500

| Fuly 25, 2002 $1,500,000 |

 

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July 25, 2002 $1,593,000
October 17, 2002 - $140.000
November 8, 2002 $187,000
January 13, 2003
vy 24, ;
October 14, 2003
November 24, 2003 $383,000 |
December 22, 2003 $216,000 |
February 2, 2004 $270,000 |
April 21, 2004 $516,000
July 23, 2004 $900,000
October 12, 2004 $600,000
November 23, 2004 $244,000
April 20,2005 $693,750
May 17, 2005 $289,000
July 11, 2005 $98,300
August 3, 2005 $519,000
October 18, 2005 $190,000
November 9, 2005 $300,000
December 7, 2005 $255,000
December 7, 2005 $125,000
December 16, 2005 $10,000
May 23, 2006 $360,000
August 8, 2006 $215,000
September 15, 2006 $294,000
TOTAL $12,062,200

 

 

 

 

 

8, Holzer’s bank records show that the above figures were received by him. Those
records also show that in 2002, Holzer gave over three million dollars to an individual who was
apparently not connected with any company named Dellwood Partners, or with Daniel Katz or
Jeffrey Schwartz. In fact, there is no indication that any company named Dellwood Partners ever
existed, and Holzer’s bank records do not show any transactions with either Katz or Schwartz. Also

from 2002 to 2006, Holzer’s bank records demonstrate that he and his wife lived a lavish lifestyle,

   

 

 
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spending extravagantly on clothing, travel, an interior designer, jewelry, Holzer's children’s rent, his
father’s senior residence in upstate New York, and that these and other personal expenses were

primarily how Holzer spent the money he obtained from Fi

 

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In 2004, Holzer told Fingerhut that the Haverstraw property was going to be sold for

approximately $99 million, and that their share of the profit would be approximately $33 million.
At that time, Fingerhut suggested to Holzer that they use the proceeds of the real estate sale to start
their own partnership, through which they could manage their money by making investments. The
two formed a partnership, FH Partners, and opened an office while Fingerhut waited for the
proceeds from the sale of the Haverstraw property that Holzer said was imminent. During this time,
as can be seen above, Fingerhut continued to pay money to Holzer for investments that Dell wood
partners was supposedly making.

10. Tam further informed by Fingerhut, that in or about February 2005, Holzer asked
Fingerhut to loan him some money because Holzer claimed that he had a capital call at Brean
Murray, and he needed cash to pay to Brean Murray for an investment he had there. I am
informed by Fingerhut that on February 4, 2005, and March 8, 2005, Fingerhut wired $202,000
and $860,000, for a total of $1,062,000, to Holzer based on Holzer’s representations that Holzer
had to pay the capital call and that the money would be paid back to Fingerhut. I am informed
by Nick Cangro, mancial analyst for the New York County District Attorney's Office
(“DANY”) that a review of records from Brean Murray reveal that no capital call or money was
put in to Brean Murray investments in February or March of 2005. I am further informed by
Nick Cangro that he has reviewed Holzer’s JP Morgan Chase Bank records for the same time

period, and the records reveal that the two above-described deposits were made into Holzer’s

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accounts, but that no money went to Brean Murray at that time, but rather a good portion of the
money, $560,053 went to the U.S. Treasury.

11 In the spring of 2007 Holzer told Fingerh:

 

had closed, and showed Fingerhut a deposit receipt from JP Morgan Chase bank showing a deposit
of'a check for $33.6 million into Holzer’s accounts. I am informed by Nick Cangro that a review of
the bank accounts show that after the $33 million check was deposited, it in fact bounced, and the

account was closed thereafter!

12. In October 2007, Lincoln Ornston, of a private investigative firm named Thacher

Associates, met withr Holzer in FH Partners’ office. Holzer admitted to Ornston that Dellwood
Partners never existed, and that Holzer never had a partnership with Schwartz or Katz. He also
admitted that he did not purchase property in Haverstraw, that he did not use Fingerhut’s money to
purchase property in Haverstraw or any other location, and that he instead used Fingerhut’s money
for personal and business-related expenses. Holzer also told them that all of the ‘money was gone,
and that he only had about $40,000 left in his bank accounts.

13, Holzer promised to pay Fingerhut back, and in late November 2007 issued two
checks drawn on a Citibank account made payable to Fingerhut totaling approximately $7 million.

A review of Holzer’s Citibank account records reveals that those checks were written on an account

with insufficient funds.

 

Tt was later determined that Holzer in fact wrote the $33.6 million check to himself, from an
account that did not have sufficient funds to cover it.

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The Defendant's Activities With Regard to Heidi and John Ranillo

14. In October 2005, defendant Holzer told Heidi and John Rapillo that he was involved

 

 

 

  

David Holzer a total of $1.6 million between December 2005 and March 2006, believing, based
on Holzer’s representations, that Holzer would invest that money for them,

15. First, on December 15, 2005, the Rapillos sent a wire for $600,000 to Holzer
because Holzer told them he was investing their money in a movie theater. DANY financial
analyst Nick Canegro reviewed Holzer’s bank records, and has informed me that, rather than
invest the money, once the $600,000 was received in Holzer’s account on December 15, 2005,

Holzer transferred $200,000 to Barry Fingerhut’s personal account; then on January 9, 2006, he

 

transferred $50,000 to FH Partners? account, on January 9, 2006 Holzer also paid $35,025.63 to
American Express for his personal charge card bill: on January 10, 2006, and January 13, 2006, . !
he transferred $20,000 and $15,000 respectively to FH Partners’ account; on January 17, 2006,
he paid $24,360 to Mid Hudson Fence company. Holzer also generally spent the rest of the |
money on smaller personal and business transactions, none of which appear to be “investments,” !
but instead largely supported the extravagant lifestyle he and his wife were living,

16, John and Heidi Rapillo wired $200,000 to Holzer’s account on January 31, 2006,
because Holzer told them he would invest their money in a penthouse project. Rather than invest
the money, however, a review of Holzer’s bank records by Nick Cangro shows that after Holzer

received the $200,000 from the Rapillos, on January 31, 2006, and February 10, 14, and 27,

2006, Holzer transferred $20,000, $15,000, $16,500, and $10,000, respectively, to FH Partners’

 

account; on February 14, 2006 he paid $48,280.77 towards his American Express charge card

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bill; on March 2, 2006, he paid $8,509.61 to his Washington Mutual home mortgage account,
and spent the rest of the money on smaller personal and business transactions, none of which

appeared to be investments made on the Rapillos’ behalf.

   

  

 
 

2006, they wired $800,000 to
Holzer because Holzer said that he would invest all of that money in a company called
VCampus, Rather than invest all of that money, however, a review of Holzer’s bank records by
Nick Cangro shows that after Holzer received $800,000 from the Rapillos on March 23, 2006,
that same day Holzer wired VCampus only $500,000, That $500,000 was initially put only in
Holzer’s name, and later he assigned all of his rights in that stock to Barry Fingerhut.

18, T am further informed by Nick Cangro that on March 24, 2006, and April 21,
2006, Holzer paid $32,309.16 and $61,595.43 respectively to American Express; on March 30,
2006, and April 10 and 13, 2008, Holzer wired $25,000, $27,000, and $30,000 respectively to
the FH Partners’ account; on March 31, 2006, Holzer wired $17,500 to a company called CE
Technologies, Inc.; on April 18, 2006, Holzer gave his daughter, Jennifer Holzer $5,000; and on

April 20, 2006, Holzer paid someone named Neal Richard $20,000.

The Defendant's Activities With Regard to Michael and Barbara Zackman
19, I am informed by Michael Zackman, that between November 2006 and November
2007, he paid Holzer a total of $1,773,283.33. Michael Zackman informs me that this money

was paid to Holzer because Holzer told him he would make him a partner in his investments if

Zackman paid for half of the investment.

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20, I am informed by Zackman that on November 10, 2006, Zackman wired Holzer
$600,000 which Zackman says he believed was for an investment Holzer had already made in
Knox Lawrence International, LLC for a company called Vertex. I am further inf

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December 11, 5006. David Holzer and his wife, Lesley Holzer, and Michael and Barbara
Zackman signed a partnership agreement that created a partnership with regard to the funds that
were supposed to be invested. The agreement stated that the Holzers contributed $600,000 to the
partnership and that the Zackmans contributed $600,000 to the partnership. I am further
informed by Zackman that on December 19, 2006, Zackman wired another $175,000 to Holzer,
and that on January 23, 2007, Zackman wired another $133,000 to Holzer, for further investment
into Knox Lawrence. Zackman signed an addendum to his partnership with Holzer on June 11,
2007, that referenced these additional funds as investments to Knox Lawrence. A review of the
amendment to the partnership agreement indicates that an additional $308,000 was contributed
by the Zackmans for the Vertex deal through Knox Lawrence that would make them 50 percent
owners of Holzer’s holdings in that deal.

21. lam further informed by Michael Zackman that in 2007, David Holzer told him
about an investment that Knox Lawrence was doing in a company called Consonus, and asked
that Zackman participate in three different investments with him in Consonus. The first
investment, on May 18, 2007, was to be a $250,000 investment split three ways between David
Holzer, Michael Zackman, and Barry Fingerhut. The next two payments, in October and
November of 2007 were to make additional investments in Consonus through Knox Lawrence. | -
am informed that Michael Zackman wired to David Holzer $83,333.33 on May 18, 2007,

$78,000 on October 10, 2007, and $42,000 on November 30, 2007 for these investments.

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22, I believe that Holzer lied to the Zackmans when he claimed that the money they

sent was to buy a half share into investments that Holzer had made or was going to make through

    

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Knox Lawrence. The only way Holzer’s claim.could-ha:

           
 

awrence twice the total amount of money that Zackman sent for the investments, or
$2,222,666.66. I am informed by Barry Fingerhut that he did not make a $250,000 investment in
Knox Lawrence in May 2007 with David Holzer and Michael Zackman. A review of Holzer’s
bank account records show that on November 10, 2006, the same day that Zackman sent the
initial $600,000 for the Vertex investment through Knox Lawrence, Holzer wired $300,000 to
Knox Lawrence. I am further informed by DANY financial analyst Nick Cangro that an analysis
of Holzer’s JP Morgan Chase bank account records from January 2001 through June 2007 show
that the total amount of money that Holzer sent to Knox Lawrence, LLC is $363,667.
Furthermore, between November 10, 2006, the date of Zackman’s initial payment for a purported
Knox Lawrence-related investment, and December 19, 2006, the date of the next payment for
what was supposed to be the Vertex deal through Knox Lawrence, there are no payments from
Holzer’s account to Knox Lawrence: Furthermore, from December 19, 2006, until Holzer’s
account was closed in June of 2007, the records show no payments were made to Knox
Lawrence from Holzer’s account. I am further informed by Nick Cangro that a review of
Holzer’s Citibank account, which was opened after Holzer’s Chase account was closed in June
2007, shows that there were no payments to Knox Lawrence between June 2007 and December
2007.

23. I am informed by Michael Zackman that on or about February 14, 2007, David

Holzer asked Zackman to invest in a real estate deal in Florida called St. Augustine, through a

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company called Trident. Zackman had invested with Trident in the past at Holzer’s suggestion,
and had sent the money for those investments directly to the lawyers who held the trust account

for the company, Foley and Lardner, in Florida. For this investment, however, Holzer told

 
 

Zackman to send the money directly to Holzer, as Zackman would be taking a half interest in
what Holzer owned already. In order to make the $600,000 investment (which Zackman
understood from Holzer to be half of Holzer’s $1.2 million investment), Zackman sold some

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stock in his portfolio, and wired the following funds on the following dates to Holzer:

 

 

 

 

 

 

 

DATE AMOUNT WIRED
February 14, 2007 $100,000
March 14, 2007 $200,000
April 3, 2007 $100,000
April 16, 2007 $25,000
April 24, 2007 $175,000
TOTAL $600,000

 

 

 

 

24, In fact, Holzer had only about $100,000 of his own finds invested in the St.
Augustine investment at that time. In October, 2007, Holzer assigned all his rights in the St.
Augustine investment to Fingerhut, not to Zackman. |

25, Iam further informed by Michael Zackman that he sent Holzer a wire on July 12,
2007, for $41,650. After that wire was sent, Zackman was uncertain how Holzer was going to

invest the money, and so contacted: Holzer to find out. I am informed by Zackman that initially

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Holzer could not remember, but then got back to Zackman several days to a few weeks later, and
told Zackman that the investment was in parking spots for a real estate investment that Zackman

had made previously through Trid

 

alled “Waverly. »

   

26, I believe that Holzer lied to Zackman when he said that the money Zackman was

investing in the Trident investments was for half the interest that Holzer had in Trident. A
review of Holzer’s bank records by Nick Cangro revealed that the total amount of money Holzer
sent to Foley & Lardner between January 2001 and December 2007, was $665,471.91. I am
certain that no investments were made prior to January 2001 because I am further informed by
Barry Fingerhut that Fingerhut had found this investment and told Holzer about the investment
sometime after they started FH Partners in 2004.

27, I was further informed by Barbara Zackman that on October 9, 2007, she
transferred $20,300.00 from her and Michael Zackman’s account at Citibank to Holzer's
Citibank account. They did this because David Holzer told them there were legal bills connected
with one of their investments equaling $36,600, of which they had to pay half, and that he also
wanted to borrow another $2,000, which he would return at a later time. J am further informed
that later, possibly in January 2008, Holzer did pay them back 52,000. I am informed by Nick
Cangro, however, that a review of Holzer’s bank records show that Holzer did not use the
$18,300 he kept to pay legal fees, nor did he invest it for them. Instead, on October 9, 2007, the

same day he received the money from them, he paid American Express $16,280 for his charge

card bill.

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The Defendant’s Activities with Regard to Barry Pessar

28. Tam informed by Michael Zackman that Barry Pessar told Zackman that he gave

Holzer $150,000 to invest duri

   

he week of March.24, 2008...

 

29, Tam further informed by Nick Cangro that a review of records recently received

from Citibank shows that on March 13, 2008, Holzer had a negative balance of $13,333.29 in his
bank account. On March 27, 2008, Holzer received a deposit in the amount of $150,000, and
that money was withdrawn from the account between March 27, 2008, and April 3, 2008,
through checks in amounts no larger than $22,000. On April 3, 2008, the balance in Holzer’s
account was $15,517.60. This activity is consistent with the defendant’s prior pattern of taking
money from would-be “investors” and then using the money for his own personal benefit rather

than investing it on their behalf,

The Proceeds of the Defendant’s Crimes

30. Based on the foregoing, and based on my training and experience, it is my opinion
that the defendant has been engaging in a pattern of activity that constitutes numerous crimes,
including but not limited to the felony crime of Grand Larceny in the First Degree (Penal Law §
155.42),

31, The total proceeds of defendant Holzer’s criminal activities, with regard solely to.
Barry Fingerhut, in this case is $13,124-200.00, This figure represents the total sum of the funds
that Barry Fingerhut gave to the defendant from March 27, 2002 to September, 15, 2006, during
which time the defendant fraudulently represented that he was investing the money. In addition, the

proceeds of Holzer’s crimes against Heidi and John Rapillo is $1,600,000.00. This figure represents

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the total sum of the funds that the Rapillos sent to Holzer during the period between December 2005
and March 2006. In addition, the total proceeds of the defendant's crimes against Michael and

Barbara Zackm $1,771,283.33, which figure

 

Zackmans to Holzer from November 2006 until November 2007, minus the $2,000.00 that was
returned to them. Lastly, the proceeds of the defendant’s crime against Barry Pessar is $150,000.00,
the amount of money that.Pessar gave to Holzer during the week of March 24, 2008. Thus, by
adding up these amounts, the total proceeds of defendant’s crimes in the instant case is
$16,645,483.33 (Sixteen Million, Six Hundred and F orty-Five Thousand, Four Hundred and Eighty-

Three Dollars and Thirty-Three Cents).

Lesley Holzer’s Receipt Of The Illegal Proceeds

32. The investigation has determined that defendant David Holzer is married to Lesley
Holzer, and that they reside at 10 Sky Drive, New City, New York. A review of property records
shows that 10 Sky Drive in New City, New York, is jointly owned by the defendant and his wife,
Lesley Holzer. From 2002 through the present this appears to be their primary address, and the
investigation has revealed that they live there together. At the time of the defendant's arrest, he and
his wife also shared a rented apartment in Manhattan, at 50 East 78th Street, Apartment 10A. They
have three children in common, aged 23, 29 and 31,

33. I am informed by Nick Cangro, that he reviewed the defendant’s bank records, and

that from March, 2002, to June, 15, 2007, the defendant and Lesley Holzer shared a joint checking

 

* Criminal defendant David Holzer’s activities constitute a well-known type of scheme called a
“Ponzi” scheme, in which a defendant will steal from new victims to pay back previous victims.
The investigation in this case revealed that David Holzer’s Ponzi scheme actually began prior to
his first theft in 2002 from Barry Fingerhut, and that he had at least one prior victim.

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account, number ending in 5365, at Chase Bank. 1 am further informed that from June 14, 2007,
they shared a joint checking account, number ending in 0313, at Citibank. During both those

periods of time, neither the defendant Les]

Holzer appeared..to.. have any..oth

        

 

checking accounts.

34, I am informed by Nick Cangro that both the defendant and Lesley Holzer regularly
wrote checks from their joint checking accounts at both Chase and Citibank, and that they both
appeared to pay their living expenses and personal bills from those accounts. These expenses
included mortgage payments for the house in-New City, rent for the apartment in Manhattan which
they shared, utilities for both addresses, and credit card bills. I am informed that a review of the
defendant and Lesley Holzer’s credit card bills show purchases such as jewelry, expensive family
vacations. cars, furs, designer clothing, high-end electronics, and furniture.

35. I have been informed by Nick Cangro of the information from here through
paragaraph 41, based on his review of the defendant and Lesley Holzer’s joint bank records and tax
returns.’ In 2002, the total deposits made to the defendant and Lesley Holzer’s joint checking
account at Chase bank was approximately $4,579,011.17, Of that sum, $4,345,000.00 came from
deposits made by Barry Fingerhut, one of the defendant's victims. In their joint federal tax return
for that year, however, the defendant and Lesley Holzer declared a total income of $144,403.00.
They then claimed $76,929.00 in deductions, and demanded a $21,395.00 refund.

36. In 2003, the total deposits made to the defendant and Lesley Holzer’s joint checking

account at Chase bank was approximately $1,971,592.62. Of that sum, $1,868,150.00 came from

deposits made by Barry Fingerhut. In their joint federal tax return for that year, however, the .

 

; Copies of the tax returns were obtained with subpoenas to the Holzers’ accountants, and are not copies
of the final, signed returns that were actually filed with the Internal Revenue Service.

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defendant and Lesley Holzer declared a total income of $1 07,239.00. They then claimed

$116,022.00 in deductions, and demanded a $6,641.00 refund,

37. | In 2004, the total de

account at Chase bank was approximately $2,606,237.58. Of that sum, $2,530,000.00 came from
deposits made by Barry Fingerhut. In their joint federal tax return for that year, however, the

| defendant and Lesley Holzer declared a total income of $115,542.00. They then claimed
$110,156.00 in deductions, and declared that they owed $304.00 in taxes,

38. In 2005, the total deposits made to the defendant and Lesley Holzer’s joint checking
account at Chase bank was approximately $4,329.298.68, Of that sum, $4,112,050.00 came from
deposits made by Barry Fingerhut and Heidi Rapillo. In their joint federal tax return for that year,
however, the defendant and Lesley Holzer declared a total income of -$496,515 (negative income),
based on an income of $52,795.00 and then by writing off $3,000.00 in capital losses and
$546,310.00 in business losses from Fingerhut Holzer Associates. On the Profit & Loss statement
attached to the defendant and Lesley Holzer’s taxes, they claimed that FH Associates earned $0.00
income in that year, They then demanded a refund of $1,619.00,

39. In 2006, the total deposits made to the defendant and Lesley Holzer’s joint checking
account at Chase bank was approximately $3,147,861.04. Of that sum, $2,844,000.00 came from
deposits made by Heidi Rapillo, Barry Fingerhut and Michael Zackman. In their joint federal tax
return for that year, however, the defendant and Lesley Holzer declared a total negative income of
$891,623.00. This was based on an income of $42,189.00, and then by writing off $3,000.00 in
capital losses, $408,161.00 in business losses from Fingerhut Holzer Associates, and a net operating

loss carryover of $522,651.00. They claimed a refund of $1,654.00,

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40, From January, 2007, through May, 2007, the total deposits made to the defendant
and Lesley Holzer’s joint checking account at Chase bank was approximately $883,038.55. Of that
sum, $641,333.33 came from deposits made by Michael Zackman. As. of May..29,..2007,..the
: alance in that checking account was $8,788.32. On May 30, 2007, the defendant wrote himself a
check for $33,600,000.00 and deposited it into the joint checking account he held with his wife, and
showed the deposit slip to Barry Fingerhut. However, on June 5, 2007, the bank stopped payment
on the check for insufficient funds, prompting the bank to subsequently close the account on June
15, 2007. The defendant and Lesley Holzer opened a joint Citibank checking account on June 14,
2007.

41, From May, 2007 through December 2007, of the approximately $812,047.89 that
was deposited into the Holzers’ joint checking account, $181,950.00 was deposited by Michael or
Barbara Zackman.* During that time, on November 29, 2007, the defendant wrote two checks to
Barry Fingerhut, one for $5,600,000.00 and one for $1,400,000.00. At that time, the defendant and
Lesley Holzer’s joint checking account contained a little more than $9,000.00. Both checks
bounced.° |

| 42, All of the money deposited into the defendant and Lesley Holzer’s joint checking
accounts by Fingerhut, the Zackmans, the Rapillos, and Barry Pessar were sent via wire transfer,
~ and therefore the source of those funds appeared directly on the joint bank statements. The bank

statements show an address of 10 Sky Drive in New City,

 

“ Much of the remaining deposits appear to have come from sales of personal items such as
jewelry and a car.

> The defendant’s accountant did not send copies of the Holzers’ 2007 tax returns, so those are
not examined here.

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43. It is clear from the defendant and Lesley Holzer’s joint bank statements that Lesley

Holzer obtained and spent a substantial portion of the proceeds of the defendant’s crimes.

 

 

WHEREFORE, I respectfully urge that plaintiffs application for a temporary

restraining order pending determination of the motion for a preliminary injunction be granted

together with such other and further relief as to this court may seem just and proper, and the costs of

this motion.

Dated: New York, New York
February (¥_, 2009

Winer K ee 9m

“ Investigator Shafnon Rowe

Sworn to before me

This _|¥' day of

Notary Public

MADELEINE GUILMAIN
Notary Public, State of New York
No, 02GU6181568
Qualified in Queens County
My Commission Expires 02/04/20 |\-

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BARRY FINGERHUT/DAVID HOLZER

Barry Fingerhut

 

 

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Professional: Co-Founder of Wheatley Partners (Currently a Partner)
Former President of GeoCapital LLC
Former Genera! Partner of Weiss, Peck & Greer
Formerly with First Manhattan Co.
President/Board Member of FEGS Health and Human Services; Board
Member of Achievement First; Board Member of Apollo International;
Board Member of Edufund International; Board Member of WeatherWise
USA

Overseer to the Stern School of Business at NYU

 

David Holzer

Date of Birth: 11/14/49
SSN: XXX-XX-XXXX
Address 1: 10 Sky Drive, New City, NY (owned)
Address 2: 50E. 78" Street, NY, NY (rented)
Education: BA, City College 1971
Professional: 1971 — 1975: Abraham & Co.

. 1975 — 2002: Brean Murray & Co.

Prior Legal Issues:

Brean Murray: Our research indicates that in 1982 Holzer was named head of the firm’s
Capital Markets group, and that he remained in that position until he left the firm in 2002.
Brean Murray was investigated by the SEC and by NY AG Spitzer in 2003 regarding
market timing/late trading issues during the period from 2001 to 2003 (regarding trades
made by the fifrit for its hedge fiinid’chénts): 11 2005, Brean Muiray settled with the SEC
regarding charges that the firm had placed thousands of abusive mutual fund trades for at
’ Jeast five hedge funds between 2001 and 2003; the firm paid a fine of $150K. A New
York Post article published on November 3, 2003, reported that in 2001 the firm had

formed a “special situations” group ‘“‘to help facilitate market timing for some of its hedge
fund clients.”

US Tax Court: Holzer and his wife Lesley filed a petition (docket number 7490-04)
against the Commissioner of Internal Revenue on May 4, 2004. A stipulated decision was

entered into the record on March 30, 2005. Further details about this decision were not
available online.

 

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38 THACHER
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Chronology

1980s/1990s Brean Murray/Holzer handle trades/clearing operations for firm(s) where
Fingerhut is employed, and Fingerhut and Holzer develop a business

 

2002 (1) Holzer informs Fingerhut that he has formed a partnership with two
other individuals (Jeffrey Schwartz, Chairman/CEO of Traffix Inc.; and
Danie] Katz, President/CEO Katz & Associates Corp.); Holzer tells
Fingerhut that the partnership is called Dellwood Partners, and that it has

been formed to make real estate investments in upstate New York
(Rockland County)

(2) Holzer asks Fingerhut if he would like to take a 1/2 interest in Holzer’s
1/3 interest in Dellwood; Fingerhut agrees; Fingerhut does not perform
any due diligence on Dellwood (i.e., he does not review the partnership
documents; he does not contact Schwartz or Katz)

(3) Holzer informs Fingerhut that Dellwood has identified a piece of
property in Haverstraw, NY to purchase; Fingerhut wires funds to
Holzer’s personal account to cover his 1/2 interest in Holzer’s 1/3 interest

(4) During 2002, Fingerhut sends 4 wires to Holzer’s personal account,
totaling $2,689,500; all wires have been sent at Holzer’s request based on
his representations regarding the properties allegedly purchased by
Dellwood

2003 Fingerhut sends 6 wires to Holzer’s personal account, totaling $1,868,150;
all wires have been sent at Holzer’s request based on his representations
regarding the properties allegedly purchased by Dellwood

2004 (1) Fingerhut sends 5 wires to Holzer’s personal account, totaling
$2,530,000; all wires have been sent at Holzer’s request based on his
representations regarding the properties allegedly purchased by Dell wood

(2) Holzer informs Fingerhut that the Haverstraw property is going to be
sold for approximately $99 million, and that their share of the proceeds
will be approximately $33 million

(3) Fingerhut and Holzer form Fingerhut/Holzer Partners (FH Partners) for
the purpose of investing the proceeds of their share of the sale of the
Haverstraw property (Fingerhut wil] identify the investments to be made
by FH Partners, and Fingerhut and Holzer will fund the investments 50-
50); FH Partners rents office space

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» THACHER |
> ASSOCIATES

 

(4) Holzer informs Fingerhut that the sale of the Haverstraw property has
been delayed

 

    
     

investments on behalf of FH Partners, funding his share and the bulk of
Holzer’s share out of his own pocket; during the next 3 years, Holzer will
fund some of the investments made by FH Partners out of his own pocket,
but the bulk of his share of the amounts invested will be “fronted” for him
by Fingerhut (Fingerhut “fronts” this money for Holzer based on Holzer’s
representations that he will use his share of the proceeds of the sale of the
Haverstraw property to repay Fingerhut for the amounts Fingerhut has
fronted for him)

2005 (1) Holzer continues to inform Fingerhut that the sale of the Haverstraw
properly has been delayed, but that the sale is definite and imminent;
Holzer provides various excuses for the delays, ranging from soil
remediation issues to the buyer not showing up at the closing with enough
cash

(2) Fingerhut sends 8 wires to Holzer’s personal account, and provides one
bank check to Holzer, totaling $3,318,750; the wires and bank check have
been provided at Holzer’s request based on his representations regarding
the properties allegedly purchased by Dellwood

(3) Based on Holzer’s representations that the sale of the Haverstraw
property is definite and imminent, Fingerhut continues to front money for
Holzer with respect to investments made by FH Partners

2006 (1) Based on Holzer’s representations that the sale of the Haverstraw
property is definite and imminent, Fingerhut continues to front money for
Holzer with respect to investments made by FH Partners

(2) Based on Holzer’s representations that the sale of the Haverstraw
property is definite and imminent, Fingerhut personally borrows $4.5

milhon from JPMorgan Chase to make two investments on behalf of FH
Partners

(3) Fingerhut sends 2 wires to Holzer’s personal account, totaling
$575,000; both wires have been sent at Holzer’s request based on his
representations regarding the properties allegedly purchased by Dell wood

2007 (1) (Winter) Fingerhut develops idea for a venture capital partnership
called Syncomium Partners; Adam Gumey, an Insh investor introduced to
Fingerhut by Holzer, reviews a draft PPM and is interested in investing in

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Syncomium; Gumey allegedly shows the PPM to Sheikh Mohammed bin
Rashid al Maktoum of Dubai, and the Sheikh is allegedly interested in
investing in Syncomium; various meetings/conference calls with Gumey
s). are cancelled at..the.last

   
 

 

 

McManus, have informed Fingerhut that they are prepared to invest $15
milion in Syncomium; (b) the Sheik and/or his business advisor(s) have
informed Fingerhut that the Sheikh and his brother are prepared to invest
$300 million; (c) Gumey, McManus, and the Sheikh have been provided
with all necessary documentation for the investment in Syncomium, but
have not yet signed the documents or wired the promised funds.)

(2) (Spring/Summer) Holzer informs Fingerhut that the sale of the
Haverstraw property has finally closed; Holzer shows Fingerhut a deposit
receipt from JPMorgan Chase showing a deposit of a check for $33
million into one of FH Partners’ accounts at the bank; Holzer tells
Fingerhut, however, that the funds have not yet cleared; Fingerhut calls
JPMorgan chase to find out when the funds will clear, and is told that (a)
the check was written on an account with insufficient funds to cover the
full amount of the check (the account on which the check was written had
approximately $40,000 to $50,000 in it); (b) the FH Partners account into
which the check was deposited has been frozen; and (c) the bank’s fraud
unit is launching an investigation into Holzer having deposited a phony
$33 million check

(3) (Spring/Summer) Fingerhut meets with attorney Howard Wilson of the
firm Proskauer Rose LLP to discuss whether Holzer’s kiting of the $33
million check, and JPMorgan Chase’s subsequent investigation, could
result in any criminal lability for Fingerhut

(4) (Spring/Summer) Holzer informs Fingerhut that the sale of the
Haverstraw property fell apart months ago; Holzer later informs Fingerhut
that new buyers have been found to purchase their 1/3 interest in the
Haverstraw property, and that the sale price for their 1/3 interest is $25
million (Holzer tells Fingerhut that the buyers are Alan Elkin, CEO of
Active International, and Arthur Wagner, President of Active International
{Wagner lives on the same street as Holzer, at 14 Sky Drive]); however,
the sale of their 1/3 share is continually delayed, with Holzer offering
multiple excuses for the delays

(5) (Spring/Summer) Fingerhut asks Holzer if the investments in

Syncomium to be made by Gumey, McManus and the Sheiks are real —
Holzer tells Fingerhut that they are real

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a7) THACHER
&” ASSOCIATES

 

(6) (Summer/Fall) Fingerhut hires Thacher Associates to look into Holzer
and Dellwood; Thacher determines that Dellwood does not exist and that
Holzer has been defrauding Fingerhut
(7) (October) 7Ohy Thacher and Lincoln Omston of Thacher Associates
j > artners;.Holzer..admits.to.them,.ar
subsequently to Fingerhut, that (a) Dellwood does not exist; (b) everything
he has told Fingerhut about Dellwood, including the alleged purchase of
the land in Haverstraw, was a lie; (c) he has used the funds provided by
Fingerhut for personal and business-related expenses, and that all of the
money has been spent; and (d)} neither Schwartz nor Katz were involved in
the scheme; Holzer further states that (i) he has only approximately 340K.
in his savings/checking account, and no brokerage accounts; (i}) his wife
and his children do not know that Dellwood is a fiction; (1H) he will
immediately obtain a second mortgage on his house and provide al]
proceeds to Fingerhut; (iv) he will attempt to find a way to pay back to
Fingerhut all of the money he has stolen; (v) he wil] provide Fingerhut and
Thacher Associates will all bank account statements for the previous 5
years so that Thacher can determine what happened to the funds provided
by Fingerhut to Holzer (which at that trme amounted to over £18 million)

7) (8) (October 3) Holzer and Fingerhut sign a Contingent Assignment of
ra Equity Interests Agreement, pursuant to which Holzer agrees that, if he
has not paid the sum of $6,970,300 to Fingerhut by October 15, he will (a)
a assign to Fingerhut all of his share of the investments made by FH
Partners (totaling $7,274,500); and (b) at Fingerhut’s request, resign from

FH Partners

(9} (October 9) Holzer signs a Secured Promissory Note, pursuant to
which he agrees to pay Fingerhut the sum of $7,603,800

(10) (October 15) Holzer signs a Notice of Resignation from Barry/David
Partners, LLC (Barry/David Partners was a vehicle formed by Fingerhut

and Holzer thal received carried interests in certain investments made by
FH Partners)

(11) (October/November) Hoizer tells Fingerhut that he has (a) obtained
all bank account statements for the past five years, and that he wil] provide
them to Fingerhut for review; (b) obtained a second mortgage from
Citibank in the amount of approximately $1.45 million; (c) obtained cash
from the sale of jewelry in the amount of approximately $560K; and (d)
obtained a job as a trader with Buzzy Geduld (formerly of Herzog, Heine
& Geduld), that Geduld has paid him an upfront bonus of $6 million, and
that he (Holzer) will immediately wire all of the funds listed above to
Fingerhut (totaling approximately $8 million)

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(12) (October/November) Holzer continues to tell Fingerhut that he will
wire approximately $8 million into Fingerhut’s account, and that he will
meet with Fingerhut to provide the bank statements; to date, no wires have

   
 

 

Amounts Stolen by Holzer

(1) Cash: $11,850,400

* Based on Holzer’s representations regarding properties allegedly purchased by
Dellwood Partners, between 2002 and 2006 Fingerhut wired $10,981,400 to
Holzer

* Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, Fingerhut loaned Holzer an amount
equa] to $869,000 (Holzer informed Fingerhut that this amount was needed by
Brean Murray for a capital call; Holzer later admitted to Thacher, Ornston, and
Fingerhut that no such capital call was made, and that Holzer hed to Fingerhut to
obtain these funds)

(2) Other Amounts: $10,284,968

® Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, between 2004 and 2007 Fingerhut
“fronted” $7,274,500 for Holzer to cover investments made by FH Partners

* Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, between 2004 and 2007 Fingerhut
covered Holzer’s share of the overhead expenses incurred by FH Partners; such
share was equal to $330,468

# Based on Holzer’s representations regarding the sale of the Haverstraw property -
allegedly purchased by Dellwood Partners, Fingerhut fronted an additional

£430,000 on behalf of Holzer in connection with a real estate investment made by
FH Partners

* Based on Holzer’s representations regarding the sale of the Haverstraw property
allegedly purchased by Dellwood Partners, and with Holzer’s full knowledge,
Fingerhut personally took out a $4,500,000 million loan from JPMorgan Chase in
order to make additional investments on behalf of FH Partners; Holzer’s share of
this loan amount was $2,250,000

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TOTAL: $22,135,368

(3) Interest on Cash Payments and Other Amounts: $2,570,548

 

TOTAL: $24,705,916...

   

(4) After the fraud became known, Holzer assigned to Fingerhut his interest in the
investments made by FH Partners; the amount of this assignment totaled: $8,997,502

NET AMOUNT OWED TO FINGERHUT: $15,708,415

 

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330 WEST 42ND STREET, 23"° FLOOR
NEW YorK, NY 10036
PHONE: (212) 845-7500

Fax: (212) 845-7549

 

 

 

MEMORANDUM

To: XXXKXXKKRAK
FROM: LINCOLN ORNSTON
SUBJECT: DAVID M. HOLZER
DATE: AKKKRXKX

This memorandum summarizes the results of public record research conducted by Thacher
Associates, LLC (“Thacher Associates”), pursuant to your request, regarding David M.
Holzer. Our research included online searches for records of Mr. Holzer’s personal
identifiers and reported addresses, general background information, corporate affiliations,
professional licenses, litigation and bankruptcy filings, US Tax Court filings, US Securities
and Exchange Commission (“SEC”) filings, criminal records, asset ownership, Uniform
Commercial Code (“UCC”) filings, lien and judgment filings and Internet and media
accounts.

Please note that electronic database research includes only those jurisdictions that are
available online, rather than every jurisdiction in which public records may be filed. Please
note also that the date coverage of available online records varies considerably from one
jurisdiction to another, and may not always include relevant time periods.

Our research was focused on the jurisdictions in which Mr. Holzer has reportedly lived
and/or worked, namely the State of New York and New Jersey. We also conducted online
civil litigation, lien, judgment, Internet and media research for Mr. Holzer’s previous
employer, Brean Murray & Company as well as two (2) affiliates, Vcampus Corporation
and Vion Pharmaceuticals.

It should also be noted that Brean Murray & Company is also affiliated with Brean-
Murray, Foster Securities Inc., (Mr. Holzer is listed in the corporate records for this entity
name) and Brean-Murray Inc. Due to a merger after Mr. Holzer left the company in 2002
they are also know as Brean-Murray, Carret & Co, LLC. Our online research encompassed
all entity names which we reference as “Brean Murray.”

 

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The information contained in this report is based upon data obtained from a number of government and other public and private sources.
Thacher Associates, LLC assumes no responsibility for the accuracy or completeness of the information from its sources, for errors
occurring in data transmission or conversion, or in any respect for losses or damages resulting from use of this information.

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EXECUTIVE SUMMARY

 

       

Professional Background
According to the information provided to Thacher Associates, Mr. Holzer worked at
Abraham & Co. from 1971-1975 as a proprietary trader after earning a Bachelor of Arts
from -City College. In 1975, Mr. Holzer joined Brean-Murray as head of proprietary

trading and was promoted to the head of capital markets in 1982. He worked as the head of
capital markets until 2002 and joined your partnership in 2004.

Media — Brean Murray

An online review of media identified that Mr. Holzer’s previous employer, Brean Murray,
was investigated by the Securities and Exchange Commission (“SEC”) for improper
mutual fund trading practices as wel] Eliot Spitzer when he was Attorney General for New
York State. Specifically, the New York Post reported on November 3, 2003, that the SEC
subpoenaed Brean Murray for documents providing information about hedge funds, mutual
funds, and brokerage firms — including Bank of America, Lehman Brothers and Bear
Stearns Securities Corp. The article further notes that while Mr. Holzer was still there,
“Brean Murray formed a ‘special situations’ group in 2001 to help facilitate market timing
for some of its hedge fund clients, say people familiar with the company.”

According to an article published by TheStreet.com on February 17, 2005, Brean-Murray
settled charges issued by the SEC that they “placed thousands of abusive mutual fund
trades for at least five (5) hedge funds between 200] and 2003.” The article further reports
that the SEC contended brokers at Brean Murray engaged in both market-timing and late
trading on behalf of their hedge fund customers. Hence, Brean Murray was fined $150,000
to settle the SEC’s enforcement action.

Although Mr. Holzer was not personally implicated in the activities referenced above, he
was still with Brean Murray in 2001 and therefore potentially aware of activities that took
place.

Please refer to the section of this report herein entitled Media and Internet for a more
detailed summary.

Litigation — David Holzer

An online review of available civil filings in the State of New York and New Jersey
identified six (6) cases filed between June 1991 and March 1994 naming Mr. Holzer as a
defendant. Please refer to the section of this report herein entitled State and Local Court —
David Holzer for a more detailed summary.

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US Tax Court

    

| Tax Court records identified the following petition pertaining to

» David and- Lesley Holzer filed a petition (docket number 7490-04) against the
Commissioner of Internal Revenue on May~4, 2004. A stipulated decision was
entered into the record on March 30, 2005. Further details about this decision were
not available online.

UCC Filings Judgments & Liens

An online review of UCC, judgments and lien filings in New York State and New Jersey
identified seven (7) judgments and liens naming Mr. Holzer as a debtor between May 199]
and March 1994. Please refer to the section of this report herein entitled UCC Filings,
Judgments and Liens — David Holzer for a more detailed summary. Se

FINDINGS
Personal Identifiers
Name: . David M. Holzer
Date of Birth: November 14, 1949

Social Security No.: XXX-XX-XXXX (issued in the State of New York between and 1966)

Mr. Holzer currently resides at 10 Sky Drive, New City, New York 10965 (Rockland
County).

The addresses set forth below have also been reported for Mr. Holzer. These addresses
may include properties which Mr. Holzer may have rented or owned, in which he may
have temporarily resided, or with which he may have had some other association (e.g., Mr.
Holzer may have used such addresses on credit applications or other documents, and the
information included on such applications or other documents may have eventually been
listed in an electronic database).

The following addresses in New York have been reported for Mr. Holzer:
= 22 Georgetown Oval, New City, New York 10956 (Rockland County)

= 231 Tenafly Road, Englewood, New Jersey 07631 (Bergen County)
= 3555 Oxford Avenue, Bronx, New York (Bronx County)

 

' The primary purpose of identifying these addresses is to determine the various jurisdictions in which
criminal and litigation research must be conducted.

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Criminal Records

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A review of electronically available criminal records conducted with the District of New
Jersey and the Southern District of New York did not identify any records pertaining to
Mr. Holzer. .

State Court - New York

A review of electronically available criminal records conducted with the New York State
Office of Court Administration did not identify any records pertaining to Mr. Holzer.

State Court — New Jersey

A review of electronically available criminal records conducted with the New Jersey State
Police is currently pending and we will forward the results upon receipt. We also
conducted an online of New Jersey Superior Court conviction records covering the period
of January 2, 1997 through February 8, 2007 and no records pertaining to Mr. Holzer were
identified.

National Criminal Index’

A search of the National Criminal Index did not identify any records with respect to Mr.
Holzer.

State and Federal Inmate Databases

Searches of online inmate databases maintained by New York State, the City of New York,
New Jersey and the Federal Bureau of Prisons did not identify any records with respect to
Mr. Holzer.’

Business Affiliations

Searches of business databases, corporate filings and Internet sources identified the
following entities related to Mr. Holzer:

 

?The National Criminal Index is a database of over 50 million criminal records, including felony,
misdemeanor, and inmate records, from databases maintained by states and counties throughout the
United States.

3 The Federal Bureau of Prison’s innate locater database contains information on all federal inmates
presently or previously incarcerated since 1982.

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» Brean Murray, Foster Securities, Inc. This is an mactive entity that was
incorporated in Delaware on August 28, 1978 and withdrew their active status on
December 11, 1987. Mr. Holzer is listed in the corporate records as an officer.

             

Vcampus Corporation This is an active e ed in Delaware
on March 20, 1985. This is a public company and according to a Form 10-K/A filed
with the Securities and Exchange Commission on December 31, 2006, Mr. Holzer
is “one of our largest beneficial shareholders” owning at least ten percent (10%) of
their stock. Mr. Holzer, pursuant to Section 16(a) of the Exchange Act, filed Form
3 on December 5, 2006, as required by individuals owning ten percent (10%) or
more of common stock.

* Vion Pharmaceuticals, Ine. This is an active entity that was incorporated im
Delaware on April 20, 1995. According to his credit header data, Mr. Holzer has an
unidentified relationship with this firm.

Litigation
Federal Court — David Holzer

A review of electronically available civil filings in the District of New Jersey and Southern
District of New York did not identify any records pertaining to Mr. Holzer.

Federal Court - Brean Murray

A review of electronically available civil filings nationwide for Brean, Murray identified
approximately forty (40) Securities Commodities actions naming the Brean Murray
companies as a defendant. Over thirty (30) of these matters were filed between December
2003 and July 2004. These cases could possibly pertain to the Securities Exchange
Commission investigating Brean Murray for improper mutual trading practices in 2003.
Brean Murray ultimately settled with the SEC in February 2005. Eliot Sptizer, at the time
New York State’s Attorney General, also investigated the Brean Murray. Further details
about these investigations are provided in the Media and Internet section of this report.

Federal Court ~- Vcampus Corporation

A review of electronically available civil filings nationwide identified the following case
naming Vcampus Corporation as a party:

e Techsearch LLC vs. Eschool.com Inc. and Vcampus Corp, case number 4:01-cy-
00126, a patent infringement suit filed with the United States District Court for the
Southern District of Texas on January 12, 2001. The defendants filed counter-
claims and a stipulation of dismissal without prejudice was entered into the record
on May 7, 2002, closing the case.

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Federal Court — Vion Pharmaceuticals

 

le civil filings nationwide did not identify any matters
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State and Local Court — David Holzer

A review of electronically available civil filings in the State of New York and New Jersey
identified the cases summarized below as pertaining to Mr. Holzer::

" Bank of New York (Harrison) vs. David and Lesley Holzer, case number
0067651993. A civil suit filed with the Supreme Court for Civil Suits for Rockland
County, New York on March 8, 1994. This matter was also disposed with a pre-
note and settled on March 8, 1994.

= Norma Grossman vs. Across America Leasing, Aleet Leasing Corp. All Island
Leasing, All Metro Car Leasing Inc., Citbank, Foster Securities, Inc., David M.
Holzer, Maguire Brokerage, Murray Brean, North American Insurance Co.,
Philadelphia Insurance Co. and Royal Insurance Co., case number 12102593. A
civil suit filed with the Supreme Court for Civil Suits for New York County, New
York on January 20, 1994. Further details regarding the status of this matter were
not available online.

» Federated Dept. Store Inc. vs. David M. Holzer, case number 00002574392. A
$829 civil summons filed with the Civil Summons Civil Court of the City of New
York on July 16, 1992. Further details regarding the status of the matter wee not
available online.

= Norman Grossman vs. David M. Holzer, et al., case number 03033592. A civil suit —
filed on November 6, 1992 with the Supreme Court for Civil Suits in New York
County, New York. Further details regarding the status of this matter were not
available online.

» Citibank, N.A. vs. David Holzer, et al., case number 0084041991. A civil suit filed
on March 18, 1992 with the Supreme Court for Civil Suits for Rockland County,

New York. This matter was disposed with a pre-note and settled on March 18,
1992.

« Fred Marcus Inc. vs. David Holzer, case number 00002915391. A $2,894 civil
summons filed with the Civil Summons Civil Court of the City of New York on
June 19, 1991. Further details regarding the status of this matter were not available
online.

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State Court - Brean Murray

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Brean Murray compani
State Court — Vcampus Corporation

A teview of available electronic civil filings in state courts nationwide identified the
following matters pertaining to Vcampus Corporation:

Gerri Knilans vs. Veampus Corporation, case number SC-032820, a civil case filed with
Ventura County California Superior Court on May 15, 2002. Further details about the
status of this matter were not available online.

Sage Interactive vs. Vcampus Corporation, case number SCV-308527, a civil suit filed
with San Francisco County California Superior Court on December 14, 1999. Further
details about the status of this matter were not available online.

State Court ~Vion Pharmaceuticals

A review of available electronic civil filings in state courts nationwide did not identify any
matters naming Vion Pharmaceuticals as a party.

Bankruptcy Filings

* A review of electronically available bankruptcy filings nationwide did not identify
any records naming David M. Holzer, Social Security Number XXX-XX-XXXX, as the
subject of a bankruptcy matter.

US Tax Court

‘A search of US Federal Tax Court records for petitions/trials involving tax disputes with
the Internal Revenue Service identified the following proceeding involving Mr. Holzer:

» David and Lesley Holzer filed a petition (docket number 7490-04) against the
Commissioner of Internal Revenue on May 4, 2004. A stipulated decision was
entered into the record on March 30, 2005. Further details about this decision were
not available online.

UCC Filings, Judgments and Liens — David Holzer

A review of electronically available UCC filings, judgments and liens in the State of New
York and New Jersey identified following records pertaining to Mr. Holzer.

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" David Holzer is named the debtor to the Bank of New York in a $7,221] judgment
filed on March 22, 1994 in Rockland County, New York. This matter was satisfied
on February 20, 1998.

 

  

David Holzer is named the debtor to Bloomingdales in a $989 judgment filed on
April 7, 1993 in New York County, New York. This matter was satisfied on
October 7, 1988.

« David Holzer is named the debtor to Ma)liouhana EC LTD. in a $8,117 judgment
filed in Rockland County, New York on August 19, 1993. This matter was satisfied
on October 19, 1994.

* David Holzer is named the debtor to Fred Marcus Inc. in a $2,410 judgment filed in
New York County, New York on May 1, 1992. Further details about the status of
this matter were not available online.

* David Holzer is named the debtor to G E Capital Corp. in a $2,169 judgment filed
in Rockland County, New York on February 19, 1992. This matter was satisfied on
May 6, 1994.

= David Holzer is named the debtor to the New York State Tax Commission in a
$32,989 judgment filed in Rockland County, New York on May 7, 1991. This
matter was satisfied on June 16, 1994.

* David Holzer is named the debtor to the New York State Tax Commission in a
$4,629 judgment filed in Rockland County, New York on May 7, 1991. This matter
was satisfied on March 12, 1997.

UCC Filings, Judgments and Liens — Brean Murray

A review of electronically available UCC filings, judgments and liens in the State of New
York identified over 100 UCC filings naming Brean Murray as the debtor, Also identified
were two (2) matters naming Brean Murray as creditors including a $945,000 judgment
against their former broker Lorne Caplan who is referenced in the media section.

UCC Filings, Judgments and Liens ~ Vcampus Corporation

A review of electronically available UCC filings, judgments and liens nationwide

identified approximately twenty-eight (28) UCC filings and eight (8) judgments naming
Vcampus Corporation as a debtor.

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UCC Filings, Judgments and Liens — Vion Pharmaceuticals

 

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Regulatory and Administrative Actions
Office of Foreign Assets Control

The Office of Foreign Assets Control (“OFAC”) administers a series of Jaws that impose

economic sanctions against hostile targets to further US foreign policy and national

security objectives. Management of these sanctions is entrusted to the Secretary of the

Treasury. OFAC is responsible for promulgating, developing, and administering the .
sanctions for the Secretary under eight basic statutes,’ and all of the bank regulatory

agencies cooperate in ensuring financial institution compliance with the Regulations.

The Jaws and regulations administered by OFAC apply to all American citizens and
permanent resident aliens wherever they are located; individuals and entities located in the
United States (including all foreign branches, agencies, rep offices, etc.); corporations
organized under US Jaw, including foreign branches; and entities owned or controlled by
any of the above, the most important being foreign-organized subsidiaries of US
corporations.

OFAC promulgates and regularly updates a list of those individuals and entities that the
US government has determined are threats to US national security and interests. This list is
entitled “Specially Designated Nationals and Blocked Persons.” The list comprises
individuals and entities, which are owned or controlled by, or acting for or on behalf of, the
Governments of target countries or are associated with international narcotics trafficking or
terrorism. These individuals and entities are listed on the Treasury Department’s Specially
Designated Nationals and Blocked Persons list so that persons subject to the jurisdiction of
the United States will know that they are prohibited from dealing with them and that they

 

‘Trading With the Enemy Act, 50 U.S.C. App. §§ I-44 (‘TWEA”) [North Korea, Cuba, Transaction
Control Regulations]; International Emergency Economic Powers Act, 50 U.S.C. §§1701-06 (“IEEPA”)
[Libya, Iraq, Serbia & Montenegro and Bosnia, UNITA, Sierra Leone, Liberia, Sudan, Iran, the Balkans,
Terrorism, Narcotics, Nonproliferation, the Taliban and Burma]; Iraqi Sanctions Act, Pub.L. 101-513,
104 Stat. 2047-55 (“ISA”) [Iraq]; United Nations Participation Act, 22 U.S.C. § 287¢ (“UNPA”) [Iraq,
Libya (part), UNITA, Serbia & Montenegro, Sierra Leone, and Liberia]; International Security and
Development Cooperation Act (“ISDCA”) codified at 22 U.SC 2349 aa-9 (Iran); The Cuban Democracy
Act (“CDA”), 22 U.S.C. § 6001-10 [relating to Cuba]; The Cuban Liberty and Democratic Solidarity
(LIBERTAD) Act, 22 U.S.C. 6021-91, [relating to Cuba]; The Antiterrorism and Effective Death Penalty
Act, (enacting 8 U.S.C. 219, 18 U.S.C. 2332d and 18 U.S.C. 2339b) [Cuba, North Korea, Iran, Iraq, Libya,
Syria and Sudan]; The Foreign Narcotics Kingpin Designation Act, Pub L. No. 106-120, tit. VINE, 113 Stat -
1606, 1626-1636 (1999) (to be codified at 21 U.S.C. §§1901-1908) and; The Criminal Code at 18 U.S.C. §
1001. .

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must block all property within their possession or control in which these individuals and
entities have an interest.

 

 

   

Mr..Holzer.is.notJisted.on-OFAC’s. Specially. Designated. Nationals-and:Blocked-Persons
list.

 

SEC Records

An online search was performed for any SEC records referencing Mr. Holzer, including,
but not limited to, Forms 3, 4 and 5, Schedule 13D and Schedule 13G.° Online research
identified numerous references to Mr. Holzer pertaining to his status as a beneficial stock
holder for Vcampus Corp. We reference the most recent filing in the corporate affiliations
section above.

National Association of Securities Dealers

Online searches were conducted with the National Association of Securities Dealers
(“NASD”) for any information pertaining to Mr. Holzer. No records relating to Mr. Holzer,
including registrations and/or disclosure events, are currently on file with the NASD.

National Futures Association

Inquiries conducted with the National Futures Association (“NFA”) for information
pertaining to Mr. Holzer identified that he became a. member of NFA on August 20, 1984.
Mr. Holzer’s status as an active member was withdrawn on August 31, 1985. Jt should also
be noted, there are no NFA or Commodity Futures Trade Commission (“CFTC”)
regulatory actions or reparations cases, or NFA arbitration awards, reported for Mr. Holzer.

Asset Ownership

A review of Mortgage, Deed Transfer and Tax Assessor records in the State of New York
and New Jersey identified the following property records pertaining to Mr. Holzer:

" 10 Sky Drive, New City, New York 10956. This property, a single-family
residence, was purchased by David and Lesley Holzer on March J, 1999 for
$350,000 from URARN Associates. According to the Tax Assessor’s Office of
New City, New York, the 2007 total assessed value for this property is $467,800.

 

* Forms 3, 4 and § disclose directors, officers or owners of more than ten percent (10%) of a class of
equity securities (initial filing, changes and annual reports, respectively); Schedule 13D discloses
beneficial ownership (i.e. voting or investment power) of individuals who have acquired more than five
percent ($%) of certain registered equity securities; and Schedule 13G discloses passive investors (ie.,
those who own less than twenty percent (20%) of the class of securities and do not seek to influence
control of the issuer).

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Driver Records

Searches.conducted..with
Mro Holzer has°a-valid’Cl
2010.

Professional Licenses

Inquiries conducted with the New York State Division of Licensing Services as well as the
New Jersey Department of Consumer Affairs did not identify any professional license
records with respect to Mr. Holzer.

US Patents and Trademarks

Searches of the US Patent and Trademark Office’s online database were performed for any
patents, patent applications and trademarks held by Mr. Holzer. No records were identified,

Media and Internet

A comprehensive media review, consisting of over 30,000 print, radio, television and
Internet sources, identified the following article pertaining to Mr. Holzer:

e The New York Times. November 9, 2001 (See Exhibit One). An article entitled,
“Shares Are Mixed Despite An Early Boost From Europe,” quoted Mr. Hozler in
his professional capacity at Brean Murray as saying, “You're gong to see a
cumulative effect of rate cuts, and ] think you're going to see a huge rally into the
end of the year. There’s no return in bonds, C.D.’s are yielding under two percent
(2%), and investors have to switch to the equity market. Money managers are going
to get fired if they sit on cash.”

A similar review of the Brean Murray companies identified the following articles of
interest:

e The Associated Press. May 16, 2006 (See Exhibit Two). An article entitled,
“Stamford Man Gets Three (3) Years In Federal Prison For Defrauding Investors,”
reports that a former investment named Lore Caplan banker who worked for
Brean Murray Carteret & Co., LLC was sentenced to three (3) years in prison for
cheating investors. According to the article, Mr. Caplan pleaded guilty to wire
fraud and admitted he improperly took $990,000 in investor funds for his own use.

e Newsday. May 14, 2005 (See Exhibit Three). An article entitled, “Former Hedge
Fund Manager Testifies At Bank Broker’s Trial,” reports that former hedge fund
manager for Canary Capital Partners LLC testified he was told by two (2) people at
Brean Murray that a reputable law firm named LeBouef, Lamb, Greene and
MacRae advised late trading was Jegal. Its possible Mr. Stern was told this prior to

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Mr. Hozler’s leaving Brean Murray in 2002. According to the article, Mr. Stern’s
late trading was a catalyst for a sweeping investigation of the mutual fund industry.

 

 

      

     

TheStreet com. February 17;°2005° (See Exhibit Four): “An “article “entitled; ~
“Brokerage Brean Murray Settles Market-Timing Case,” reports that Brean Murray
settled charges issued from the SEC that they “placed thousands of abusive mutual

- fund trades fro at least five (5) hedge funds between 2001 and 2003.” According to
the article, the SEC contended that brokers at Brean Murray engaged in both
market-timing and late trading on behalf of their hedge fund customers which

included Canary Capital Partners. Brean Murray was fined $150,000 to settle the

SEC’s enforcement action.

- The article further reports that in September 2004, two (2) former Brean Murray
brokers alleged that a lawyer had given them faulty advice it was OK to engage in
late trading through Brean Murray’s trading platform.

Harold McGuire, Brean Murray’s attorney and a partner with Entwistle &
Cappucci said that, “The fact of the matter is there isn't anyone left at Brean
Murray who has significant knowledge of these activities.” One (1) of those people
may be Mr. Hozler who was a high ranking person at this small brokerage firm.

e The New York Post. November 3, 2003 (Exhibit Five). An article entitled, A
Broader View In Brean Murray Request, SEC Eyes Lehman, BOFA,” reports that
the SEC subpoenaed Brean Murray in their ongoing investigation of improper
mutual fund trading practices. According to the article,

“New York Attorney General Eliot Spitzer is also looking at the firm say people
familiar with his investigation into whether funds allowed select clients to buy and
sell shares at prices not available to most investors.

The SEC subpoena requests that Brean Murray, a small brokerage house based in
Midtown, provide all information related to a number of hedge funds, mutual funds
and brokerage firms — including Bank of America, Lehman Brothers and Bear —
Stearns Securities Corp.”

The article further reports that, “Brean Murray formed a ‘special situations’ group
in 200! to help facilitate market timing for some of its hedge fund clients, say
people familiar with the company.”

It should be noted that Mr. Holzer was still with Brean Murray in 2001 and
therefore potentially aware of the activities referenced above. However, Mr. Holzer

is not implicated personally in this article or any of the others referenced in the
previous bullet points.

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A similar media review identified numerous references to Vcampus Corporation but no
articles appeared to be integrity related. There were no articles identified for Vion

 

   
 

 

        

   

    

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Exhibit One

 

Source:.Lexis-Nexis

         

   

The New York Times _
November’9, 2001 Friday
Late Edition - Final

THE MARKETS: STOCKS & BONDS;
Shares Are Mixed Despite an Early Boost From Europe

BYLINE: By Reuters
SECTION: Section C; Column 3; Business/Financia]l Desk; Pg. 6

LENGTH: 544 words

Blue-chip stocks ended with modest gains yesterday while technology stocks slipped as
the market ran into a wall of profit taking after a big rally built on interest rate cuts by
European central banks.

Stocks also slid after the Oct. 2 minutes of the Federal Reserve's panel that sets
interest rate said the Sept. 1] attacks could worsen the buildup of inventory -- a persistent
problem for technology companies -- and that its current rate-cutting could be reversed if
the economy expanded too quickly.

Investors remained uncertain, with signs of an expected recovery still absent and
corporate profits in dismal shape. The Nasdaq composite index has also risen 28 percent
since it hit a three-year low on Sept. 21, a move that has prompted some investors to lock
in profits, analysts'said.

"Now we're just getting some normal profit taking and pullback after a big move," said
James Volk, co-director of institutional trading at D. A. Davidson & Company. "There are
still a number of people who are skeptical, including myself, as to when and to what extent
this economy is going to turn around.”

The technology-heavy Nasdaq composite index, which at one point had climbed 2.8
percent, ended with a loss of 9.76 points, or 0.5 percent, at 1,827.77. The Dow Jones
industrial average rose 33.15 points, or 0.4 percent, at 9,587.52. The broader Standard &
Poor's 500-stock index rose 2.74 points, or 0.3 percent, to 1,118.54.

American stocks initially bolted higher after the European Central Bank and the Bank
of England cut rates by a surprisingly hefty half a percentage point. The reductions came
on the heels of a similar cut by the Federal Reserve on Tuesday.

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"To really combat recession and recessionary pressures here at home, we need to see
the rest of the world firm up a little bit," said Charles Payne, an analyst at Wall Street
Strategies..."The.interest.rate.cut.by.the.E.C.B,.caught eople.off.guard.i

 

 
  

                   

At the Dow's high of the day ~- up almost 170 points -- the blue-chip index had erased
all of the steep loss it made after the Sept. 11 attacks on the Pentagon and the World Trade
Center sent the market tumbling. The Nasdaq and S.& P. 500 have already clawed back
from their post-attack losses as investors looked past the bleak economic environment and
bet on a comeback.

"You're going to see a cumulative effect of rate cuts, and J think you're going to see a
huge rally into the end of the year," said David Holzer, managing director of trading at
Brean Murray & Company. "There's no retum in bonds, C.D.'s are yielding under 2
percent, and investors have to switch to the equity market. Money managers are going to
get fired if they sit on cash." --------------------

Treasuries Are Lower
By Bloomberg News

Treasury bond prices fell yesterday as a decline in jobless claims and interest rate cuts
by European central banks signaled the United States economy could rebound sooner than
originally thought.

The 10-year Treasury note fell 22/32, to a price of 105 21/32. The note's yield, which
moves in the opposite direction from the price, rose to 4.28 percent from 4.22 percent on
Wednesday. The price of the 30-year Treasury bond fel] 1 7/32, to 107 30/32. The bond's
yield rose to 4.86 percent from 4.79 percent on Wednesday.

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Exhibit Two

 

 
   

 

May 16, 2006 Tuesday 2:01 AM GMT
Stamford man gets 3 years in federal prison for defrauding investors
SECTION: STATE AND REGIONAL

LENGTH: 266 words

DATELINE: NEW YORK

A former investment banker who was sentenced Monday to three years and a month in
prison deserved no leniency because he "had everything going for him" when he cheated
investors, a judge said.

Lome Caplan, of Stamford, Conn., apologized to U.S. District Judge Shira Scheindlin
for hurting his family and investors. He had pleaded guilty to wire fraud, admitting he
improperly took $990,000 in investor funds for his own use.

The judge said she wanted to send a message that those who commit white-collar
crimes will be punished severely.

"This was completely a person of privilege who made his own bed," she said. "This
man had everything going for him."

The judge said Caplan, who worked at Brean Murray, Carret & Co. LLC, stole from
at least seven investors in response to a financial crisis he caused himself by spending far
more than he earned. She said such crimes sometimes leave investors shattered.

"It's not a violent crime, but it destroys lives just the same," she said.

She ordered Caplan, 41, to pay back $945,000. She said the government can pursue
any assets Caplan might have or he can pay it off through 10 percent of his salary for 20
years after he gets out of prison. ,

Caplan from June 2001 to January 2002 arranged the transfer of client funds to his
accounts in New York, Florida and Holland, prosecutors said. Clients who had planned to
invest in a medical equipment company had their funds diverted.

He provided New York-based Brean Murray with three phony letters purportedly
signed by the chief executive of the medical equipment company authorizing the transfers,
prosecutors said.

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Exhibit Three

Source: Lexi

 

Newsday
May 14, 2005, Saturday

‘Former hedge fund manager testifies at bank broker's trial
BYLINE: By Susan Harrigan

LENGTH: 512 words

A former hedge fund manager whose late trading of mutual funds set off a sweeping
investigation of the mutual fund industry said yesterday that he "felt uncomfortable" with
the practice, and that "in retrospect it was unfair.”

Edward Stern, who managed the hedge fund Canary Capita] Partners Llc, testified as a
government witness at the trial of a former Bank of America broker, Theodore Sihpol IU.

It was the first time Stern has spoken publicly about his 2003 settlement of charges of
abusive trading brought by New York State Attorney General Eliot Spitzer, who went on
to extract more than $ 3 billion in settlements from mutual funds he accused of abetting
such practices.

Siphol is charged with larceny, securities fraud and falsifying business records. He
faces up to 30 years in prison if he's convicted and a fine of $ 200,000.

Dressed in a dark gray suit and blue shirt and speaking slowly, Stern, a son of
billionaire publisher, rea] estate and pet-food magnate Leonard Stern, said he placed trades
through Sihpol after the 4 p.m. market close because "my job was to get the least amount
of risk for the most amount of gain."

Sihpol's attorneys are contending that Sihpol's actions were known and approved by
higher-ups at Bank of America, but are also trying to show that late trading isn't illegal. In
an answer that the presiding judge cautioned the jury would constitute "hearsay," Stern
answered "yes" when asked by defense lawyer Paul Shechtman if he had been told that a
"reputable" law firm had issued a legal opinion that late trading was lawful.

Stern said that information had come from two people at Brean Murray, another
brokerage that traded mutual funds for him, and he believed the name of the Jaw firm was
LeBoeuf.

In an interview, Steven Davis, chairman of LeBoeuf, Lamb, Greene and MacRae, said,
"We emphatically deny that LeBoeuf ever issued an opinion on this point, and we have a

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feeling that it may be a case of mistaken identity.” Don Fletcher, senior vice president of
Brean Murray, declined to comment. Both firms are based in Manhattan.

 

 

  
  
 

 

      

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and chief executive. The two "just talked about the economy," rather than about
business with the bank, he said. Robert Stickler, a spokesman for Bank of America, said
"we don't discuss customer relationships," but that a meeting between Lewis and a

customer would have been "quite common.”

  

In 2004, Bank of America settled charges with Spitzer and federal regulators for $ 675
million. Neither the bank nor Stern, who paid $ 40 million to settle in 2003, admitted or
denied wrongdoing.

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Exhibit Four

 

 

 

TheStreet.com

TheStreet.com

February 17, 2005 Thursday

Brokerage Brean Murray Settles Market-Timing Case
BYLINE: By Matthew Goldstein, Senior Writer
SECTION: MARKETS; Matthew Goldstein

LENGTH: 674 words

Brean Murray settled Securities and Exchange Commission charges Thursday that the
small New York brokerage placed thousands of abusive mutual fund trades for at Jeast five
hedge funds between 2001 and 2003.

The SEC contends that brokers at Brean engaged in both market-timing and late
trading on behalf of their hedge fund customers, which included Canary Capital Partners.
Brean will pay $150,000 to settle the enforcement action, according to an SEC
administrative order.

The administrative order also places blame on the clearing firm that permitted the late
trading to occur, saying it also violated federal securities laws because of Brean's wrongful
trading. The order doesn't identify the clearing firm by name, but people familiar with the
investigation say it is Bear Stearns (BSC:NYSE).

In a civil lawsuit filed in September, two former Brean brokers alleged that a lawyer
had given them faulty advice in telling them it was OK to engage in late trading through
Bear's clearing platform. The two brokers, Ryan Goldberg and Michael Grady, who are
stil] being investigated by the SEC and New York Attorney General Eliot Spitzer, claimed
the lawyer had committed malpractice.

The brokers were not charged in the SEC action against Brean. In the civil lawsuit,
Goldberg and Grady identified Canary, Veras Investment Partners and Tewksbury Capital,
formerly called Trout Trading, as their customers.

Market-timing, or frequent trading of mutual fund shares, is legal, but it is prohibited
under most mutual fund prospectuses because it can dilute the value of a portfolio's
holdings. Late trading is the buying or selling of mutual fund shares after their 4 p.m.
closing price, in order to take advantage of late-breaking or market-moving news.

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Regulators and prosecutors say late trading is an illegal practice, and a number of offenders
are facing criminal charges.

 

 

   

oo The. SEC notified Bear-last June.that it-is-considering-filing.civil-charges-against:-the~
firm's big clearing operation. Regulators believe Bear processed and financed abusive
mutual fund trades for dozens of hedge funds and small brokerages.

Earlier this week, TheStreet.com reported that the SEC recently notified three former
Bear brokers and Peter R. Murphy, a senior managing director, that they too could face
civil charges for assisting hedge funds engaged in abusive trading of mutual fund shares,
Murphy is one of the highest-ranking executives in Bear's big clearing and operations
division.

Earlier Thursday, Bloomberg reported that Vincent Dicks, a top manager in Bear's
private client group, also received a so-called Wells notice from the SEC. Bloomberg also
reported the SEC was on the verge of settling with Brean.

People familiar with the investigation say at least one other current Bear employee has
been informed he could be facing a possible enforcement action and additional Wells
notices may be forthcoming.

A Bear spokeswoman said the brokerage has been cooperating with the SEC.

"Bear Stearns has taken significant action since the onset of the industrywide mutual
fund investigation," said the spokeswoman, Elizabeth Ventura. "Under the auspices of the
audit committee of the board of directors, we conducted an in-depth internal review of
mutual fund trading practices. As a result of this internal review, we took swift and
decisive disciplinary action -- including the termination of certain employees -- and, we
proactively shared the information from this thorough review with the SEC."

SEC officials declined to comment.

Late last year, Bear increased its litigation reserve by about $100 million to cover the
cost of a potential settlement with securities regulators over the firm's alleged involvement _
in the mutual fund trading scandal.

Harold McGuire, Brean's attorney and a partner with Entwistle & Cappucci, said his
client is "very happy” to put the matter behind it.

"The fact of the matter is there isn't anyone left at Brean Murray who has significant
knowledge of these activities," he said.

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Exhibit Five

 

The New York Post

November 3, 2003, Monday

A BROADER VIEW ; IN BREAN MURRAY REQUEST, SEC
EYES LEHMAN, BOFA

BYLINE: JENNY ANDERSON
SECTION: All Editions; Pg. 033

LENGTH: 643 words

The SEC has subpoenaed New York-based brokerage house Brean Murray in the
agency's ongoing investigation of improper mutual fund trading practices, in an apparent
attempt to dig deeper into some of Wall Street's biggest firms, The Post has learned.

New York Attorney General Eliot Spitzer is also looking at the firm, say people
familiar with his investigation into whether funds allowed select clients to buy and sell
shares at prices not available to the most investors.

The SEC subpoena requests that Brean Murray, a small brokerage house based in
Midtown, provide all information related to a number of hedge funds, mutual funds and
brokerage firms ~- including Bank of America, Lehman Brothers and Bear Stearns
Securities Corp.

Spokesmen for all three firms declined comment.

The SEC subpoena also sought information on a list of hedge funds that named Canary
Capital Partners, Tidewater Capital, Trout Trading Fund, Trout Trading Management
Company, Peconic Capital Fund, Diamant Asset Management, Diamant Master Fund,
Lighthouse Multi-Strategy Fund and Veras Investment Partners. (Trout Trading became
Tewksbury Capital in April 2002).

Execs at those funds could not be reached by press time.

The subpoena also requested information on some mutual funds, including: Alger,
Alliance, Deutsche Bank, Federated Investors, Invesco, Vanguard, Stron gand
Massachusetts Financial Services.

Brean Murray formed a "special situations" group in 2001 to help facilitate market
timing for some of its hedge fund clients, say people familiar with the company.

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Michael Grady and Ryan Goldberg were in charge of the group - which had Tewksbury
Capital as one of its top clients.

 

 

 

   

  

   

 

the firm comply
with the subpoena, say people familiar with the company.

Neither Grady nor Goldberg could be reached for comment.

"We do not believe we have done anything wrong,” said A. Brean Murray, the .
company's chairman and CEO. "We have been subpoenaed for information and that's
something we have fully complied with."

A SEC spokesman declined to comment.

One of the hedge funds listed in the subpoena - Canary Capital Partners - and its
principal, Edward Stern, agreed with New York State Attorney General Eliot Spitzer in
early September to pay $40 million to settle charges of late-day trading, which is illegal,
and market timing, which is generally discouraged by mutual fund prospectuses and is
considered a breach of fiduciary duty, because it drives down investor returns.

The ever-widening investigation of mutual funds has uncovered improper practices by
a number of money managers and stock brokers and the firms they work for.

Firms have scrambled to fire or suspend almost three dozen execs because of improper
trading.

The SEC prohibits late-day trading because it allows investors to take advantage of
information that isn't available when a fund's closing price is set each day at 4 p.m.

Market timing, which is rapid in-and-out trading, is discouraged because it can benefit
the investors who use it to the detriment of other mutual fund holders.

Widening investigation

The SEC has subpoenaed documents from brokerage Brean Murray fora probe into
trading practices. The regulators want documents related to numerous other firms,
including the following broker dealers and hedge funds, among others:

Broker Dealers

* Bank of America

* Lehman Brothers

* Bear Stearns

Hedge Funds

* Canary Canadian Imperial Holdings
* Epic Advisors

* Douglas Allen Ram Fund

* Tidewater Capital

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* Trout Trading

* Peconic Capita]

 

 

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Suits, Liens, Juadements in NY
No records found

 

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° The Associated Press. May 16, 2006 (See Exhibit Two). An article entitled,
“Stamford Man Gets Three (3) Years In Federal Saison or Detiaucing
Investors,” reports that a former investment 4Yamed Lorne Caplan banker who

worked for Brean Murray Carteret & Co., LLC was sentenced to th 3

        
  
  

 

 

   
    

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ted he improperly took $990,000 in

° Newsday. May 14, 2005 (See Exhibit Three). An article entitled, “Former Hedge
Fund Manager Testifies At Bank Broker’s Trial,” reports that former hedge fund
manager for Canary Capital Partners LLC testified he was told by two (2) people
at Brean Murray that a reputable law firm named LeBouef, Lamb, Greene and
MacRae advised Jate trading was legal. It’s possible Mr. Stern was told this while
prior to Mr. Hozler’s leaving Brean Murray in 2004. According to the article, Mr.
Stern’s Jate trading was a catalyst for a sweeping investigation of investigations in
the mutual fund industry.

e TheStreet.com. February 17, 2005 (See Exhibit Four). An article entitled,
“Brokerage Brean Murray Settles Market-Timing Case,” reports that Brean
Murray settled charges issued from the SEC that they “placed thousands of
abusive mutual fund trades fro at least five (5) hedge funds between 200] and
2003.” According to the article, the SEC contended that brokers at Brean Murray
engaged in both market-timing and late trading on behalf of their hedge fund
customers which included Canary Capital Partners. Brean Murray was fined
$150,000 to settle the SEC’s enforcement action.

The article further reports that in September 2004, two (2) former Brean Murray
brokers alleged that a lawyer had given them faulty advice it was OK to engage in
late trading through Brean Murray’s trading platform.

Harold McGuire, Brean Murray’s attorney and a partner with Entwistle &
Cappucci said that, “The fact of the matter is there isn’t anyone left at Brean
Murray who has significant knowledge of these activities.” One (1) of those
people may be Mr. Hozler who was a high ranking person at this sma]! brokerage
firm.

e The New York Post. November 3, 2003 (&xhibit Five). An article entitled, A
Broader View In Brean Murray Request, SEC Eyes Lehman, BOFA,” reports that
the SEC subpoenaed Brean Murray in their ongoing investigation of improper
mutual fund trading practices. According to the article,

“New York Attorney General Eliot Spitzer is also looking at the firm say people

familiar with his investigation into whether funds allowed select clients to buy and
sell shares at prices not available to most investors.

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The SEC subpoena requests that Brean Murray, a small brokerage house based in
Midiown, provide all information related to a number of hedge funds, mutual
funds and brokerage firms — including Bank of America, Lehman Brothers and
Bear Stearns Securities Corp.”

 

      
 

     

 

‘The article further reports that, “Brean Murray formed a ‘special situations’
group in 200! to help facilitate market timing for some of its hedge fund clients,
' sapy people familiar with the company.”

It should be noted that Mr. Hozler was still with Brean Murray when this article
was published and therefore potentially aware of the activities referenced above.
However, Mr. Hozler is not implicated personally in this article or any of the
others referenced in the previous bullet points.

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September 10, 2007

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Mr. Barry K. Fingerhut
Fingerhut/Holzer Partners, LLC.
399 Park Avenue, 32™ Floor
New York, New York 10021

Re: Ownership/Sale of Properties in New York State

Dear Barry:

This will confirm your retention of Thacher Associates, LLC (“Thacher Associates”) in
connection with your request that we conduct an analysis and investigation of circumstances
surrounding the purported sale to you of an ownership interest in certain properties (the
Properties’) located in New York State.

BACKGROUND

You have advised us that David Holzer. your partner in Fingerhut/Holzer Partners, L.L.C.. has
informed you that (1) he owns a one-third interest in a partnership called Dellwood Partners, L.P.
(*Dellwoed™); (2) his partners in Dellwood are Jeffrey L: Schwartz and Danici Katz, each of
whom holds a one-third interest in the partnership; and (3) Mr. Holzer’s one-third interest in one
of the Properties, located in Haverstraw, New York (the “Haverstraw Property”) is about to be
sold for approximately $25 million. You have also advised us that you own one-half of Mr.
Holzer’s ownership interest in Dellwood.

SERVICES

You have asked Thacher Associates to undertake an investigation and analysis to determine th
bonafides of the above representations by David Holzer. You have further asked that. based on
information obtained in the course of that investigation and analysis, we assist you in taking -
appropriate steps to remediate any issues identified. It is anticipated that such assistance will
involve, at a minimum, database research, field interviews and ongoing consultation with you

and counsel.

CONFIDENTIALITY
We agree that any and all information and documents received from you. your agents or any
other consultant you have retained or will retain relating to this matter are presumptively

privileged and confidentia]. All information and documents that Thacher Associates or any of
our investigative associates or consultants develop during the course of providing these services

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Barry Finverhut
September 10. 2007
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THACHER
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In the event that any third-party. including a yovernmental entity. attempts to obtain documents
or information related to this matter from Thacher Associates, our investigative associates or our
consultants, by subpoena. other compulsory process or otherwise, to the extent we are permitted
by law under the circumstances to do so, Thacher Associates will immediately notify you of that
fact. afford you an opportunity to contest such third-party efforts and otherwise follow your
direction with respect to our response. You agree to indemnity us for all costs and expenses
reasonably incurred. including both reasonable legal expenses and the costs of Thacher
Associates’ and our investigative associates’ and consultants’ time. in responding to any such
effort to obtain information or documents trom Thacher Associates in connection with this
matter.

You agree. however. that nothing herein shall prevent or prohibit Thacher Associates. our
investigative associates or consultants from complying with any order of a court of competent
jurisdiction, or a government or other official acting within his actual or apparent authority. for
the production of documents or the provision of information,

INDEMNIFICATION

You agree to hold harmless and indemnify Thacher Associates, our investi gative associates and
consultants, against and pay for all claims. damages and costs (including reasonable attorney's
fees and disbursements) arising out of this engagement, except for such claims, damages and
costs allegedly arising from any actions by Thacher Associates where it is finally adjudicated
that such actions by Thacher Associates, our investigative associates or consultants were illepal,
grossly negligent, or were beyond the scope of this engagement.

FEES AND Costs

In order to efficiently manage the fees and costs associated with the engagement. we will
perform our services in incremental phases, and not proceed to a new phase without first
advising you of the anticipated scope and costs of such new phase. We anticipate that the first
phase of the engagement (“Phase 1") will be comprised of (1) electronic database research
regarding Mr. Holzer, Mr. Schwartz. Mr. Katz, Dellwood, and the Haverstraw Property: (2) on-
Site manual research regarding Dellwood and the Haverstraw Property; and (3) multiple meeting
and telephone conferences with You.

Upon completion of Phase 1, we wil] provide you with oral and/or written reports (at your
discretion) detailing our findings, and setting forth our recommendations with respect to
additional steps (“Phase II”) that can be taken in furtherance of your interests, We agree that we
will not to take any actions which would cause the tutal fees of Phase J, excluding expenses and
applicable taxes, to exceed $25,000. without first discussing such actions with you.

Should you request that we extend the engagement to include a Phase Il, we agree to consult

with you regarding the scope and antici pated costs of our services to be provided during Phase ll.
- and to set a maximum fee, excluding expenses and applicable taxes, for Phase IL.

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Barry Fingerhut
Seplember 10, 2007
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sociates..bills aneh we »plusecostseand-expenses.
autached schedule. Thacher Associates will send its invoices directly to you.

RETAINER

We ask that you provide us with a $10,000 retainer. The retainer will be held by Thacher
Associates and will be applied against our final-invoice for services. To the extent any amount
remains in the retainer after it is applied against our final invoice. the balance will immediately
be returned to you,

EXECUTION

Your signature below indicates that you agree to engage Thacher Associates under the terms and
conditions set forth herein.

We look forward to working with you on this matter.

Sincerely,

-

 

Thomas 1D. Thacher 1]

Acknowledged & Agreed:

BARRY K,. FINGERHUT

_ By: Dated: Yfo7

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Barry Fingerhut
September 10. 2007
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FEE SCHEDULE

 

 

 

 

 

 

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Senior Research Analyst-------------—------ee-een cence 200
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Research Associate ---------------------- noone eee 150

 

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American Express Account #s Identified

 

American Express
Account Number’ -

Period Active

Notes

 

3713-880330-1400

 

     

   
 

  

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three.cards-linked-viace:

 

 

 

 

 

 

 

3713-880330-13020 [David Holzer {2004-2005 _| Single Amex Platinum Card
, Account; have 2004 and
3713-880330-13517 jLesley Holzer {2004-2005 2005 Year-End Summaries
" “tBlave. single receipt
en a - showing large purchase. on
3717:500471-21026": David Holzer © }2005? (9/24705°

 

 

 

 

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(Page 1]
UNITED STATES DIsTRICT COURT

SOUTHERN DISTRICT oF NEW YORR

 

 

Civil Action No.

~against- og-CV-104235
, (GBD)
BARRY FINGERHOT, DAVID HOLZER,
PINGERHUT-HOLZER PARTNERS, LEC,
FINGERHUT-HOLZER EQUITIES, INe.,

FINGERHUT-HOLZER, ENC., FINGERHOT-

 

 

 

HOLZER FUND L,P., GEO CAPITAL
PARTNERS, INC., FINGERHUT-HOLZER
"HE WAVERLY I, LLC, FINGERHUT-
HOLEER THE WAVERLY IT, LLC,
LESLIE HOLZER, DOUGLAS HOLZER,
JENNIFER HOLZER, JOSHUA HOLZER
and JOSEPH HOLZER, |

Defandants.

Habruary 7, 2013

TL:00 a.m.

Daposition of BARRY FPINGERHUT, taken by
Plaintiffs, pursuant to notiaa, at the offices
of Bolkenflik & MoGerity, 1500 Broadway, New
vYark, New York, before SUZANNE PASTOR, @
Shorthand Reportar and Notary Publica within and

for the State of New York.

 

 

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[2] (Pages 2 to 5)
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ase 1:09-cv-10429-VSB Document 149 Filed 08/26/19 Page 115 of 133

 

APPEARANCES

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(212) GEO-Ad4d
lewpe.com

 

Atlormeys for Defendants and the Witness
1360 Broadway

oa oe Ww NP

 

 

 

 

 

 

(A. uly 2nd, 1945.
a. And your gocial security number?
A,  Sucial securily nuciber’!

Mi. FOLKENEKLIK: We abject. Unless :

there's a reason [or it.
MR, CONWAY: [always ask pedigree.
Mi. FOLKENFLIK: That docsn't

er. Welll object. W li latk about giving

 

submission in the cvent that ‘
important, As you knew, Uf this document were

 

 
 
 
 
  
 
      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

New York, New York TOS i ; ' .
BY: MAX POLKENELIK, ESQ. 12 ever subinitted i the court, you'd have to
{212} 45 740 43 redact il anyhow.
mfotkenflikigitmiaw.com 14 ME, CONWAY: What we can tin is ask
ALSO PRESENT: 15 the reporter to include on it the last four
FOUN RAPILLO 16 digits --
HEHN RAPILEG 17 ME. FOLKENELIR: ‘Those are the four
18 digits thal contain all the useful information.
18 So the answer Is respectfully ne. & cecline.
av Yyoucan agk the judge.
21 @. What is your country af origin.
22 girl
23 A. My country of origin?
24 G, Of origin.
25 A. The US. But its Wushingion, D.C.
[Fage 2] {Page 4]
BARRY FINGERHUT, 1 Fm nol sure vehat that is.
residing at 7884 Kast Clintan Drive, Scolisdele, 2 cy. That may bot be ours,
Arizons 85260, having been first duly sworn by gt A. That's right. Thatis where l was
ihe Nolary Public (Sucanme Pastor}, was examined 4 born.
and testified as follows: 5 OQ. Where were you educated, sir?
EXAMINATION BY 6 A. Where was t educated?
MR, CONWAY: 7 Q Yes.
OG. Mr, Fiigerbut, Im going 10 ask yuu 8 A. Undergraduate school at the
a number of questions. Ifany of thase 3 University of Maryland, and then eraduate at
questions una unelvar, please feel free to say 10 NYU. ‘That's an MBA,
a0. 11 Q. ‘What did you study al Maryland?
Sir, the address is 1230 West 42 A. Al Maryland’
Washinglon Street. Tene, Arizona, that isa i3 QQ. Yes.
frusiness Gor you? 24 A. lhada BS degree.
A. Yes. if Q. In what? Math, science?
Q. Could I have your residence address 16 A. Actually, pre haw. ‘Then { made the
there’? 17 right decision, Got an MBA instead.
A. 78B4 Rast Clintons Drive, thats in 14 QO. Wihis weren't a sranseript, I'd
Scottsdale $5265. 419 agree with you.
Q. All right, sir, how afd are you | 20 And where did you find employment
ioday’? 21 after you left NYU?
A. How ald am | today’? 22 A. My initial job was al Aetna Life
OQ. Yes. 23 and Casualty.
A 8) 24 O.  Inwhat capacily?
25 A. Lwas an iirvestment analyst.

Q. And your date of birth?

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[3] (Pages 6 to 3)
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Q. What your was that?

A. F989.

Q. And for how long did yeu remain
with Actaa?

A. Twoyears. LO7t Leame bark io New
York, worked for a firm called Weiss, Peck &
Gireer,

oA ae we

 

 

ard’?

 

the deal was that | needed-t

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——

©. Did Geo Capital cease to asiat mt
chat point or did it remain a lapally viable

entity?
A. When if wes sold you rmean’?
Q. Yes.

A. No: Itwas sold and controlled
by —- or owned showht say by AMG.
stay for a certain

 

 

     

     

AONE

O. And whatwas the business of

  
    
  

   

  

ake

    

0. Now did Geo Caylial tay

And partof |

  
  

 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

Peck & Greer? al investment specialty? Oi), technologics,,
A. They were brvestnrent adviscrs, 12 Toreign, whalewer it lay be,
specialists and venture capitalists, , 18 A. We did.
Q. For how many years were you with iA iJ. What was that specialty?
Weiss Peck’? 15 A. Weowere small cap investors, And. |
A. Let me see, Tic Weiss Peck in / 16 was go asset « the asset investor, if you will,
98 (joined them in'71, af guess that was | 17 t. Did Geo Capital invest with iis owe
seven years. Then | went fo @ firm called Firat 18 money or ellenls’ money’?
Manhattan Company. And leit Leer -- Lo A. No. no, it was an advisory firm.
Q. Was thara bank ora private 20 Ti waan'Lour capital. [twas all clients.
investment house? 34 Q. Did you have any alliiiatian with
A. fi ywas an investment advisery firm. 22 any other investment fine that did directly awn
And broker, Mainly ivestnent aclvisory. #4 stacks or equities or bonds or anything of that
G. Had you became a broker at any a4 ieuce”?
time’ 25 A. Prnnot sure what you mean by
(Page 6} [Page 6]
A. Wo. Well, ] shouldr't say that. 1 L relationship."
passed the exams (hat you peed -- well, that's Z O. While you were working for Geo
not really brokerage. Hts really a= its a 3 Capital, did you have any sidefinc occupations
Wall Street partnership, i's. a GSG5 | thank. 4 or investments?
Whatever itis. Its a capital -- 5 A. The only thing that we did
ty. Were you working olf someone else's 8 separately was. this is another entity, but ery
license or the firm license? 7 partner and | with another partacr formed an
A. Na, ta, | just needed to pass this 8 operation culled Weekly Partners, which was 4
to become a general partaer, But it was really 3 venture find, of a venture partnership I should
an advisory Siem. 16 suy. We now have seven partnerships in Weekly |
3. td you ever yourself practice as & aL Partners. ‘That was started in ‘On.
broker? 42 cy. All sight, and that's stil! an
A. Nea. Fen not a beoker: 13 operational business?
Q. And Jor how many yours were youl 14 A. Yeuh, but the business ig-- 1
with First Manhattan’ 45 mean, the Lunds are ending.
A. [ell there in the spring of 1981 16 MR. FOLKENPLIK: He'll ask a
to join a partner at a firm called Geo Capital a7 question, You jual auswer hig question,
Corp, That is a registered investi cht advisory 18 @. And who were the people with whom
fam. We sold the firm in 1997, 1 needed to 19 you founded Weekly?
SLAY -° 20 A. Ge was my partner at Cleo, his name
M2. FOLKENELEK: fast wait until he 21 waa twin Lieber, And the other was Harry
asks a question, 22 Rabinstcin.
Q, ‘To whom was shat firrs sald in TOOT? 23 Qo Mow, when Geo wits purchased, did
A. Affiliated Managers Group. AMG is 24 you move on to a different professiogal vehioh:?
the ticker symbol. 25 Mit. FOLKENDLIK: [fe already

 

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i answered that he glayed with Geo Capilal for L A. You.
2 seven YCars. 2 Q, And what is [hal dovament?
2 Q. Yes, you slayed with Geo. When Gen 3 A, What is 4. 4
4 was aold -- 4 Q. Yes. What was ft intended to be? :
5 MB, VOLK ENFLIK, Afler ii was sold 5 A. owas aparinersbip apreement Lo :
6 he stayed. & do a linaited parmership, a8 investment vehicle.
2 a, After il waa gold did you coniinuc 7 Q, And iy that the memorialization of
& & an arrangement helween yourself and David oler |,
a Al Yes Tonite leav aw — as
10 part of the deal. 40 —- Fingeshul-Holver Partners? =
ai a, So you stayed-unlil 2005? 12 MR. FOLKENPLIE: Excuse ine. tts
12 A, Na. Late 2003 ar 2004. 12 Fingerhut-Holzcr Fund LP, Correct?
13 Q. And did you leave by mutual 13 MR. CONWAY: Yes. i
14 agreement? 14 MIL. FOLRENLLUG: Fingesbutel lolzer |
45 MR. FOLKENULIK: He sale the 45 Fund LP. :
46 business. 16 G, ts there a Fingerbut-Holver ,
4? @. You then gold the retiainder of [he 17 Partners LLC document? |
i8 business ileal wes YOUrS, 1.8 A. Here? P don't sec it here. :
419 MR. FOLKENELIK: He sald the entire | 19 , Borg one exist? |
20 bustiess and he had to atay on as part of the 2f A. believe so. i
21 cenvtract. ai @. And svbore would that be?
22 A. Thal was the deal. 22 A. Drabably by your jel haeul.
23 Q. So ifthe contract extended for 23 Q. What i have ia the operating :
2a sever years und you leave in 2005, you would 24 agreement of Getober 2ach, 2007.
25 have left in five years. 1 presume -- you left ay A. Ident knew. T don't know the i
{Page 10] [Page 12) |,
1 by agreement — i answer to that.
2 &, Ti was 97 when we sold it. Ther | 2 MAR, FOLKENFLIK: 1 will represent :
3 think L lefé in maybe it was early 2004. Bul # 3 that we contacted (he, for want ola better
4 was around Cal fine. 4 word, corporate lawycrs whe were representing
5 ©. All right, your contract with 5 ‘ir. Fingertant in compaction with the formation |,
4 ihein -- yuur obligations to thorn expired. 6 of anumber of these businesscs and whatever
4 AL Coreect, 7 documents they were able to Hind abort the
a Q. What did you then diy? & organizational structure ofthe Fingerbut-Holzer |
8 A,  ifprmedt what T Thought was a g anfities we produced,
40 family partnership. 10 MR. CONWAY: All right, now, by
i2 Q. With whom? aa ‘counsel, was tbat lawyers wha were responsible :
a2 A. With Dravid Holzer. 12 for the dtafting of the document in 2004?
13 G And wheal year was that? 13 MR. FOLKENFLIK: E’ther responsible )
14 A. 2004 | helleve. 14 for the drafting, of the decument in 2004 ot
18 Q. We bave been sent docunsent 45 successors to the person who drafted the
16 identified as the Mingerhut-Holzer Furl LP 16 decument.
iL? fried Purtnership agreement dated Cletaber fat 17 QO. Letmeask you this, Sir, what law
iB 3004. Roes that sound like the organi cation 18 firm drafted the initial arrangement between
13 {bat you founded at that tiene? 3 yourself antl Mr. Halzer?
20 A. ‘That was 1 chink an entity, 20 A. Edow't remeriber the name. | mear,
24 Q. Why don't you take a took at that. 2. its on the document.
22 (Fingerbut Exhibit § ter 22 THE. WETNESS: To you remember the
23 identilleation. Bates No. BF 90 through | 12} a3 wath?
24 ©. Sir, canyon identify that dactiment a4 _ hike. PORK ESNEEER: Ne.
25 thal’s been passed te you? “5 Q. ‘Was there =

f4] (Pages 10 to 13)
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egy ners een occa Netra

L A. They're on Third Aver amd 24th
2 Street, 1 know that, Tut don't reamensber the
3 ame.

4 MR. CONWAY: Counselor, UP you
5 could, is there anything --

6 WR POLKEMPLIE: you want the
7 name of che firm F contacted, leave uspace It

Law Firm Llired to Drall Corporate Tercumends

Li , Now, in ZU0s, did you determine i
12 oper a business with David Holzer?

13 A] Furst told you.

14 @. And you indicated that you thought

15 dat was a laity business.

16 A. A family business to the extent

1 thal tt was only ug making mvestuacnts.

18 By “us* de ya ragan you and

19 Mr. Holzer?

20, A. Mm-hinm. | thought so.

al @.. Urxcuse ane?

24 A. Atienst thought oo al the fine.
aa OG.  Andavhen and where did you meet

24 Me. Haleec fier the Tirst lire?
25 A. Ob, lord. Probably — well, he was

(page 14],

 

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a trader for Breen Murray anal 1 was doing
business with Breen Murray probably abut the
time | joined trivin in Geo Capital, Thar’s like
early 80s. So it was 22 ~3 years.

GQ. Sure. You finish and then 1 go.
You hug known him for bvo ar three yours?

A, 24 years,

am in & woh

8 O. And had Mr. Holzer heen invetved in
8 business transactions with you over Lhose 33
400 yours?
il A. Mr, Holzer was a broker T used in
12 buying securities and selling securities In Geo
13 Capital as us being a registered advisor.
14 Q. During the 23 years you knew bins
16 peior to the ercation of Fingerhut-Hoizer
16 Partners, had you ever been aware of any
19 criminal investigations involving Mr. Holzcr ba
18 any authority?
19 A. No.
20 4). Had you ever heard of any lawsuits
21 ited against bin lor bis work or the manner in
22 which he operated a3 a beaker,
23 MR, FOLKENFLIK: And ibis is in
24 what period?
25 @. In the 23 yeurs prior to the

 

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[53] (Pages 14 to 17)
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om WN bw Ow

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founding of Fingerhut-Ho leer Parlmers.
AL Mo. !
0. Bid the two af you develop a social
salationship churing those 20 years in: acidition
4 being --
A. ¥es. Pht it was primarily
tusiness, ] mean. 1 knew hig family.
Q. You saw aach other on aceasion, but

|

 
    
 

 

 

A. 3M
QO. When you sv each otter socially,
what type of relationship did you hayc? Dinner,

traveling?

A. Lihink Ht was dinner a osuple of
times. Hat we -- well, i wasn't at that point.
Luter there waa a safari we went on. But thai
waan't until alter 2004,

QO. Now, what prompted you priar be
2fO4 ew select David Llalzer to ga inte business
with?

A, Well, fiatked io him every day,
probably every business day a few times. Gat ta :
know him prelty well, liwugbt he was --
thoughe he was a prety aod trader, You gott.
undersiand what trading meant hack then.

{Page 16]

 

O. All right, tell me what iruding
meant hack ther.

A. Well, firet of all, you have to
undevatand thal the types af pasilioens hat We
owned ware small companies. Relatively.
iMiguid. We used initially a base of -- & lop
af atwndred million in markel value, dy as we
pat larger we owned more and mere different
companies, Got to a paint where we had — we
fled 1308, which are § percent ur groaler ns an
advisor, not ad af independent person, on ahout
AG companics.

So buying and selling geourilies

was important fe the sense oF wha yeu msed, whet
firm vou used, how deep they made the market, ct
vilora, Id was not like buying TBM, that kind
of stall.

Q.  Mim-hinm.

A. Pretty much: continues te be ke
thet sive.

G. Blow; the 46 comparties would have
been awned by Geo Capital?

A, No, they wanld be owned hy the
clients of Geo Capital, We managed moncy, when
[staring we were about - when T joined my

 

{Page 17]

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1 pariner we had about 60 million under a ©. Atthe time that you were leaking,
2 management. 2 for a partner -»
3 Q. S0- MR. POLKENFLIK; Objection.
4 A,  Véhen we sold wa: were about -- well, 4 ty.  Atthe time you were setting wp tor
5 by the time [ left in 2004, we were ahoit 3 5 yout Next Yendure aller Gen --
& billion, 6 A. Lalready bad » next venture. i
7 0. Sa Geo was essentially «management 7 had Weekly af this Lite, 100.
q tai at’ 8 OQ. Weekly also. For what particular
“s Tnvesiment advisor pees Bowell Dae Were» ith
10 Q, Investment advisory. And clients 10 Mr. Holzer’ i fh
43 would place money with yau to be invested hased zi Fingerbur-Hoalzer than from Weekly? :
12 upon your best judgment, but the moncy continued | 22 A. Weekly we didn't -- this was nel
43 ta be the clients’. It was nol your money. 13 our money in Weekly. Weekly was 8 limited
44 A. Carrect. Clients made a fee tor us 44 partnership. The difference bring -- you Bry
45 ic manage (heir money. i5 the difference between an advisory firm: and a
is G. And at its height Gea managed tow 46 parinership.
a7 large a total -- if Q. ‘es.
46 A. About 7 billion. 18 A. Soin Weekly we could be bath
1a ©. And that would he 3 billian in 13 general partners and te a certain extent Hmited
20 23? 20 partners. Bul we were essentially menage
34d A, Yeah, 2002/2604, When we sold i 21 other peaple’s siOney alsa in Weekly. in that
22 was about ~ in Y7 it was like two and a 22 case H was primarily inatitutional money.
23 quarter billion. This, by the way, is a large 23 Actually so was Geo. Tut Pingerhut-Holzer was
24 armaurd [or smaller cap. You stould know. 24 just family monics.
25 D. Naw, when you severed your 25 QO.  Vingarluit-l lelver was te he the :
[Page 18] [Page 20] |
i relationship with Geo Capital, you were ten 3 vebicle for the investrrent of your cava Inohey,
2 opening a new venture for yourself? 2 A, Cawrect.
3 A. Yea, a G. Now, did there come a ime when vou
4 ©. And were you intending to in the A and Mr. Holzer came ie an oral agroement & act
5 venture invest your own money or alse & up a firm tegetber? This is before you sit daw
8 clients! -- 6 with lawyers, did you agree to do business
7 A. My own money. 7 together?
q a. Principally your awn or investors’ & AL Yes.
% money! 8 . Did Mr. Holzer have a similar sur
iG AL lm sorry. 10 af money ts invest in Vingerbut-l folzer Partners
it MR. FOLKENELIK: He just answered | 24 as did you?
12 ihe question, 42 A. Ldom't know what he had, trut he
13 QO. You were planning lo invest your £3 certainly gave me the impression that he bad
14 own money in Hingerhut-ltolzer Pariners? 44 capital: [dida'l usk him the specific number.
15 MR. FOLKENELIK: Answer out loud. | 25 Q, And when you agreed to go Into
16 Don't fust shake your head: 16 business topether. did the bvo of you
1? Q. You have to answer orally se that 17 subsequently sit down with lawyers for the :
18 thie = 46 purpose of drafting a document lo memorialize |
1g A. ¥es, is your arrangement?
26 O, Now, was it alsa your intent ander 20 A. Yes. :
ad Fingerhut-Holzer Pariners to invest for other 21 Q, Albright, and da you at this ime
22 people and guide thetr -- 22 remember Ihe name of the lawyers Lhat yous set
23 A. Nol necessarily. That was nol my | 24 down with?
a4 initial idea, {| could have stayed at Geo lor 24 A, L's the same proup I just
25 thal. ah mentioned that I dar’t remember the name.
; {Page 19] | [Page 21] |

 

 

 

[6] (Pages 18 to 21}
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G. Dayeu know If that firm on Third
Avenuy in New York in the 30s is still an

A. Lthink so. [think ao.

GQ. Now, da vou recall # yoe-and
tz. Holzer sal down together to discuss ihe
arranging of Fingerhet-l folzer Partners?

  

 

  

 

 

 

  

alsbence oF
relationship between yourself and Nir. Holzer as

 

MR. FOLKENFLIE: Announced?
Q. Not announced. Created,

M2, POLKENPLIK: Do you mean was

G. Well, first, way there 4 document
that was prepared that indicated an ongoing

arrangement between yourself auc Mr. 1 lolzer te ¢

A; Wily agsumptlon is yes. The LLC was

©. And there was a Fingerbul-[iolver

Partners LLE. Was that act up in Delaware or in |

 

 

 

 

 

 

A. Hwassetupon Third Avenus. f
don't know where the hell it was. Bither one.

Q. ‘Your operating agreement af 2007
selers iu a Delaware limited linkdlty company,
A. Okay. Good guess. You don't have
G, Vhelieve Me. Holzer used the mame
of a law fiem in his deposition. I do not have
his deposition transcript wilh ine. But fre. vagy
MR. FOLKENFLIK: 1 don’t believe he
MRE. CONWAY: He may riot have used
the name. | remember him saying there was a law

firma in New York Uua.did their work. He may

MR. FOLKENFLIK: Thot's the law
firm Mr. Fingerhut is referring to on Third

0, When a corporation was set up in

Q. When a limiled lability

1 MR, POLKENDLIK: Well, we had 1
2 received materials from Manning Fulton -- a
3 THE WETNESS: ‘That's Kevin. Jhias's. 3 operating exity’!
4 his new finn. 4
$ ad. FOLK ENELIK: And Malton & 5
6 Skinner PA. Parden me? 6
q FTA WITNESS: Phat’s not tbe guys 7
5 ‘Thiedathe puy-tromtl Ate. 8 A. (believe so.
"Ss ‘Caroling who ty abe se
10 years. dooutnent wi
43 G. Ave you still doing business with ii
12 ti? i2 brushness partners?
1a A. Not the puys who set up the farcl, 43
14 The firm, Those were a different group. ‘This a4
15 isa guy F've used now for just about everything 15 Established.
16 Nye dane since 1 don't know hevw jong. isa 16
47 baru time. i? rhere an operating apreement?
18 ©. Manning Fulton & Skinner ts the law ig
as firm in North Carolina? is
20 MR. FOLKENFLIK: Yes. 20
21 MR, CONWAY: Do we hove an address, ai do business together?
22 by counsel? aa
23 THE WITNESS: He just mewed there 23 set up for that reason.
24 last week, Ile was with Williams & Mullin. Da a4
25 you know that fim’? 25
[Page 22]
L GQ No. i New York?
2 A. He's in Raleigh. 2
3 MR. FOLKENPLIK: He's in Raleigh. a
4 North Carolina. 4 i think il was Delaware actully.
& a. “The gentleman who you fallawed te 5
6 Manning, Pulion & Skinner, what wee his ransc? 6
7 A. Kevin Peukke, P-R-A-K-K-F. 7
& Q. And he was with the Jaw fran thal 8 lhe faw fis there?
8 sel up Fingerhut-Holzer Partners? g
19 Aa No. He was she one who | have ased 10
il for along time. The guys who sel up Uist, | Ld
12 domi remember their names, as I've satd 12 have identified it
13 alraady. 413
14 O. They were also in North Carolina? 14 did, 1 just reread it yesterday.
i8 A. No. They were on Third Avenue in 15
is the 40s, Bat T dent reesember their nantc. 16
i? Obviously that was — 4?
a8 ). Forgive me just for checking my 18 not have included the name.
ag recards, LS
20 Hf we leave a blank in dhe recearls, 20
21 tio you think you'll be able to. lind the -- a3 Avenue 1 believe.
22 A. Lsheuld. 22
23 INFORMATION REQUESTED TO RE suppiiag: | 23 Delaware ~
24 Law Hirm Representing Fingerhut-l lolver a4 A. [think this is LLC.
25 Pasdrers au
(Page 23] _

[Page 25]

 

 

(Page 24]

 

 

(7] (Pages 22 to 25)

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yorporilion was set ap known as. Fingerhut-Holzer
Partners, was there an arrangement lor each of
you to share in that corporation?

ME, FOLKENPLIE: That arrangement
ja reflected in the gperalitys agreement. Which
we've produced to you.

MR. CONWAY: Dated October 23th.

wm ad am wt m& Wo ho oR

 

  
 
 
  
 
  
 

A. Twas the one who was the investor.

Q. By using the term “Gnyestar" you
were the one who picked the investments and
devided what sums wore to be invested’?

MR. FOLKENE LIK: Answer oot loud. -

A. Yes. Ves, yes, Yes.

G. And what function did Mr. Holzer
serve?

 

 

 

the: period peior-tor 200 Tow

 

  
 

 
 
    
  
 

A

 

 

 

 

 

[8] (Pages 26 to 29)
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[Page 27]

 

10 there at agreement buiween the GvO of you to 100 Q. Now, HERLNE

11. share in the investments and in the profits af 12 _ business, did you open a place of b :

42  Fingerhut-Holzer Partners? 12 A, We had an ollice, :

43 A. leamtiell you. Tdan'l 13 Q. And where was that? :

14 rementbes. 14 A. ‘The initial office was in CHicerp /

15 Q. When you went inte business with 18 Center. :

16 Me. Holver, what was the arrangement Ubal you 16 Q. In the Citicorp noilding?

1? understood to be memorialized in the if A. bim-hmin.

18 earporulion? 18 Q. For how long were vou in the

19 MB. FOLKENPLIK: Go ahead, 19 Citicorp building?

a0 A. Lthink itwas fairly ao A. Thal's a rood question. Long after

21, straightforward, It was both ofus investing. ai Fingerhut-llotzer, put let's see, it was 2004 |

22 and in one way or another, (dot't remember a2 guess we were (here, And then Heft, We

23 exactly, sharing the profits. Wut again, this 23 subleased from Park Avenue Equitics.

ad was eysentially a family office. a4 0. Was that the premises at 340-Park :

25 G. Maw, by both investing, was Lhe 28 Avenue?

[Page 26] [Page 28] |

4 intention that each of you would produce. the 1 A. Yes. And they moved in »- 1 think ;
2 gare amount of nancy to invest? 2 they moved in 2006 maybe, 2006. To 149 East |)
3 A. Nat necessarily, 3 4¥9ch Street, just south of Saks where { leased
4 Q. Wasi endersivod that cach af you 4 SPACE, i
§ would benefit equatly from the good work of 5 Q. 149°? :
6 Fingerhul-Holzer Partners? 6 A. Thavid wasn't thereat thal line.
4 Mit, FOLKENDPLIK: What does thet 7 Q. 149 Hast 498h Siveat?
4 meant 8 A. Yes, [think it was 149, Mian be FG
3 A,  dclon'tuscderatand that. 9 Hast 01h, Beawitul building,

10 MR. FOLKENFLIK: Objection. 10 Q. And that would be after

13 0. Would you each tuke profits an a 21 Mr. Holeer's dilliculties.

iz 4/50 basis? 12 A. Heras pone. Tut until that tine £

LS A. think i was basieatly ondy -- 13 was al CHiGorp.

i4 there were no profits per se that would he 14 G, 10 you recall when you opened the

45 gutside of the monies managed. Hoyau sce what 15 premises al 399 Park Avenue!

1é I'm saying. 16 A. ft was sometime around that time,

47 Q. Yos, Eda. 17 200d,

18 A. The profits would he a flinction af 18 OG. Now, what was the division of

Lo hoaw much you had ini. And you ahould 19 operations bebween the Citicorp building and 399

26 understand that } was the one who was the 20 Park Avenue? What did you do in cach place?

21 investor, al A, 399 Park was the Citearp Center.

22 Q, We're just aliout to get there, 22 Pro sorry,

a3 Was there a division of 23 A. You mean the other une?

24 responsibidity between the two of you in the : 2a Yea.

as operaling of Fingerhut-Holzer Partners? 25 A. Same thing.

 

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a @. What did you de in the two places?

2 MR. FOLKENFLIK: They did't 1

3 don’t believe, but you ask che witness. that

4 they had both oltices gimullancaushy.

& A, Wo, no, we didn't,

a MR. FOLKENFLIK: They just moved.

 

 

 

 

 

 

Suu & Fm w NM

 

agreamant hetween you?

AL Yes.

QO. Who were you shaking hardls wile!

A.  Uuill Mayer. In feet, 1 use his
offiec now when [comic te the city. He's moved
again.

iD. Now, would yor deseribe the space

 

 

q ‘Phey moved their office.

g A : inglg

a eer when the euy .
20 OQ. When David tell.
aL A. No. When Will Mayer ran Park
i2 Averies Equities moved bis office to 140 Bast
43 A9th Street. So Lweet with him, ‘That's all.

14 Citicorp wanted $125 4 square Fool rent,
15 Ridiculous.

 

 

1é @. Now, when you're relerring to the
17 Citicorp building and 399 Park Avenue, you're
14a yeferring 10 the same oflice?
1S A. Yor.
20 ©. And the signage af 399 Park Averuc,
21 that was Fingerbut-Holzer Partners?
22 A. “fox.
23 MR. POLKHNERIK: L109
24 A. LLC,
25 O. LEC. And how large a space was
[Page 30]
1 that?
4 A. Good question. I'd say 2300 squace
3 feet, something like that. The afties i lot
4 was maybe twice that size, bat we only aecupied
5 pari at that office.
& O. Did you have a superian kanallord?
7 A. tdidnitthink be was that good A
a superior landlord, We subleased,
g @.  Sublerseit {run whom’?
1o A. From Park Avenue iquities.
ad MR. FOLKENFLIK: Do you mean to ask
12 who was the master lessor?
13 Q, Yes. that's fine.
14 MR. FOLKENELIK: if you know.
15 & don't think il was — this was 4
16 very odd situation. They gubleased rom another

14 group, 1 den'e remember the nate of the other.
18 From my perspective, £ only subleased from Park
19 Avenue Equities.

20 Q. Bo yau know if there still exists a

a4 lease lor Fingerbut-Holzer Partners LLC for chat
22 space?

he
he

A. There wasi'ta lease when we
24 left -- when T lef Citicorp Center.
BA O, Alf rigta, was this a banelshake

 

. [Page 31]

 

 

 

   
 
 

“is

ad
12
13
14
LS
Lé
17
1a
19
26
21
22
23
24
25

tt ds to ht fe

pw & am

(hal you tenanted at 399 Park Avenue? How many

Mik. FOLKENFLIK: Lecme'say,
Mr, Conway, Erecayniac that wnker the federal
rules the way ta respond te questioning that is
trclevant isto terminate the deposition ead
geek court order, Tiul you have +

KE. CONWAY: Not with a guy im
Arizona.

MR. FOLKEMPLIK: You have requested
the witness ta came from aut of town and these

 

questions have loss than zero to do with the
claims ist this Gase.

MR. CONWAY: They dort.

ME, FOLKENPLIK: Ag te what Lbe
file racire Inerkedd lhe,

MR. CONWAY: No, ne, the
question --

MR, POLKENFLIK: All of Wiese
questions <

MR. CONWAY: The question is what
did the office lawk Hike.

MR, FOLKENTLIR: And that has zero
te de with the facta at issue in the case. Tn

just mentioning il bucause there may come a Lime |

when | will terminate the deposition and we'll
move Ui.

A. ‘There were three «- basically thres
offices and then like a seeretarial area fora
couple desks.

©. Aod whe were the employees of
Fingerhut-Holzer Partners LLC?

A. Well, the most impartant was Juckic
Cohen, sha was may seorclary,

Q.  Did-you maintain an office there
for yoursel ?

A, [hadan affice there.

©. Did Mr, Holzer have an office
therc?

A, es.

Q. And the third office went lo
Jackie?

AL No. No.

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[Page 32] |

 
    

 

 

 

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1 Q. Who- : a Q. Could you go down that column ani
2 A. Jackie wes the suerctaty. 2. tel us what they are,
3 Q, What was Jackie’s last pane’? 3 A. Okay. 1 wish J had my glasses.
4 A, Coben. 4 Q. Bo you needa pair of glasses?
5 Q. And who else worked in that space? 5 MR, FOLKENFLIK: Do you have a
6 A, David's daughter. 6 belter copy?
q Q, Whal w 7 MR. CONWAY: No, This is what you
6. On were Usrire 8
9 t,
‘10 Q. Was the space - printed out the same copy Jaent toy
-A1 A. She was I guess she was Ihe ii legible.
12 secretary. Vm not sure what she did. 12 MR, CONWAY; Do you witil to blow
13 Q. | Were there uny other family members 13. this up?
a4 that worked ther?! 14 MR. FOLKENFLIK: I can get another
15 A. Yes, one of his sons worked there. 13 copy.
16 And ttn sorry, § had another employee, loa 16 A. it doen't matter.
17 There was a guy name Brandon Blum, who was like | 17 Q. Do you need glasses?
18 —a treasurer. 18 MR. FOLKENFLIK: W's okay.
19 Q. Did Mr. Holzer do his iading out 19 A. Avealestate investmentin
20 of that office? 20 ‘Jacksonville, CB Technology -
24 A. Thellzve sa. 21 Q. Whoure Burry/David Partners? ;
22 Q. And did you apend time at thal 22 MR. FOLKENELIR: Why dan't we go tn}
23 oltice? 23 order, ,
24 A, Bevery day. Just soout. 24 Q,  Yés, down the line, What is
25 Q. We've been given a docursent, TM 25 Barry/David Partners’?
[Page 34] {Page 36]
i ask that it be marked. 1 A. That's probably the general pariner
2 (Fingerhut Exhibit2 for 2 af this Investment,
3 identification, Bates. No. BF 07} 3 ©: By Barry/David, is that the two ol
4 Q. What exactly is that, sir? 4 you? Barry, you, and David, Mr. Holzer?
5 A. eats tne, I can't even see il, 5 A.  Twould suspect so.
6 Obviously the schedule -- the investment 6 Q.  Helow that?
7 schedule. oo, 7 A, Doesthat say CE Tech?
8 Q. Now, there's a dacument -- ave you 8 QO. Cl Tevh, yes.
9 familiar with that documcat? 9 A. CE Tech was a technology company
10 A. Yes. 10 iavolved in training, And ] can’t see what
2k Q. What is that document? ii its --
12 A. The schedule of investments that we 12 Q. DH Breen Murray Investment:
13 made at FH. 13 A. | don't know what that Is.
14 GQ Aad FH is Fingerbut-Holzer? 14 MR. FOLKENFLIK: Why don't] get
41s A. “Yos. 15 another copy, Barty, :
16 Q. Does the leit column indicate the 16 THE WITNESS: Okay.
17 name ol particular investment vehicles that 17 Mit. CONWAY: And of course we'll
18 would be under a Fingerhur-Hotzer umbrella? 18 say nothing in your absence.
19 A. Yes. 19 , (Recess taken,)
20 Q. Could you indicete any familiarily 20 MR. FOLKENEFLIK: Exhibit 3 is a
22 with chose investments? 24 cleaner copy of the document that's been marked
22 A, Say that again. 22 that bours production number BF 600007,
23 Q. Could you indicate any familiarity 23 (Fingerhut Exhibit 3 tor :
24. with those investments? 24 identification, Legible Copy of Bates No. BF 7): fj
> >) 25 A. Lhave familiarity with all. 26 Q. Wehaye replaced lixhibit 2 with
| [Page 35] | [page 37) ff

 

[10] (Pages 34 to 37)

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MMM RE EPP ee ee
NRE EB PORTA ew Re S

 

 

 

 

[11] (Pages
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dacument?

fexhibit 3 which ia a larger copy aot Pghibit 2. i
Sir, is this a dncumeane which would
huve beon kept in the ordinary oputsc of the
posiness af Fingerludt] lolzer Pariners? |
A. [bswould suspect yes. | his is hast
a eompilation of invesiments,
@.  Andowould it be part af the

 

 

 

 

 

       

     

 

 

euch.

A. Wes.
Q. And word such a document be made
conemporanenusly with the information included

 

 

herein?

MR. FOLKENFLIE: By
“eontemporanecusly with the infgennaticns,” thy yoru
mean that the dacument -- chat each tins these
wee ane iivestent, ginuallaneuuely dhe ¢ eles WHE
secrdad ot the sheet?

MR, CONWAY: Not necessarily on
this sheet, bul i would have been mevorded so
that @ could in time he placed an this aheet. '

MI. FOLKENFLEA: Why don't you just |
agk the witness how thig documenh was gropared
or for what puree.

MIL. CONWAY: Okay, | want to lus

 

   

{Page 36]

|

aure it's admissible.
@. Sir, how exactly was this --
MI, FOLEENELUK: | will stipulate
io the admisgibility vf this document.
Q, Sir how wauld this dacument he

 

   

 

prepared?
ait. FOLKTENELEK: tow was it :
prepared?
Q. How would it he prepared!

A. it was compiled as a finetion of
the Investment. 1 probably would have been
prepared by Brandon Blum. aur treasurer.

Oo. Continuing down, what is DE Breen
Murray Investment?

A.  l'm not certain what that is.

QO. What is Rdu Fund?

A. Lidu Fund was 8 company invelved in
educating -+ well, edueation, but basically
financing student loans lor foreign students in
the states.

Q. Whit is KL1?

A. Klis Knox Lawrence. And its a
company Una easentially -- ut this Lime tL
least was essentially a merchant hanker. ‘They
owned different types of investments.

 

328 to 41)

a osbom n dm te Be

 
  
 

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RRR ES oman ney ©

___ brage 39) |

ett AN

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@. And from sending this document, can
you indicate ‘vhat gype of investments
Fingerhut-Holaer Pariners partivipaled pn?

MB, FOLKENPLIK: At Kno Lawrence.

At Knox Lawranes, Yes.

A. That Fingerhut-Holzer Partners |
nalieve i just-a GP piece of the everall
investment In Knox Lawrence.

 

  

   

 

   

‘a letter of credit.
A. Okay.
oO. OF 1 EOG,000, How tied
Fingerhutel laiver come io he in posacssivn of
thet?
A, Wea goad question. i have no
idea. We didn’t use a better of eredit. This
was something. auppasedly -- well, you see what
itis.
@. Canyou tell me what it is, based
upon lhe document?
A. Ne.
Q,  Delow that, Lipstate New York Real
Estate. Whal ig thal?
és. What is itor what did | think it
was!
{page 49)

Q.  Whatde you think that means?

A. ‘That means investments that we in
theary mace in Haverstraw and a number a ather
apis upslake a1 Res Wark,

Q. And below that, Tange Publishing
Corporation.

A, Thal was 9 company invetved Ina
website called Your Tanga abaut women’s fove and
relationships.

G. And was Fingerhul-Holver making
inveslenents in Tange Publishing’

AL Ves.

@. Below thal —

A. Tira the chairs.

Q. You're the chalsman of Tange?

A.  Men-lonwn.

G, Tx Tangs Slik anh active
corporation?

A. Yes.

Q. Below thal, the Waverly, what is
that"!

A. That is real catate development in
Javkgonville, Or was.

g, Sow, in the columns next to Tt,
intended FP contributions, imended THA

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23
44
25

2. oO 4 om lb ke

NNM RPP PPP Re Pe BE
Neb ae on ane wh eB

 

 

hohe
tn

 

 

contrisutions and total contributions, whl docs
that mean?

A, Tht oneuns thed there was 4 muamiber,
a total af 3.7 million, af which | had supplied
half and wag -- agsuming that the other hall
watld be supplied by Holzer.

G. Below thal, C Campus Corporalion,

ake

       

s

ps nomarced

company involved in cdo

 

 
 
  

A
2
3
4
4
6
7
8
4

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f 133

comipart with?

A. Waters Edge was another real estate
development, and these are different portions of
investments at different times in the
developrrent,

Ci, New, as we proceed to the second
column, these would be the inlended
‘ingernat. The third

 

 
       
 
 
   
  

 

 

 

 

 

 

 

 

[Page 431

[12] (Pages 42 to 45)

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huliding websites, maintaining websites for a 1a equal, cnirect?
lot af member organizations. 1SC Squared, a 12 AL Yee.
number of nonprefits. is G. Ard the fourth oolana re flects how

QO. Now, in the column that reads 14 mich was actually paid-on the investment by YOU. i
‘etal investments,” it's indicated 2.3 million. 15 A. Yes. :
And apparently cach of you and Mir. Holzer ts 46 0. The {Ob columa indicates hos much
contribute 1,150,000, Does this document 47 am the jwvestment was actually paid by Dusid
refleet thal cach of you had actually iB Holeer.
contributed 1,150,000 -- , is A. Yes. Not much.

A, Nt : 20 Q. And in the investment totals. if

Q. tothe ~- ai Pr correct, tending from the document Barry

A. ltshows inc advancing a certain 22 Finger had-advaneed $19,202,501.
partion to flolzer. 23 A. 19 million’?

Q. Allright, sas we move to ihe | 24 q. That's what it says. Ant I reading
next column, “gross ictal funds by Barry | 25 19 miflion'?

{Page 42] [Page 44]

Fingerhut te David Holver.” You wold have L A. Pronotsure where you're looking
advarecd 2,812,500, and -- 2 ai, On the bottom? Serry.

A. Wail aminaie, are you talking 3 Q, $19,302,504, bs chat correct?
about = that’s Waverly. 4 A. That's whl it gays.

Q. Excuse me. ¥ Campus. You would 5 Q. Aad in the David Halzecr column,
have advanced $650,000, and Lhe column of David & $7,385,500 contributed by him. Correct?
Pingerliut to 4b" contains ° ? Mi. FOLKENTLIE: What is the

A. That's David Holzer. a number?

Q.  Bavid Holzer to Barry Fingerhut, 3 A. No.
that includes netling, Sa does that mean that 16 G. 7,385,500 is the David Hateer
you made the contribution of S650 (HME! iL total.

A, Yes. 12 MR. FOLKENFLIK: Noo

O. Anal Mr, Halver made nothing? 13 Q. ‘That's by you --

A, Correct. 14 A: Tame.

Q. And as we look below that at dhs 15 Q. --toyou, Okuy, pot il, The
invesiment Wailers Edge — 16 David Holzer cohunn is only $i LE ,008.

A. Village Walk lira, L? A. Correct.

Q. Village Walk, what is Village Walk? 18 MR. FOLICENFLIK: That's DH to BF.

A, Thai's another ral estate 13 QO. The third column. the VO32 S08,
devetopment dawn in Tacksanville. 20 ever and above your contribution. where did the

@. And below that there is Waters Edge 21 test of thal money come Lrom’?
initial inveslenents, 22 A. Tt wasn't made.

A Muteluine. aa Q. The 19 million was an intended!

©. Waters Edge with a date, Waters 24 investment that was nat fimded, is that corrcet?
Bdge with anegher dite, What do those numbers as &. That's what il looks like.

 

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1 Q. And we have your fending of | 4, rhat would be approximately a 1¢ to 1 ratio to
2 $7,385,500, and Mr. Holzer's funding af | og your benefit
3 #11 O06, correct? | 3 A, Yes. :
4 A. ‘That's what il says. 7 4 Q. Did this constibute a :
5 @. ‘The next column is the net total = 5 disappointment to yout? |
& A. By the way, you skipped one 6 A. Are you kidding?
7 bvesesnent, 7 G. No, Im afraid | have to ask that
& Toa / seriously.
oo) SOF ‘ : “ee . | . ; _ 2 cht .
1d Q. What is Zing? 410 “O. Alter the coram acement ofthe pe 5
ai A. Fing is actually a company called id Fingerhut-Holzer partnership, did there come a |
12 Coalition Warks. They are s company that’s 42 dime when it became apparent lo you that
13 monctized food coupons. ‘The kind you clip in 13 Mr. Holzer did noe have the funds socessary lo
14 dhe weekends. 14 be a partner Gl equal contribution to you and
16 G. Now, this document does net bear a 18 Fingerhut-Holzer Partners?
16 date. Do you know what year this document worth Le A, Yes,
7 have heen emated? 1? @, And did that conatitate a -~ did
18 A. Ltwas 2007 for sure because you 18 ihat bother you? '
19 _ eauld ace that the latter investments are made is A, Yes.
20 ine tEvesk puesriaect, 420 G. And did you atlempl lo rectify that
21 &. Now. the Waters Bulge investments 2i in any way?
22 wre afer DHF, 22 A. Yes.
23 A. Na, They're during 2007. 23 ©. How did you attempt te rectify H?
24 Q. During 2007. 24 A. Well. ifs a long story, bul
ag A. Correst. And Tango also 1 see. 25 basically attempted ta rectify it by heginning
[Page 46] [Page 48]
1 G. Now, peoceeding to the right there 1 ati investigation of what was going on with
z is acolumn Identified as-“net total finds x tir. Hokzer.
3 advanced by Barry Fingerhut io David Holger." a G. Now, when yeu say investigation.
4 At the bottoms of chat column he nariber is 4 what dy you mean by that?
5 7274S, 5 A. Private brvestigation.
6 AL Yes, & Q. Did vou hice s private
7 O. And did you vonsider that an 7 investigator’?
& indebradness by Mr, Holzer to yout 8 A. Yes,
g A. Ye sot certain how to anawer that. g Q. And who was that?
16 i would assuine y6s, id A. Thalthet. | forgoi the olher guy.
Ab G. The next column is "wet ownership.” 14 MR, FOLK UNTLIK: ‘Phatcher
12 ‘The bottom figure is 17,379,300. How should we 12 Assoc kites.
43 interpret that cofuman’? 13 MR, CONWAY: Why don’t we go aff
14 A, [think its preity clear the way 14 the record for a second.
LS you should imerpret it, ‘The ownership was thal 15 (Discussion off the record.)
1é { fronted the majerity. more ban the majority, 16 Q. Sir, after some discussions off ibe
17 pust about every penny that was supposedly to be 7 record, your vounsel has pointed out that thers
18 supplied by Holzer. 1B is-a certificate of cancellation which indicates
1s Q. Now, the -- LS that a Jieniled Tiabilily compatiy known as
4g A. inudditien te my ava. 20 Fingerhut-Holzer Partners was incorporaicd on
ai Q. Sure, The BF cavnership 21 Je Zs, 2004 int lhe State of Delaware, Would
22 — contributivny and lhe DH ownership contributions | 22 you have any reason to disagrer with that?
23 fesult ina differential of about Hb br 1, TE 23 A, Nea. :
24 you look at the baltam af your soluntn, £7 24 ©. And te the best of your knowledge, ;
25 nullion. and Mir. Elolze's column of $1, 700,00 | 25 Fingeehut-Holeer Pariners LLC was ineorperated :
_ [Page 47) | (page 49] |

 

 

[13] (Pages 46 ta 49)

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Am om io Ww

 

in Delaware on at shoul une 2951 of UH,
A. [f that's wire it says.
Q. Were there other businesses that
you and Mr. olser heeume involved in?
A. Gther businesses?
AR, POLKENFUIE: Other than what?
A. You mean other than -+

 

   

wo

   

i gerhutebio

   

     

 

‘Partne

 

 

[14] (Pages 50 to 53}
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19 A. Oh, there may hive heen
12 Tingerhot-Holeec Fund or Management ar whatever.
12 ‘There were a eta daines, But i was
13 essentially all tho same. 1 dot’: think most of
14 them were used.
15 (‘The other nares were Fingerhut --
16 are you familiar with Flagerhit-Holeer Equitios,
17 favt.?
16 A. Ne.
13 Q@. Bo you know if there was aapther
20 company that you and Myr. Holzer operated which
21 opersted under the name of Fingerhut-Holeer
32 Pauitios?
24a S. Ne.
24 9. Da vow kaow ola harzinesy
25 identified ay Fingcrhut-Holzer, Ine.?
[Page 56]
x A. Na.
2 QO. Are you familiar with a
3 Vingerhut-Holzcr Fund LP?
4 A, ‘That sounds lanier.
5 Q. What was Fingerbut-ladzer Mund 1.P?
& A. Ws likely that dl was a fund that
7 was initially donc ta he the func chat wonald
g comprise Syncunium, which ig a --
9 Q. We'll got in that, Because you've
io responded in that fashion, what is Syncanivny?
LL A. What was it.
2 Q. What was it?
13 A, it was a proposed limiled
14 patttrership that would invest within the fields
a5 of disabilities.
1¢ Q. And was that --
17 A. New tevlnclogies,
18 Q. ‘Was that set up in or around 2034?
18 A. Ne, It was Jeter than tbat.
au Q. Tt was act up somewhere between
2i 204 and 20087
22 A. Yes, I think right in the middle.
23 Q. Now, the principal operating entity
24 was FingerbuteHolzer Partners?
28 MR, FOLKENFLIEK: You mean for the

[Page 51]

 

     

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is
16
av
48
is
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ai
22
23
24
25

1
2
3
4
5
&
7
a
9

10

LUCY
Q. Vorthe LLC, sea.
A. Fingerlut-Holzer Partners LLC?
Yes.
A. Yes.

Q. Now, as ane of the business avenues
iy Fingerhul-Holzer Partners, did you then begin
ind ty and naciog them. f

 

     

A. Not consciousky, no.
Q. Are you aware of any parlied Lhat
cate inte Fingerhut-Halzer as. investors?
MR, POLKENFLIK: As inveasiment
advisses?
MR. CONWAY: Okay, we'll use that
erm.
Q. Ag lnvesiment advisees,
MR.FOLKENP LIK: Answer outloud.
A. Né. Ma, a0, tt.
QQ. Are vou familiar with Mr. and Mrs.
Rapifle?
A. Fam now.
Q. And during the course of the
investenont lit: of Fingerhut-Helzer Partners,
clid Mr, and MMirs. Rapillo beeome clients of iba.

[Page 52]

 

firtey?
MR. VOLKENTIAK: Mngerlwt-l inbver
Partners LLC,

Q. Fingerhul-Hulver Partners 110,

A. Not that t would define as
“cHent,” There was io foo charged.

O. Thaw would you define the
relationship hetweer Vingerluatel ielser Partners
and Mr and Mrs. Rapilic?

MR. FOLKENFLIB: The LLC.

QO Fhe Bi,

Ta be honest, iden't knew. 3

12 A
12 ton know what they were doing there. I know

14
is
16
1?
1a
19
20
22
22
23
24
25

"that there was ah Investment in ane af Ihese
investments. Aside divin that, 1 didn't know
Hem.

OQ, Naw, are you familiar that an
investment of 31H}, G00 was made with
Fingerhut-Holeer Parteers and placed ip uit
investinent velicle called the Waverly [?

MR. POLEENFLAR: Olyjectinn.
Missiates facts not in evidence. There was
leveran invesimen thal was mente lbrough
Fingerhut-Foleer tarteers 14402 in Waverly. ‘There
was a direcl Invesimont in the Waverly.

[Page 53]

 

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FENCE
fENEa)
NAorces
 

 

wo stom tt id

4.  Tingerbut-Helzer Pariners did net
oversee that. That was 4 direct Investnert shat.
ihey made. [was not under the aupis of
Fingerhun-Nolzer Partners. ‘There was no fee or
anything taken, Or carried tnlerest. Al least
not by me. I should say that.

Q, To you knew if that was utranged by
hire Holuer?

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MR. FOLKENFLIK: Ag apposed to you.

Q. Sir, early on in lhe investinent in
the year 2104 --

A. The investment?

GQ. “The investment that was.
Fingerbut-[lolzer Paraners,

MR. FOLKENFLIK: I's not —
G._ Vxcuse me, carrect, TH rephrase

 

 

 

 

   

    

ACOoon nen enaeehaiiiwa
Certainly it was not arranged by mec. Okay?

  
 

Lo

 
 

  

 
 

 

 

 

 

LO Daring the periud ~ early in ihe
Li Mid. POLKENPLEK: If by “arranged” 12 operating of Fingerlrut-l lalzer Partners, did it
£2 you mead Mr, Holzer senta subseription. 12 become apparent to you that ie. Holzer did not
13 agrcement which your clients testified was 13 have the assets ihat he bud indivated lo you
24 fiffed oul and returned to Poley & Lardner 14 priar te the commencement of Fingerhut-Halzer
15 ioacther with a check, it appears accarding lo 18 Partners?
16 your olien(’s testimony that's what ocourred. 16 A. Wa.
a7 And I don't recall your asking Mr. | iver ne G. When exactly did you learn for the
18 specifically about that investment. 18 first me dha Mr. Fingerhut did not lave —~
15 Q. Sir, could you tell us what you 19 MB, FOLK ENELIK: Mr, Halzer
29 know about the Raplllo investment in che ag @. Excuse me, Mr. Holzer. |
2i Waverly? 94 apologize.
22 A. ‘Whal T know is what you just told ae A 2007,
23 ine. Ht was a separate invesiment made by ikem. 23 @, You did not realize that at any
24 Q. Was it made through Mir. Holzer? a4 dime prior?
25 A. Thave no idea, 25 A. No, Ef yau seul the diary you'll
{Page 54] [Page 54]
1 Q. Was it made through i ace.
2 Fingerhut-Holzer Partners? 2 Q. Well. Lead the diary us of 2007,
4 A. NG. 3 Did Mr. Holzer make any contributions -
4 Q. Ta there a record of finds coming 4 MB FOLKENFLIK: Counsel, can t
5 in lo Fingerhut-Holzer from the Rupillos? 5 help you a fitthe an this? You're using the
& A, WNoetthat I'm awere of. (ye never 6 word "nssety.” Assuls means 4 Jol of things,
7 arent al. 7 hut it doesn't nacessariky mean liquid cash.
8 ME. FOLKENDIIK: Counsel, you fae 8 MR. CONWAY: Lunderstand, We'll
9 a vopy of the check a0 we know who the eheck 3 deal with that.
16 went to. And it diet ga to Fingertul-Heoleor 10 Q. Now, sir, you've indicated that by
La Purtners LLC. ut 2007 your contributions tu the Fingerhut-l latrer
12 G. Now, are you aware wf amy time 12 agscts was 10 times that of Mr. Holzer.
13 priorto 2008 that Mr. Holzer was dealing with 13 A. Actually. ie svas more than 1)
ia individual ivestors? 14 times.
5 A. No. 45 Q. More than [0 times. How much
1g Q. When did you learn of the identity 16 preater would it have heen’?
7 of the Rapillos for the first ine’? a? A. Well. a's onthe sheet right
1a A. Uihink you culled the office alter 18 there. 7 plus millian versus whatever the
a3 ibe bivesterent went sour or something, Pir hic 19 teifesbers Uhatl he hig,
20 relly sure, but il wast -- ib wag only afer 20 , 1 £0.00),
2i ihe fact that 1 remember anything with Rapilla, ai &. ‘That's a stretoh, 119,
22 MR. POLKENFLIK: The nevard should | 22 QQ. Allright, he may not have
23 reflect that when the witness used the werd 24 contributed [16,0007
ad "vou" he was looking at Heidi Rapillo. 24 A. There's a whatchamacallit. a
25 MR. CONWAY: As apposed to me, 25 §50,000 nate there. 1 dent know wheal that is.

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a O So if Te only gontributed 111,000, i Upstate. New York properties and the purpase af it _
2 that effectively made Mr. Halzer & 2 the invegiment -- the purpoye of each :
3 non-centributar to Fingerhutel lniver Partness, 3 inveatoient.
a eorrect? 4 A. Well, at least ] thought UL wis.
5 A. Weil, that -- 5 MR. FOLKENILIK: The claimed
& MR. FOLKENFLIK: To the assets. 6 purpose Is probably a better way pal i
9 Q. ‘To the assels. 7 G. Now, you're talking IM G000237
A. bathe 8 MR. FOLKENFLIK: BI,
9 “"'Q, Now, that wold HARE BEER Ores : Mee sl
40 noticeable ta yout in 2604, 2005, 2006 ard 2007, 10 Why don't we lake 5.
14 A. Not truc, Because the majority of ii MR. CONWAY: Sure.
12 the investinenty were nude in 2007. And 12 (Revess lake.)
13 actually, there was.a lot that he worth stale 43 (Fingerhut Exhibit 4 for
14 that he already had invested chat he was going ia identification, Bates No. K-1)
15 tw put in, which was sone af Uhat real pstile 148 «= B MR. CONWAY:
16 picec there. 16 . Sie, could you ident ify that as
LT Q. Allright, now, the issue of ehe 17 this is -» could you identity Exhiba 4?
18 veal ostate, did you use 4 titans for-Uhat wilhin 18 A. ‘Looks ke a K-71 io me.
18 fhe fire? 18 G. And was that K-f sent pursuant ip
20 MR. FOLKENELIK: By the real estate 20 ihe cover letter that is the lace page of
at you mean the Upstate New York -- ai Exhibit 4 by Fingerhut-Holzer Partners to the
22 Q, ‘The Lipstate New York real estate, 22 Rapillc family indicating that this Is your K-1
a3 Whal was that intended to be? What did you call | 24 for 20057 |
2a it? Did you call it the Suffern investment, did 24 A. “That's what ie says. |
a5 you call itihe New Yark Seate invesunent? Whal 25 ©. Allright, and if you would flip :
[Page 58] | [Page 60] i
: {
i woukd you call it? 1 the Kel. would you identity the address of the :
2 A. {doen't know. Are you lagking fer z Waverly investment. |
3 a hetrie? / 3 AL Yes, okay. /
4 Q. Yes. 4 G. Would you indicate that for the :
5 A. [don't know, 5 record, please,
& Q. How did you refer to it when you 6 A. ba the address 304 Park. !
7 were wilh — 3 ‘Q. Andon the cover letter at the |
g A. Well, they were different pieces of 8 face, what is the addregs af Fingerhu-Holeer
a properly. 9 = Pariners'?
in GQ. What was the nature of the 10 A. Same one.
AL investment? 11 Q. Allright, so could you say, SIT, :
12 A. WC was rea] estale development. 12 thar there was a business relationship between
i3 Q. And how was that develapment to 13 Fingerbmt-Holzee Partners and the Rapillo family |
14 pear? Did you have te uecumulate the property 14 that existed at least as regards the Waverly
15 first, did you have to make purchase of the 15 ineegemenl?
Lé properly? Did the properly exist ag a whole? 16 Mit. FOLEENILIK: Objection arto
1? A. bthink ft was a finetion ofthe 17 form. | don't know what “business relationship”
18 piece that we owned. Ax an example, Haverstraw | 16 ix,
15 was @ property that was purchased and thet -- 1g O, Pll phrase it again, Was there a
20 well, | thought i was being purchased and then ag business rclationship as reflected in thoxe
21 developed. 24  decuments belween Fingerhut-Holver Partners nul
22 MR. FOLKENFLIK: And counsel, it ag the Rapitle éamily’?
23 might help to lonk at che document we've . 23 AML FOLKENELIK: Objection as to
24 prodiiced bearing production number BF OO0023. 24 fri, Counsel, are you aware of Ihe
25 avbich is.a schedule of investments in the 25 relationshiyy hetween Fingerhut-Holzer Partners
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[16] (Pages 58 te 61)
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ii
& LLC and Pingerhut-Holger the W averly? t ofan investment possibility for yourself and
2 MR. CONWAY? Yes. bat [ns folly a for Flagerlut-Holzer in properly in Haversliaw?
3 familias with it 3 A, Properly in Haverstraw? Tden't
4 MR, POLKENPFLIE: twas the 4 knewyau'd have to look on the shect thal shows
5 managing merrber, 5 ihe timing of these properties.
6 MR. CONWAY: I'm fully familiar & Mi. POLKENELAR: Counsel, | do note
4 with i. 4 that your client never purported to have
8 OO rite. g iavested in property in Haversiraw.
3 precisely ubout that, your question pinks : :
2D RENSE. - 20 rol,
al OQ. First, sir, da you identity the aL Q. Sir, da you kavw if K-is were
12 cover letter ug being from F ingerhut-Halzet 12 jasned to the Raplllns in 2005, 2006, 20077
43 Carters? 43 A. Td have ir ask Brandon.
44 A. ‘Yus. 44 Q. Did there come # time when relative
18 Q. And that a K-1 was isgued Trom 15 te the Waverly investment you had a phone call
16 — Fingevhut-llolzer Partners concerning an 16 with Heidi Rupilla converning addilivnal needs
17 inweglment within the Fingerhut-Holzer familyof | 17 for investments in order to sustain that
18 buginesses. , 18 business opportunity?
18 A. Vay. if A. lonly remember a phore aafl. |
2% Q. And were Mr. And Mra. Rapille 20 dan'trersember the reason.
at investors in thal iInveslnent? 22 Q. Now, why would you have called?
22 A, Lsuspect so, Edan’t see any fee 22 A. Ididn’t. 1 believe tt was Heidi
23 or anything like that. This means nothing to 23 calling as, :
2a me, 24 MR. FOLKENFLIK: (think thatwas |
25 QO, Well 25 the lestimeny earlier. As well as the teslimany i
[Pages 621] [Page 64] |
a A. We didn't charge them for this. | 2 by vour client. :
2 meaty, | chant krow wehial it bs. 2a Q. [Did you have @ conversation wilh
3 Q. Whether or not chey were charged 3 the Rapillos in which you made a request ar
a anything would be ier. Holzer's option, would ul 4 additional funds necessary for the Waverly |
5 mut? 5 investment?
5 MR. FOLKENFLIK: Objection as to 6 A. {think that was discussed on that
7 fom. 7 call, And [ believe a was a capital call for
a A,  } dou know. & all investors.
8 (>. TH phrase it another way, g G. And did you make any indication tf
10 S§.  Thawould not be -- L mean, anybody 10 there was further contribution hy the Rapillas,
ilk could invest this way, a we could alwaysdaoa 5 4 i thal you wauld zcre ou thelr investments?
Le K-1 for ibe. But it has nothing to do with ; 4E2 A. No. Why would if do that? if there
13 partnership -- or a client position. 413 was no further investment, then we wauld wipe
14 Q. Well, we'll allow the courts to 14 cur the intial investment? fs that what you
18 dlatermine what i aieans. i5 sak?
a) MR. FOLKENFLIK: The documents in i6 Oo. Yes.
17 question detertnine what il means. 17 A. Wo.
MR. CONWAY: Yes, cxactly. 18 Q. Now, whal was --
MI. FOLKENFLIK: And they make it 19 A. That's pretty toegh. 4
elear thal the Rapillos are not clicnts af the 20 Q. What was the investment in upstate
managing member of the LLC ~-orthe LP. The | 24 properties to be? What was the brfended
Rapillos are investors in the LD. The managing 22 investenent?
member has certain abligations to seal aut 23 A. Didn't T just answer that?
documents on belalf af the LP. 24 G. Forgive me could] ask you again.
QO. Now, sir, her did you become aware 25 A. Twas land development in
_ [Page 63] (Page 65] |.

 

 

 

[17] (Pages 62 to 65)

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1 different spots upstate. Well, I mean, in 1 these.

2 whatever le counly neross the river. 2 QO. Yes. Who was the qurchaser for

2 G. What was to be deweloped? A ivall, 3 value?

4 a swdroming poul, a hatel? 4 A. ‘Weowere patticipating In a porchase

5 &.  Ethink i depended on the spol. 5 that Holzer was participating wilh another

é @. Were the plots af land conriguons'? & group. This was buying a piece of his share-

7 No. Why den't you take a jook at 7 @. Now, what did Mr. Mobeer say to vont

8 tt : 8 about this particular investment group?

q ‘Sire thats fhe Oe Soe ese voll, HEC
Ao MR, POLKENFLIK: Did you find it? 16 look at it. - _ a
i1 MR, CONWAY: [had it here a second ii Q. Weill get to the diary. Are you :
42 age umidst everything clse | had. 12 familiar with the name PDariiel Katz? |
14 MR. POLKENELIK: Do you want meto | 13 4.  PRnow the name. 1 don't know who '
14 make a copy and you'll mark ie? As 1 say, its 14 it fs. |
45 number 23 in the production numbers. a5 Q. Are you familiar with the -- ‘
16 Q. Having direvted me to it, Thad a 16 A, Cass? :
17 and now Fdor'thave it. So if coutd ask you Li Q. Katz, K-A-T-2. |
18 lo make an addilional copy, Td appreciate it. i8 Ave you familiar with the name :
19 (Fingerhut Exhibit § for 18 Jeffrey Schwartz’? \
26 identification, iates No. BI 23) 20 A. Htsounds like a relative. No, 1
24 MR. FOLKENPLIK: The witness dacs 21 don'tknow:
22 net have ia front of him Exhibit 5. 22 Q. Were these two parties identified
23 ME CONWAY! Well, Hd lke be and 23 by Mr. Holzer as bis lellow inv estors in the :
24 To be on the same page. 24 Haverstraw investment?
a5 MR. FOLKENELIK: Why don't you take 25 A. You know, | think $a, but again.

[Page 66] {Page 68] |

i a look at dhe exhibit and then hand ft to hie. 1 you'd have to lock ai the noles, I's in there, :

2 G. Sir, wauld vou consider yoursella 2 whatever the mames are.

3 skilled investor 4 Q. We'll gel to the notes.

a A. That's a tricky question. | would 4 A. Okay.

5 auppese so, Certainly iv equities. 5 QO. Aud ilid yot advance tunds tor

6 Q, Now, adecument has been presented é Mr. Holzer to make purchase of lis portion of an

7 by your counsel identified as -- it's Bates 7 isvestment in reul estate properlies upstate?

B stamped BP O00023, What daus this purport to a AL ¥es.

a be, sir? 9 Q. And for how long did you ciarlinte
10 A. This is a Series of investments in ia doing this?
12 nraperties upstals, Shoukd | have known ii A. Tfyou look on this vharl, it yoes
L2 about =« 12 froin 02 to "03,
13 MR. FOLKENELIK: Walt until be asks 13 G. And =
14 a qestion. 14 A.  Bxeuge me, '06.
L5 G. Wait for me. 18 Q. And did you make a series of
16 Now. sir. these indicate a sertes 16 iniyesimenda in Uhis process?
af of -- docs this indicate a scrics of land 17 AL Yea.
18 purehases in Haversiraw, New York. Beacon, New 18 QO. Now, bow were those funds
13 York and Newhurgh, New York? 1s transferred by you?
20 A. Vex. Monticello ino, it looks 20 A, To Holzer.
21 like, , 24 Af. FOLK ENPLIK: You mean did he
22 MR. FOLEENILIR: And Nyack. az write a check or wire Une [unels?
23 G. Who was supposed to be purchasing 23 Q. Yes
24 these'? a4 AL Yes.
28 A. Who was aupposed ta he purchastig 25 ©. How was ittransforred? By check

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ar wire?
A. Tthink primarily wire.
Q. To what accrLie?
S. To Heleer’s acenunt
©. ‘Te Malver individually?
A. Yous.
Anel in doing sa, id you have aay
cape nee: eanslee lb

A, Yes,

Q. What was the reamed’

4, Wire iranslers.

Q. Was thal the any record?

AL Yes.

G. And for how long did you pat on
making payments on this invesinent?

A. Us right here on the chart.
Depending on ihe investment Tos, inp SoeTe: Cages
it went on fora year for Haversieaw, T mean,
you can break it down here. But basically from
2002 to 2006, depending on lhe propertics.

Q. And did you at any tine ask to see
documents of tithe memmrializing che purchase”

4, No. Bull did see plans, at least
initial investment plang in Taverstraw and

[Page 70]

 

 

GO wn in > Lb we

Anau & oOo 1h Ae De

 

helieve in Monticello.

Q. And what was to be developed?

A. ‘The land was going to be developed,
both in shopping arcas, shopping tall.

@}. ‘The documents that you saw, the
plans, whe produced then?

A. David.

Q. By pasducing then you mean he
showed them io you’

A. Showed them ta me.

Q. Who was the producer of them?

A. Idon'tknow, An architect,

Q. Do you still have copies of those?

A. No.

OQ. Do you know what happened to what .

if is that David showed you?

A. No. They're obviously fraudulent.
Okay?

Q. When did you come to realize
that -- TH withdraw that.

A. 2007,

Q. tin withdrawing the question.

Sir, in the document which we will

identify -- | suppose we should identify it
raht now, The documents dated TA draft

[Page 72)

 

 

om ~~ om in d& 4a NM ope

MAM MPN EP Pe ee ee he Be ie
Gea WN Oe Oa he oN Po

 

1171/07 is an investigatian by whom
A. Lion’) know what the document im
You fave lr shesy me,
©. Vhis is che Thatcher Aganciaies -
ME. FOLKENFLIK: Why don't you ranrk
a copy af the document.
MR- CONWAY: We have an enlire

    
 

 

{Fingerhut Exbibit & for

itentifietina, Rates Ne. BF 25 through 46)

MER. FOLKENPLIE: Id like to note
for the record that Exhibit 6, first ofall, (he
eopy thls marked 1 & copy which includes
scetions that are apparently inadvertently
redacled because there were slickers placed on
them.

Mi. CONWAY: ‘That's mry copy.

MR. FOLKENFLIK: Well, ifs 4
eppy =

TEE WITNESS: What is the sticker?

MR, FOLKENFLIK: Those red —-

THE WITNESS: Tunierstancd. [ut
what's it for’?

MIR. FOLKENFLIK: Just te meirk the

aheet. So Tibink we need lo mask a clean copy
af this document. Do you have a clean copy?

MR, CONWAY; [didn't notice that
when I ne-produced it, I'm sure I did
averyvibing. Do we have a clean Copy?

MR. FOLKERELIK: Toan get a clean
copy. Flow ouch longer de you aricigate’?

ME. CONWAY: Certainly past lunch.

ME. FOLKENFLIK: You're going to
break for tunch’?

MR. CONWAY: | don’t need lo.

ME. FOLK ENF LIK: Glow mach fonger? /

MR. CONWAY: Right now J would
paess probally LL. Best guess,

MR. FOLKENFLIK: Do you want to
break for kanch?

THE WITNESS: Sere.

MR. FOLKENILIK: Pi rake
arcangements for that, and why don't we lake a
few mnbnttes and Ml get a decuiment that we cat
age aa an exhibit.

(Recess taken}

{Fingerhut Exbibit 7 for
identification, Bates No. BE 25 through 46}
BY ME. CONWAY:

[Page 721 :

 

[19] (Pages 70 to 73)

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neoo28.

Bw Mm te om ta he

caendinatian

 

 

 

Ey

  

 

@. Sir, would you take ¢ look a i with inserts that sre marked “diary.”
what's heen marked as TA draft | EISM7, OF 2 A. Yes.
3 O. And those diary notes arc yours.

MR. FOLKENELIK: Yes, before you 4 4, Correct.
question the witness, it goes throngh BF OOO, 5 Q.  Dietated by you or typed hy you!
and thig is thal one document: il was a composite 6 A,  Carrect.
of several decuments, And continues wilh your 9 QO. They are ol your prigin.

i g A, Correct,

 

     

 

  
 
 

 

5

 

 

 

 

 

 

 

 

 

[20] {Pages 74 to 77}
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[Page 75} oe os

eg eSirravonld yowtelh as have 3 Apu
a0 soc this document Beftire? as 4 reset of the dilTivw Libe fie?
ad A. Yes. AL Wer.
12 Q.  Arel whal is dvs! Q. And are the contents of these diary
ia A. ‘There's two pieces. One is a diary 14 nertes rue, as-best you kneny'?
16 thal L wrote, which is due second onc. The 14 A. Aa beat | know.
15 first is Lhelieve a-compitation from Thatcher, is . And did yuu crente these [or the
16 Q. Thatcher Assacistes. 16 purpase of the investigation in the husiness?
LF A. Excuse me, Thatcher Associntes i? A. Yes, but itwas alse for ory owe
18 regarding the whole situation with 12 keeping.
18 Fingerhut«Holzer. 1S G. And was cis ingereted to be made
20 G. Is this adocument that you caused 20 part of the business record of Fingerbut-Holzer
ai io have prepared having approached Thatcher and | 24 Partners?
az asking for an investigation inta Mr. [alzer? 22 A, ‘That was ane of ihe purposes.
23 A Yes. 23 ©. And have these diary notes been :
24 Q, And this would be —- 24 kept by Fingerhul-Holzer through the present and ;
25 A. Atleast the first part. Page | ta 25 yout = “
{Page 74] {Paga 76}
1 3. 1 A. There is no Fingerhut-Holzer
2 GQ. And this aecurred -- 2 anymore,
a MR, FOLKENFLIK: Just for the 3 ©. To the end of the cxistence of
4 record, | to 4 means the pages marked WP 25 4 Fingerhut-]lalver these were held.
5 through BF 31, 5 AL Yes,
6 GQ, And this is dated (115407, So it 6 9. Now, sir, in that on page DUO
7 would be the litter part of 2007, 7 there are a serics af investments made by you in
g AL es. a ihe Haverstraw properly, correct?
a Q. And adding thereatter is a serics 3 A. ‘Fes. [think it's the same as
16 of ciary ~- is a document called "a timeline of Lo this, right?
La events” on page G0G032. 1 MR. FOLRENPFELK: ifs a different
12 &. lr sorry, E believe Lhat’s 12 schedule, but --
13 actually also part oftheir work. What. wrote 13 A. ‘The same numbers.
La started on 0036, i4 Q. Same-thing, And on each of the
a6 ME, FOLKENPLIK: Can { pist poling 15 inserts vatlected here it is intended to
Le oul onc {hing lo the witness? You motice it i6 memorialize that you issued funds [rem your
1? uses. the first person, "E purchased ane half of iv personal wealth io David Holzer for the purchase
18 David's iilerest." Paragmuph 1. So 1 may be 18 of these prapertics.
13 sonsething you pespared, Rather than ‘Thatcher ia A. ‘That's correct,
29 ASSochues. 20 Q. And was there any type of business
2i THE WITNESS: dant know, mayhed ¢ 22 record other than the transfer memorializing an |:
22 did. 22 arrangement bebwcen vourscLland Mr, Holzer Cor i
23 MI. POLEENFLK: [nh any event, 23 the fature sala of these properties?
24 COMlinus wn, a4 A. Ne.
26 Q. And sir, this continnes thereafter 23 O. When these properties were

 

 
 

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